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                    EXHIBIT A
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Wilson, Nia S. (SHB)

From:                            Wilson, Nia S. (SHB)
Sent:                            Friday, March 8, 2024 11:21 AM
To:                              commonlaw119@gmail.com
Subject:                         Clark v. X Corp., et al. - Courtesy Copies of X Corp. Pleadings
Attachments:                     Doc 24-4 EXHIBIT 3.pdf; Doc 24-3 - EXHIBIT 2.pdf; Doc 24-2 - EXHIBIT 1.pdf; Doc 24-1
                                 DECLARATION OF KENNETH M. TRUJILLO-JAMISON.pdf; Doc 24 DEFENDANT X CORP.’S
                                 REQUEST FOR JUDICIAL NOTICE.pdf; Doc 23 - DEFENDANT X CORP.’S RESPONSE IN
                                 OPPOSITION TO PLAINTIFF'S MOTION FOR DEFAULT JUDGEMENT.pdf; Doc 25-1 -
                                 DEFENDANT X CORP'S MTD MEMORANDUM OF POINTS AND AUTHORITIES.pdf; Doc
                                 25 - DEFENDANT X CORP'S MTD PLAINTIFF'S COMPLAINT.pdf; Doc 27 - DEFENDANT X
                                 CORP'S CERTIFICATE OF INTERESTED PERSONS AND CORPORATE DISCLOSURE
                                 STATEMENT.pdf; Doc 24-6 - EXHIBIT 5.pdf; Doc 24-5 - EXHIBIT 4.pdf


Ms. Clark,

Here’s a courtesy copy of all of the pleadings that have been filed to date on behalf of X Corp. in this matter. You
should have also received notice for these documents from the Court.

Regards,
Nia Wilson

Nia S. Wilson
Associate
Shook, Hardy & Bacon L.L.P.

nwilson@shb.com
(470) 867-6024




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

TAMAH JADA CLARK EX REL ANTI- )
SEMITISM DEFENSE LEAGUE       )
                              )
            Plaintiff,        )
                              )
    v.                        ) Case No. 1:23-CV-05840-JPB
                              )
X CORP. et al.,               )
                              )
            Defendants.       )
                              )
        DEFENDANT X CORP.’S RESPONSE IN OPPOSITION TO
        PLAINTIFF’S “MOTION FOR DEFAULT JUDGEMENT”
      Comes now Defendant X Corp., by special appearance and through its

undersigned counsel, and files this Opposition to Plaintiff’s “Motion for Default

Judgement [sic]” (ECF No. 20), and states as follows:

                               INTRODUCTION

      Plaintiff’s Motion for Default Judgment should be denied for three

independent reasons.

      First, Plaintiff failed to properly serve X Corp. via any of the authorized

methods for serving a corporation under Federal Rule of Civil Procedure 4(h). Thus,

this Court lacks personal jurisdiction over X Corp., and it may not properly enter

default judgment against it.

      Second, the Motion for Default Judgment should be denied because Plaintiff

failed to follow the required procedure under Federal Rule of Civil Procedure 55 for


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obtaining a default judgment. The Clerk has not entered default against X Corp., and

X Corp. has entered a limited appearance to challenge service and respond to the

Complaint. Default judgment may not be entered in these circumstances.

      Third, the Motion for Default Judgment is procedurally improper because

Plaintiff, an unincorporated association, cannot appear pro se in this case under local

rule 83.1(E)(2)(b)(H) of this Court.

      Accordingly, Plaintiff’s Motion for Default Judgment should be denied.

                        PROCEDURAL BACKGROUND

      Plaintiff filed a “Statement of Claim” on December 19, 2023 against X Corp.,

as well as the World Jewish Congress (“WJC”) and the American Israel Public

Affairs Committee (“AIPAC”). ECF No. 1. The Court issued a Summons to X Corp.

on the same day. ECF No. 2. X Corp. is incorporated in the State of Nevada.

      On January 24, 2024, Plaintiff filed an “Affirmation of Service and Notice of

Default.” ECF No. 18. There, Plaintiff asserts that on December 23, 2023 she mailed

a copy of the Summons and Complaint to the address of X Corp.’s corporate
                                                                             1
headquarters in San Francisco, California by Certified Mail. Id. at 5, 25-26. Plaintiff

also alleges she made a post the next day on X, X Corp.’s social media platform,

including the handle “@X” and containing an image of the Summons. Id. at 21.



1
 For the Court’s convenience, X Corp. cites to the page numbers as listed at the
header at the top of Plaintiff’s filing (e.g., “Page 5 of 21”).

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      On February 8, 2024, Plaintiff filed the instant Motion for Default Judgment.

               ARGUMENT AND CITATION OF AUTHORITY

I.    Plaintiff’s Motion for Default Judgment Should Be Denied Because
      Plaintiff Failed to Properly Serve X Corp.
      Federal Rule of Civil Procedure 4(h) provides, in relevant part:

      [A] domestic . . . corporation . . . must be served:

      (1) in a judicial district of the United States:

      (A) in the manner prescribed by Rule 4(e)(1) for serving an individual
      [i.e., by “following state law for serving a summons in an action
      brought in courts of general jurisdiction in the state where the district
      court is located or where service is made]; or

      (B) by delivering a copy of the summons and of the complaint to an
      officer, a managing or general agent, or any other agent authorized by
      appointment or by law to receive service of process and—if the agent
      is one authorized by statute and the statute so requires—by also mailing
      a copy of each to the defendant . . . .

“Service of process is a jurisdictional requirement: a court lacks jurisdiction over the

person of a defendant when that defendant has not been served. Pardazi v. Cullman

Med. Ctr., 896 F.2d 1313, 1317 (11th Cir. 1990).

      Plaintiff has not and cannot show she properly served X Corp. Plaintiff asserts

she attempted service by mailing the Summons and Complaint to X Corp.’s

corporate headquarters in California by Certified Mail, and that she made a post on

X including the X handle “@X” and including an image of the Summons. ECF No.

18 at 5, 25-26. These attempts at service do not and cannot demonstrate that



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“deliver[ed] a copy of the summons and of the complaint to an officer, a managing

or general agent, or any other agent authorized by appointment or by law to receive

service of process” under Rule 4(h)(1)(B), and therefore do not constitute service

under that rule. See Escudero v. Fed. Nat’l Mortg. Ass’n, No. 2:14-CV-20-WCO,

2014 WL 12544771, at *2 (N.D. Ga. Apr. 3, 2014) (“service by mail is insufficient

under 4(h)(1)(B)”).

      Plaintiff also cannot demonstrate that she complied with Rule 4(h)(1)(A) by

serving X Corp. “in the manner prescribed by Rule 4(e)(1),” i.e., in a manner that

complied with the “state law for serving a summons” in Georgia, “where the district

court is located,” or California, “where service is made.” Fed. R. Civ. P. 4(e)(1).

      Under Georgia law, Plaintiff was required to personally serve the summons

and Complaint on certain authorized representatives of X Corp. Ga. Code Ann. § 9-

11-4(e); see, e.g., Mallory v. DHI Mortg. Co., No. 1:18-CV-4579-WMR, 2018 WL

9917672, at *6 (N.D. Ga. Nov. 29, 2018) (“requires personal service upon the

appropriate corporate official or authorized agent”). And although corporations

foreign to Georgia like X Corp. may be served by mail if the corporation fails to

maintain a registered agent in Georgia, Ga. Code Ann. § 14-2-504(b), X Corp. does

maintain                                   one.                                   See

https://ecorp.sos.ga.gov/BusinessSearch/BusinessInformation?businessId=3930274

&businessType=Foreign%20Profit%20Corporation&fromSearch=True



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(designating as X Corp.’s registered agent CT Corporation System, at a physical

address in Lawrenceville, Georgia). Thus, Plaintiff’s mailing of the Summons and

Complaint to X Corp.’s corporate address did not comply with the service
                                  2
requirements under Georgia law.

      Plaintiff also failed to serve X Corp. in a manner that complies with California

law. Under relevant parts of California Code of Civil Procedure section 416.10,

Plaintiff could have properly served X Corp. “by delivering a copy of the summons

and complaint” to either X Corp.’s registered “agent for service of process” or X

Corp.’s “president, chief executive officer, or other head of the corporation, a vice

president, a secretary or assistant secretary, a treasurer or assistant treasurer, a

controller or chief financial officer, a general manager, or a person authorized by the

corporation to receive service of process.” Id. at § 416.10(a)-(b). As noted, Plaintiff

did not deliver a copy of the Summons and Complaint to X Corp.’s registered agent,

nor to any of the listed company officers or to anyone authorized by X Corp. to



2
  Even if X Corp. did not maintain a registered agent in Georgia (and it does),
Plaintiff’s attempt at service would still fail to comply with Georgia law. To
constitute valid service, Plaintiff was required to address the Summons and
Complaint packet to X Corp.’s chief executive officer, chief financial officer, or
secretary of the corporation at its principal office, and also serve a copy of the
process on the Secretary of State. O.C.G.A. § 14-2-1510(b). Plaintiff addressed her
packet to X Corp.’s corporate address in California and did not address it to any of
the listed officers of X Corp. See ECF No. 18 at 5, 25-26. Plaintiff therefore did not
meet these requirements, either.


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receive service or process. See ECF No. 18 at 5, 25-26 (alleging Plaintiff served X

Corp. via “USPS Certified Mail” and by publicly posting the Summons on X).

      Plaintiff’s attempt at service also fails because Plaintiff did not file a notice

and acknowledgement signed by X Corp. that mail service was effectuated and

authorized by California Code of Civil Procedure section 415.30. See ECF No. 18

(providing no allegations or evidence that Plaintiff provided the required notice and

acknowledgment to X Corp.; see Austin v. Lyft, Inc., 21-CV-09345-JCS, 2021 WL

6617452, at *1 (N.D. Cal. Dec. 13, 2021) (stating that service by certified mail is

improper under Rule 4(h)(1)(A) and that service by mail under California law “is

valid only if the complaint and summons are served with the required notice of

acknowledgement and an envelope addressed to the sender with prepaid postage and

the recipient has signed and returned the acknowledgement of receipt.” (emphasis in

original)). Therefore, Plaintiff’s mailing of the Summons and Complaint to X

Corp.’s corporate address did not comply with the requirements to serve X Corp.
                        3
under California law.

      Because Plaintiff failed to properly serve X Corp. with the Complaint and

Summons, this Court has no personal jurisdiction over X Corp., and Plaintiff may



3
  Nor did Plaintiff effect service by publication on X. Service by publication can
only be made “if upon affidavit it appears to the satisfaction of the court in which
the action is pending that the party to be served cannot with reasonable diligence
be served in another manner specified . . . .” Cal. Civ. Proc. Code § 415.50(a).

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not obtain a default judgment against X Corp. See Fed. R. Civ. P. 4(k); see also

Printed Media Servs. v. Solna Web, Inc., 11 F.3d 838, 843 (8th Cir. 1993) (holding

that a federal court lacks jurisdiction over a defendant who was improperly served).

Therefore, the Plaintiff’s Motion for Default Judgment should be denied.

II.   Plaintiff’s Motion for Default Judgment Should Be Denied Because
      Plaintiff Did Not Follow the Proper Procedure to Obtain Default
      Judgment
      Federal Rule of Civil Procedure 55(a) permits defaults to be entered only

“where a party against whom a judgment for affirmative relief is sought has failed

to plead or otherwise defend.” To obtain a default judgment (Fed. R. Civ. P. 55(b)),

Plaintiff must go through a two-step procedure. Fernandes v. OJ Installations, LLC,

1:19-CV-4152-AT, 2022 WL 3571098, at *1 (N.D. Ga. June 29, 2022). First, under

Rule 55(a), the “party seeking a default judgment must file a motion for entry of

default with the clerk of a district court by demonstrating that the opposing party has

failed to answer or otherwise respond to the complaint.” Am. Auto. Ass'n, Inc. v. AAA

Auto Sales, LLC, No. 1:16-CV-01159, 2016 WL 10957245, at *1 (N.D. Ga. Oct. 20,

2016). Second, under Rule 55(b), “once the clerk has entered a default, the moving

party may then seek entry of a default judgment against the defaulting party. Id.

Generally, these “steps may not be combined into one,” Id. The “clerk's entry of

default must precede an application for default judgment,” Fernandes, at *1 (internal

quotation marks omitted).



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      Plaintiff’s Motion for Default Judgment should be denied because Plaintiff

did not even attempt to follow this two-step procedure. Before filing her Motion for

Default Judgment, Plaintiff did not first file a motion for entry of default, and the

Clerk has not entered default. Plaintiff’s Motion for Default Judgment therefore is

premature. See AAA Auto Sales, 2016 WL 10957245, at *1; Fernandes, at *1.

      Plaintiff’s Motion for Default Judgment also should be denied as moot

because the Clerk has not entered a default against X Corp., and the company has

entered a limited appearance to move to dismiss the Complaint. See Defendant X

Corp.’s Motion to Dismiss Plaintiff’s Complaint, filed concurrently (arguing the

Complaint should be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(6)

because her claims are barred by section 230 of the Communications Decency Act

of 1996, 47 U.S.C. § 230 and the First Amendment, and because she fails to plead

facts sufficient to state a cause of action; and pursuant to Federal Rule of Civil

Procedure 12(b)(5) for her failure to properly serve the Summons and Complaint on

X Corp.). Because X Corp. has appeared to defend itself in this lawsuit, default

judgment should not be entered. See Wahl v. McIver, 773 F. 2d 1169, 1174 (11th

Cir. 1985) (entry of default judgment is a “drastic remedy which should only be used

in extreme situations”); United Am. Corp. v. Bitmain, Inc., No. 18-cv-25106, 2019

WL 10058715 (S.D. Fla. Nov. 22, 2019), aff’d and adopted, 2020 WL 4923666

(S.D. Fla. Jan. 15, 2020), at *2 (“the Eleventh Circuit disfavors defaults, maintaining



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a strong policy of determining cases on the merits.” (internal quotation marks

omitted)).

      Accordingly, Plaintiff’s Motion for Default Judgment should be denied.

III. Plaintiff’s Motion for Default Judgment Is Improper Because Plaintiff,
Who Is Appearing Pro Se, Cannot Bring an Action on Behalf of the Anti-
Semitism Defense League, an Unincorporated Entity
      Plaintiff Tamah Jada Clark filed this action on behalf of “the Anti-Semitism

Defense League,” which Plaintiff describes as “an unincorporated common law

“‘entity.’” Compl. at 4 of 18, ECF No. 1. Local Rule 83.1(E)(2)(b)(H) provides that

“if the client is a corporation or organization, it may only be represented by an

attorney, who must sign all pleadings and papers submitted to the Court,” which

applies to unincorporated organizations. See McDermott v. Stacks Publ’g Grp., No.

1:18-cv-05767-ELR, 2019 WL 13244544, at *1 (N.D. Ga. Apr. 12, 2019) (striking

answer filed by the “owner” of “an artificial, unincorporated entity” on the grounds

that the entity could appear only through an attorney); see also Palazzo v. Gulf Oil

Corp., 764 F.2d 1381, 1385 (11th Cir. 1985) (artificial entities, such as corporations

and limited partnerships, must be represented by counsel).

      No attorney has appeared on behalf of Plaintiff in this case, and Plaintiff’s

Motion for Default Judgment, like all other filings Plaintiff has made in this case,




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                                                    4
was not signed by an attorney representing Plaintiff. Plaintiff may not proceed pro

se in this case on behalf of the unincorporated Anti-Semitism Defense League, and

accordingly the Motion for Default Judgment is procedurally improper and should

be denied or stricken. See McDermott, 2019 WL 13244544, at *2.

                                  CONCLUSION

      For the reasons set forth above, X Corp. respectfully requests the Court deny

Plaintiff’s Motion for Default Judgment.

       Dated: February 20, 2024

                                      Respectfully submitted,

                                      SHOOK HARDY & BACON L.L.P.

                                      /s/ Colin K. Kelly
                                       _______________________________
                                      Colin K. Kelly
                                      Georgia Bar No. 781072
                                      ckelly@shb.com
                                      Nia S. Wilson
                                      Georgia Bar No. 914011
                                      nwilson@shb.com
                                      1230 Peachtree Street NE
                                      Suite 1200
                                      Atlanta, GA 30309-3591
                                      (470) 867-6012 (direct CKK)
                                      (470) 867-6024 (direct NSW)

                                      Kenneth M. Trujillo-Jamison (pro hac
                                      vice pending)
4
 To the extent Tamah Jada Clark purports to represent the Anti-Semitism Defense
League in this case, she has proffered no evidence demonstrating she is an
attorney, licensed in Georgia or otherwise nor has X Corp. found any.

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                              707 Wilshire Blvd., Suite 3850
                              Los Angeles, CA 90017
                              Telephone: (213) 955-9240
                              Facsimile: (213) 955-9250
                              ktrujillo-jamison@willlenken.com

                              Counsel for Defendant X Corp.¸ via
                              Special Appearance Only




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                   LOCAL RULE 7.1(D) CERTIFICATION

      I certify that this Memorandum has been prepared with one of the font and

point selections approved by the Court in LR 5.1(B).


                                               /s/ Colin K. Kelly
                                               Colin K. Kelly

                                               Counsel for Defendant X Corp.¸ via
                                               Special Appearance Only




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                       CERTIFICATE OF SERVICE

     I hereby certify that on February 20, 2024, I served a copy of the foregoing

DEFENDANT X CORP.’S RESPONSE IN OPPOSITION TO PLAINTIFF’S

MOTION FOR DEFAULT JUDGEMENT upon all parties of record in this

matter using the CM/ECF System.


                                    /s/ Colin K. Kelly
                                    Colin K. Kelly

                                    Counsel for Defendant X Corp.¸ via
                                    Special Appearance Only




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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

           TAMAH JADA CLARK ex rel.
           ANTI-SEMITISM DEFENSE
           LEAGUE,
                                                        Civil Action No. 1:23-cv-05840-JPB
                                 Plaintiff,

           v.

           X CORP., WORLD JEWISH
           CONGRESS, AMERICAN ISRAEL
           PUBLIC AFFAIRS COMMITTEE

                                 Defendants.



                   DEFENDANT X CORP.’S REQUEST FOR JUDICIAL NOTICE
                         IN SUPPORT OF ITS MOTION TO DISMISS

          I.     INTRODUCTION

                   Under Federal Rule of Evidence 201 and the incorporation-by-reference

          doctrine, Defendant X Corp. respectfully requests that the Court take judicial notice

          of, or in the alternative, incorporate by reference, the following documents for

          purposes of ruling on Defendant X Corp.’s Motion to Dismiss Plaintiff’s Complaint,

          filed concurrently:

          1. Exhibit 1 is a true and correct copy of the archived version of X Corp.’s Terms

                of Service (the “Terms”) as they existed when Plaintiff created her X account in




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               August                      2023,                   available                    at

               https://web.archive.org/web/20230801013559/https://twitter.com/en/tos/         (last

               visited February 9, 2024), and is also attached as Exhibit 1 to the Trujillo-Jamison

               Declaration. In her Complaint, Plaintiff refers to X Corp.’s Rules and Policies

               (“Rules”) (ECF No. 1 (“Compl.”) at 8), which together with the Terms and the

               Privacy Policy comprise the User Agreement. See Ex. 1 at 1.

            2. Exhibit 2 is a true and correct copy of X Corp.’s Terms in effect when Plaintiff

               was allegedly defamed in November 2023, and which remain in effect today,

               available at https://twitter.com/en/tos (last visited February 9, 2024), and is

               attached as Exhibit 2 to the Trujillo-Jamison Declaration. In her Complaint,

               Plaintiff references X’s Rules (Compl. at 8), which together with the Terms and

               the Privacy Policy comprise the User Agreement. See Ex. 2 at 2.

            3. Exhibit 3 is a true and correct copy of X’s Hateful Conduct Policy in effect when

                Plaintiff was allegedly defamed in November 2023, and which remains in effect

                today,   available    at   https://help.twitter.com/en/rules-and-policies/hateful-

                conduct-policy (last visited February 9, 2024), and is attached as Exhibit 3 to the

                Trujillo-Jamison Declaration. In her Complaint, Plaintiff references and directly

                quotes from X’s Hateful Conduct Policy and cites to the above-listed URL. See

                Compl. at 8.




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            4. Exhibit 4 is a true and correct copy of the webpage for Plaintiff’s Twitter account

               profile    for     the     handle      @The_ADL_dot_org,          available     at

               https://twitter.com/theadl_dot_org (last visited February 13, 2024), and is

               attached as Exhibit 5 to the Trujillo-Jamison Declaration. In her Complaint,

               Plaintiff alleges she created a X account and used X, and that her X handle is

               “@The_ADL_dot_org.” See Compl. 7 (Plaintiff “published to ‘X’ social media

               platform”), 18 (signature block). A true and correct copy of Plaintiff’s X account

               webpage shows that the account was created in August 2023. See Ex. 5 (“Joined

               August 2023”).

            5. Exhibit 5 is a true and correct copy of the archived version of the sign-up page

               for new X account holders as it existed when Plaintiff created her X account in

               August               of              2023,               available               at

               https://web.archive.org/web/20230801165313/https://twitter.com/i/flow/signup

               (last visited February 13, 2024), and is attached as Exhibit 4 to the Trujillo-

               Jamison Declaration. In her Complaint, Plaintiff alleges she used Twitter and that

               her Twitter handle is “@The_ADL_dot_org.” See Compl. 7 (Plaintiff “published

               to ‘X’ social media platform”), 18 (signature block). A true and correct copy of

               Plaintiff’s X account webpage shows that she created the account in August 2023.

               See Ex. 4 (“Joined August 2023”).




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            II.   LEGAL STANDARDS

                  A.     Judicial Notice

                  Courts may take judicial notice of facts that are “not subject to reasonable

            dispute.” Fed. R. Evid. 201(b). Facts not subject to reasonable dispute are ones that

            (1) are “generally known within the trial court’s territorial jurisdiction” or (2) can be

            “accurately and readily determined from sources whose accuracy cannot reasonably

            be questions.” Id.; see Kojha v. Orexigen Therapeutics, Inc., 899 F.3d 999, 1001 (9th

            Cir. 2018). When ruling on a motion to dismiss, a court may consider material that

            is appropriate for judicial notice. See, e.g., Tellabs, Inc. v. Makor Issues & Rights,

            Ltd., 551 U.S. 308, 322 (2007); Kohjha, 899 F.3d at 998; In re Floor & Decor

            Holdings, Inc. Sec. Litig., No. 1:19-CV-2270-SCJ, 2020 WL 13543880, at *2 (N.D.

            Ga. Sept. 21, 2020) (“Floor & Décor”) (taking judicial notice of exhibits and

            considering those exhibits in ruling on motion to dismiss).

                  B.     Incorporation By Reference

                  “[I]ncorporation-by-reference is a judicially created doctrine that treats

            certain documents as though they are part of the complaint itself.” Khoja, 899 F.3d

            at 1002. A document may be incorporated by reference, “if the document’s contents

            are alleged in a complaint and no party questions those contents.” Day v. Taylor, 400

            F.3d 1272, 1276 (11th Cir. 2005); Hines v. Midland Mortg. Co., No. 1:22-CV-5056-

            MHC-JSA, 2023 WL 2933343, at *3 (N.D. Ga. Feb. 22, 2023) (taking judicial notice



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            of the security deed at issue because its authenticity is “undisputed by Plaintiff and

            is central to her claims”); Williamson v. Bank of Am., N.A., No. 1:14-CV-02824-AT-

            JFK, 2015 WL 11517083, at *4 (N.D. Ga. June 8, 2015), report and

            recommendation adopted as modified, 2015 WL 11605553 (N.D. Ga. July 13, 2015)

            (“The foreclosure notice is central to Plaintiff's claims, and Plaintiff does not dispute

            the authenticity of the notice”); see also In re Apple Inc. Device Performance Litig.,

            386 F.Supp.3d 1155, 1165 (N.D. Cal. 2019) (“[A] document may be incorporated

            even if is never referenced directly in the Complaint if the claim necessarily

            depended on the document.”); Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005)

            (incorporation-by-reference doctrine applies “equal force” to Internet pages).

            III.   LEGAL ARGUMENT

                   A.    The Exhibits Meet the Requirements of Fed. R. Evid. 201(b)

                   Exhibits 1 through 5, which are copies of publicly available webpages1, are

            properly subject to judicial notice because their contents are not subject to reasonable

            dispute. See, e.g., S. Ass’n of Colleges & Sch. Comm’n on Colleges, Inc. v. Bennett

            Coll., No. 1:21-CV-03060-VMC, 2022 WL 5241217, at *1 (N.D. Ga. Sept. 23,

            2022), aff'd, No. 22-13289, 2023 WL 2231773 (11th Cir. Feb. 27, 2023) (taking

            judicial notice of facts on a webpage); Juniper Networks, Inc. v Shipley, 394 F.



            1
             Exhibits 1 and 4 are true and correct archived copies of publicly available
            webpages.


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            App’x 713, 2010 WL 3591783, at *1 (Fed. Cir. Sept. 10, 2010) (“it is not uncommon

            for courts to take judicial notice of factual information found on Internet websites”);

            O’Toole v. Northrop Grumman Corp., 499 F.3d 1218, 1255 (10th Cir. 2007) (same

            principle); Altes v. Bulletproof 60, Inc., No. 2:19-cv-04409-ODW(SKx), 2020 WL

            902520, at *2 (C.D. Cal. Feb. 25, 2020) (taking judicial notice of, among other

            documents, a screen capture of a website).

                  Courts also routinely take judicial notice of social media platforms’ terms of

            services and policies, like Exhibits 1 through 4. See Capua v. Air Europa Lineas

            Aereas S.A. Inc., No. 20-CV-61438-RAR, 2021 WL 965500, at *2 (S.D. Fla. Mar.

            15, 2021) (taking judicial notice of an archived copy of Expedia’s terms of use

            obtained from Internet Archive’s Wayback Machine); Al-Ahmed v. Twitter, Inc., 603

            F. Supp. 3d 857, 869 (N.D. Cal. 2022) (taking judicial notice of Twitter’s terms of

            service); Yuksel v. Twitter, Inc., 2022 WL 16748612, at *3 (same); Trudeau v.

            Google LLC, 349 F. Supp. 3d 869, 876 (N.D. Cal. 2018) (taking judicial notice of

            Google’s Terms of Service); Matera v. Google Inc., 2016 WL 5339806, at *7 (N.D.

            Cal. Sept. 23, 2016) (same); In re Google Inc., No. 13-MD-02430-LHK, 2013 WL

            5423918, at *7 (N.D. Cal. Sept. 26, 2013) (same); Matera v. Google Inc., NO. 15-

            CV-04062-LHK, 2016 WL 8200619, at *5 (N.D. Cal. Aug. 12, 2016) (Google’s

            privacy policy was the “proper subject of judicial notice”).

                  That Exhibits 1 and 4 are “archived webpages obtained from the Internet



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            Archive’s Wayback Machine does not change this analysis.” Yuksel, 2022 WL

            16748612, at *3 (taking judicial notice of archived webpages using the Wayback

            Machine); Tobinick v. Novella, No. 9:14-CV-80781, 2015 WL 1526196, at *2 (S.D.

            Fla. Apr. 2, 2015) (taking judicial notice of Internet Archive's history of the

            webpage); Pohl v. MH Sub I, LLC, 332 F.R.D. 713, 716 (N.D. Fla. 2019) (“This

            Court follows the lead of the overwhelming number of courts that have decided the

            issue and takes judicial notice of the contents of WayBack Machine evidence.”);

            Pond Guy, Inc. v. Aquascape Designs, Inc., No. 13-13229, 2014 WL 2863871, at *4

            (E.D. Mich. June 24, 2014) (“[T]he Internet Archive has been found to be an

            acceptable source for the taking of judicial notice.”).

                  It is therefore appropriate to take judicial notice of Exhibits 1 though 5. Fed.

            R. Evid. 201(b).

                  B.     The Exhibits Meet the Requirements for Incorporation-By-
                         Reference

                  In the alternative, the Court can and should incorporate Exhibits 1 through 5

            under the incorporation-by-reference doctrine.

                  As explained in X Corp.’s Motion to Dismiss Plaintiff’s Complaint, filed

            concurrently, Plaintiff’s Complaint alleges she used X with the handle

            “@TheADL_dot_org.” See Compl. 7 (“published to ‘X’ social media platform”), 18

            (signature block). In her Complaint, Plaintiff references and quotes X’s Rules, and

            the Hateful Conduct Policy contained therein. See Compl. at 8 (quoting and citing


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            https://help.twitter.com/ed/rules-and-policies/hateful-conduct-policy). As noted, the

            Rules, together with the Terms and the Privacy Policy, comprise the User

            Agreement. See Ex. 1 at 1; Ex. 2 at 2. By referencing and quoting the Rules, which

            are part of the User Agreement, the Terms are also appropriate for incorporation by

            reference.

                  Exhibit 5, which is a true and correct copy of Plaintiff’s X account webpage

            showing that she created her X account in August 2023, also should be incorporated

            by reference because it is central to Plaintiff’s claim and its authenticity cannot

            reasonably be disputed. Plaintiff cannot dispute the authenticity of Exhibit 5 because

            she references her Twitter handle in her Complaint (Compl. at 18) and also attached

            a copy of her Twitter webpage as Exhibit E to her Affirmation of Service and Notice

            of Default (ECF No. 18). That Exhibit also reflects that Plaintiff’s Twitter handle is

            “@TheADL_dot_org.com” and reflects that she created her account in August 2023.

            Id., Ex. E (@TheADL_dot_org “Joined August 2023”).

                  In short, Exhibits 1-5 are referenced within Plaintiff’s Complaint, central to

            her defamation claim against X Corp., whose authenticity is undisputed. This Court

            should therefore incorporate Exhibits 1-5 by reference. See Hines, 2023 WL

            2933343, at *3 (taking judicial notice of the security deed at issue because its

            authenticity is “undisputed by Plaintiff and is central to her claims”); Williamson,

            2015 WL 11517083, at *4 (“The foreclosure notice is central to Plaintiff's claims,



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            and Plaintiff does not dispute the authenticity of the notice”).

            IV.   CONCLUSION

                  For these reasons, X Corp. respectfully requests this Court take judicial notice

            of, or in the alternative incorporate by reference, Exhibits 1-5 and consider them in

            deciding X Corp.’s Motion to Dismiss Plaintiff’s Complaint.



                   Dated: February 20, 2024

                                                           /s/ Colin K. Kelly
                                                           Colin K. Kelly

                                                           Counsel for Defendant X Corp.¸ via
                                                           Special Appearance Only
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                               LOCAL RULE 7.1(D) CERTIFICATION

                  I certify that this Request has been prepared with one of the font and point

            selections approved by the Court in LR 5.1(B).



                                                         /s/ Colin K. Kelly
                                                         Colin K. Kelly

                                                         Counsel for Defendant X Corp.¸ via
                                                         Special Appearance Only




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                                   CERTIFICATE OF SERVICE


                 I hereby certify that on February 20, 2024, I served a copy of the foregoing

            DEFENDANT X CORP.’S REQUEST FOR JUDICIAL NOTICE IN

            SUPPORT OF ITS MOTION TO DISMISS upon all parties of record in this

            matter using the CM/ECF System.

                                                       /s/ Colin K. Kelly
                                                       Colin K. Kelly

                                                       Counsel for Defendant X Corp.¸ via
                                                       Special Appearance Only




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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

           TAMAH JADA CLARK ex rel.
           ANTI-SEMITISM DEFENSE
           LEAGUE,
                                                            Civil Action No. 1:23-cv-05840-JPB
                                  Plaintiff,

           v.

           X CORP., WORLD JEWISH
           CONGRESS, AMERICAN ISRAEL
           PUBLIC AFFAIRS COMMITTEE

                                  Defendants.



                   DECLARATION OF KENNETH M. TRUJILLO-JAMISON
                                   IN SUPPORT OF
                  DEFENDANT X CORP.’S REQUEST FOR JUDICIAL NOTICE
                        IN SUPPORT OF ITS MOTION TO DISMISS

                  I, Kenneth Trujillo-Jamison, hereby declare as follows:

                  1.       I am an attorney at the law firm of Willenken LLP, counsel of record

          for Defendant X Corp.

                  2.       I make this declaration in support of X Corp.’s Request for Judicial

           Notice in Support of Its Motion to Dismiss Plaintiff’s Complaint.

                  3.       Attached as Exhibit 1 is a true and correct copy of the archived version

           of X Corp.’s Terms of Service (the “Terms”) as they existed when Plaintiff created

           her         X        account         in     August        2023,       available       at


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            https://web.archive.org/web/20230801013559/https://twitter.com/en/tos/         (last

            visited February 9, 2024). My office obtained printouts of the archived webpage as

            it appeared in August 2023 by visiting the web archive known as the Internet

            Archive Wayback Machine on February 9, 2024 at webarchive.org and entering the

            URL https://twitter.com/en/tos. The Internet Archive Wayback Machine had

            archived the website on August 1, 2023. My office then captured a true and correct

            printout                    of                    that                     webpage

            (https://web.archive.org/web/20230801013559/https://twitter.com/en/tos/)         by

            using FireShot Pro and verified that the printouts contained an accurate reflection

            of what appeared on the URL listed above and the facts contained therein.

                 4.     Attached as Exhibit 2 is a true and correct copy of X Corp.’s Terms in

            effect when Plaintiff was allegedly defamed in November 2023, and which remain

            in effect today, available at https://twitter.com/en/tos (last visited February 9,

            2024). My office obtained Exhibit 2 by visiting the above-listed URL. My office

            then captured a true and correct printout of the webpage as it appeared on February

            13, 2024 by using FireShot Pro and verified that the printouts contained an accurate

            reflection of what appeared on the URL listed above and the facts contained therein.

                 5.     Attached as Exhibit 3 is a true and correct copy of X Corp.’s Hateful

            Conduct Policy in effect when Plaintiff was allegedly defamed in November 2023,

            and which remains in effect today, available at https://help.twitter.com/en/rules-



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            and-policies/hateful-conduct-policy (last visited February 9, 2024). My office

            obtained Exhibit 3 by visiting the above-listed URL. My office then captured a true

            and correct printout of the webpage as it appeared on February 9, 2024 by using

            FireShot Pro and verified that the printouts contained an accurate reflection of what

            appeared on the URL listed above and the facts contained therein.

                   6.    Attached as Exhibit 4 is a true and correct copy of the archived version

            of X Corp.’s sign-up page for new account holders as it existed when Plaintiff

            created     her    X    account     in    August      of    2023,      available    at

            https://web.archive.org/web/20230801165313/https://twitter.com/i/flow/signup

            (last visited February 13, 2024). My office obtained printouts of the archived

            webpage as it appeared on August 1, 2023 by visiting the web archive known as the

            Internet Archive Wayback Machine on February 13, 2024 at webarchive.org and

            entering the URL https://twitter.com/i/flow/signup. The Internet Archive Wayback

            Machine had archived the website on August 1, 2023. My office then captured a

            true        and        correct        printout        of        that        webpage

            (https://web.archive.org/web/20230801165313/https://twitter.com/i/flow/signup)

            by using FireShot Pro and verified that the printouts contained an accurate reflection

            of what appeared on the URL listed above and the facts contained therein.

                   7.    Attached as Exhibit 5 is a true and correct copy of the webpage for

            Plaintiff’s X account profile for the handle @The_ADL_dot_org, available at



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            https://twitter.com/theadl_dot_org (last visited February 13, 2024). My office

            obtained Exhibit 5 by visiting the above-listed URL. My office then captured a true

            and correct printout of the webpage as it appeared on February 13, 2024 by using

            FireShot Pro and verified that the printouts contained an accurate reflection of what

            appeared on the URL listed above and the facts contained therein.

                 I declare under penalty of perjury that the foregoing is true and correct.

                  Dated: February 20, 2024

                                                 ________________________
                                                 Kenneth M. Trujillo-Jamison




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                               LOCAL RULE 7.1(D) CERTIFICATION


                  I certify that this Declaration in Support of X Corp.’s Motion to Dismiss has

            been prepared with one of the font and point selections approved by the Court in

            LR 5.1(B).


                                                        /s/ Colin K. Kelly
                                                        Colin K. Kelly

                                                        Counsel for Defendant X Corp.¸ via
                                                        Special Appearance Only




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                                   CERTIFICATE OF SERVICE


                 I hereby certify that on February 20, 2024, I served a copy of the foregoing

            DECLARATION OF KENNETH M. TRUJILLO-JAMISON IN SUPPORT

            OF DEFENDANT X CORP.’S REQUEST FOR JUDICIAL NOTICE IN

            SUPPORT OF ITS MOTION TO DISMISS upon all parties of record in this

            matter using the CM/ECF System.

                                                       /s/ Colin K. Kelly
                                                       Colin K. Kelly

                                                       Counsel for Defendant X Corp.¸ via
                                                       Special Appearance Only




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Twitter Terms of Service
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Twitter Terms of Service
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                                                         Twitter platform      X Corp.                                 Help                               Developer resources                  Business resources

                                                         Twitter.com           About the company                       Help Center                        Developer home                       Advertise
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            Did someone say … cookies?                                                                                                                                                                                                  Accept all cookies
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            X and its partners use cookies to provide you with a better, safer and faster service and to support our business. Some cookies are necessary to use our services, improve our
            services, and make sure they work properly. Show more about your choices            .
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                                                                                                            extent permitted
                                                                                                                   permitted by
                                                                                                                             by law.
                                                                                                                                law. You may be
                                                                                                                                     You may be exposed
                                                                                                                                                exposed to
                                                                                                                                                        to offensive
                                                                                                                                                           offensive or
                                                                                                                                                                     or harmful content posted
                                                                                                                                                                        harmful content posted by
                                                                                                                                                                                               by other
                                                                                                                                                                                                  other users.
                                                                                                                                                                                                        users. The
                                                                                                                                                                                                               The
                                                    Services
                                                    Services may
                                                             may change from time
                                                                 change from      to time,
                                                                             time to time, and
                                                                                           and we
                                                                                               we may
                                                                                                  may limit
                                                                                                      limit or
                                                                                                            or terminate
                                                                                                               terminate availability
                                                                                                                         availability of
                                                                                                                                      of the Services or
                                                                                                                                         the Services or particular
                                                                                                                                                         particular features
                                                                                                                                                                    features to
                                                                                                                                                                             to you
                                                                                                                                                                                you oror other
                                                                                                                                                                                         other users
                                                                                                                                                                                               users at
                                                                                                                                                                                                     at any
                                                                                                                                                                                                        any time.
                                                                                                                                                                                                            time.

                                                   Youu have
                                                 • Yo   have remedies and redress
                                                             remedies and redress mechanisms,  but our
                                                                                  mechan isms, but our liability  is limited:
                                                                                                       l iability is limited: You have aa right
                                                                                                                              You have    right to
                                                                                                                                                to terminate
                                                                                                                                                   terminate tthis agreement at
                                                                                                                                                               his agreement at any
                                                                                                                                                                                any time
                                                                                                                                                                                    time by
                                                                                                                                                                                         by deactivating
                                                                                                                                                                                            deactivating your
                                                                                                                                                                                                         your
                                                    account and
                                                    account and discontinuing
                                                                discontinuing use
                                                                              use of
                                                                                  of the
                                                                                     the Services. Notee that
                                                                                         Services. Not   that we
                                                                                                              we will
                                                                                                                 will not
                                                                                                                      not be
                                                                                                                          be liable for certain
                                                                                                                             liable for certain types
                                                                                                                                                types of
                                                                                                                                                      of ddamages as described
                                                                                                                                                           amages as described in the agreement.
                                                                                                                                                                               in the agreement, and
                                                                                                                                                                                                 and inin any
                                                                                                                                                                                                          any
                                                    event, our
                                                    event, our aggregate
                                                               aggregate liability
                                                                         liability shall
                                                                                   shall not
                                                                                         not exceed
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                                                                                                    the greater
                                                                                                        greater of
                                                                                                                of $100
                                                                                                                   $100 USD
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                                                                                                                            ()( the
                                                                                                                                the amount you paid
                                                                                                                                    amount you paid us,
                                                                                                                                                    us, ifif any.
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                                                                                                                                                                       the past
                                                                                                                                                                           past six
                                                                                                                                                                                six months for the
                                                                                                                                                                                    months for the Services
                                                                                                                                                                                                   Services giving
                                                                                                                                                                                                            giving rise
                                                                                                                                                                                                                   rise
                                                    to the
                                                    to the claim.
                                                           claim. Further.
                                                                  Further, ifif you believe that
                                                                                you believe that your
                                                                                                 your Content
                                                                                                      Content has
                                                                                                              has been
                                                                                                                  been copied
                                                                                                                       copied inin aa way that constitutes
                                                                                                                                      way that constitutes copyright
                                                                                                                                                           copyright infringement.
                                                                                                                                                                     infringement, tthe reporting process
                                                                                                                                                                                     he reporting process is detailed in
                                                                                                                                                                                                          is detailed in
                                                    these Terms.
                                                    these Terms.

                                                Please also note
                                                Please also note tthat these Terms
                                                                   hat these Terms incorporate
                                                                                   incorporate our
                                                                                               our Privacy Policy (https://x.com/privacy)
                                                                                                   Privacy Policy ( https://x.com/privacy ) as well as other terms applicable to your use of the Services and your
                                                                                                                                            as well as other terms applicab le to your use of the Services and your
                                                Content. Finally,
                                                Content.          these terms
                                                         Finally. these terms may
                                                                              may vary depending on
                                                                                  vary depending on where
                                                                                                    where you
                                                                                                          you live,
                                                                                                              live. but in any
                                                                                                                    but in any case, you must
                                                                                                                               case. you must be at !east
                                                                                                                                              be at least 13 years ooldld to
                                                                                                                                                          13 years        to use X.
                                                                                                                                                                             use X.




                                                If you live
                                                If you
                                                       live outside
                                                            o utside tthe
                                                                       he European Union, EFTA
                                                                          European Union, EFTA States,
                                                                                               States, or
                                                                                                       or the
                                                                                                          the United
                                                                                                              United Kingdom,
                                                                                                                     Kin gdom, including
                                                                                                                               including ifif yo
                                                                                                                                              youu llive
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                                                                                                                                                         in the
                                                                                                                                                            the United States, the
                                                                                                                                                                United States, !he X
                                                                                                                                                                                   X User
                                                                                                                                                                                     User Agreement
                                                                                                                                                                                          Agreement comprises
                                                                                                                                                                                                    comprises
                                                these
                                                these Terms
                                                      Terms of
                                                            of Service.
                                                               Service , our
                                                                         our Privacy
                                                                             Privacy Policy.  our Rules
                                                                                     Policy , our       and Policies.
                                                                                                  Rules and            and all
                                                                                                            Policies , and all incorporated
                                                                                                                               incorporated policies.
                                                                                                                                            policies.

                                                If you
                                                If     live in
                                                   you live in the European Union,
                                                               the European Union, EFTA Stat es, or
                                                                                   EFTA States,  o r the
                                                                                                     the Un it ed Kingdom,
                                                                                                         United   Kingdom, the
                                                                                                                           the XX User
                                                                                                                                  User Agreement
                                                                                                                                       Agreement comprises
                                                                                                                                                 comprises tthese
                                                                                                                                                             hese Terms
                                                                                                                                                                  Terms ofof Service.
                                                                                                                                                                             Service , our Privacy Policy,
                                                                                                                                                                                       our Privacy Policy , our Rules
                                                                                                                                                                                                            our Rules
                                                and
                                                and Policies.  and all
                                                    Policies , and     incorporated policies.
                                                                   all incorporated policies.




                                                X Terms of
                                                X Terms of Service
                                                           Service
                                                If you
                                                If     live outside
                                                   you live outside the  European Union,
                                                                     the European Union, EFTA
                                                                                         EFTA States,
                                                                                              St ates, o
                                                                                                       orr tthe
                                                                                                             he United
                                                                                                                United Kingdom,
                                                                                                                       Kingdom , including
                                                                                                                                 inc luding ifif you live in
                                                                                                                                                 you live in
                                                the  United States
                                                the United   Stat es

                                                These
                                                These Terms
                                                      Terms of
                                                            of Service (~Terms") govern
                                                               Service (“Terms”)        your access
                                                                                 govern your access to
                                                                                                    to and
                                                                                                       and use
                                                                                                           use of
                                                                                                               of our
                                                                                                                  our services,
                                                                                                                      services, including
                                                                                                                                including our
                                                                                                                                          our various websites. SM
                                                                                                                                              various websites, SMS,S. APls.
                                                                                                                                                                       APIs, email
                                                                                                                                                                             email notifications. applications.
                                                                                                                                                                                   notifications, applications,
                                                buttons.
                                                buttons, widgets,
                                                         widgets, ads,
                                                                  ads, commerce services, and
                                                                       commerce services, and our
                                                                                              our other
                                                                                                  other covered
                                                                                                        covered services
                                                                                                                services ((httpsJ/help.x.com/rules-and-policies/x-services-and-corporate-affiliates)  that link
                                                                                                                          https://help.x.com/rules-and-policies/x-services-and-corporate-affiliates ) that link to
                                                                                                                                                                                                                to
                                                these
                                                these Terms
                                                      Terms (collectively,
                                                            (collectively, the
                                                                           the ~services"). and any
                                                                               “Services”), and any information. text . links,
                                                                                                    information, text,  links. graphics,
                                                                                                                               graphics. photos,
                                                                                                                                         photos. audio.
                                                                                                                                                 audio, videos.
                                                                                                                                                        videos, or
                                                                                                                                                                or other materials or
                                                                                                                                                                   other materials or arrangements
                                                                                                                                                                                      arrangements of
                                                                                                                                                                                                   of materials
                                                                                                                                                                                                      materials
                                                uploaded. downloaded or
                                                uploaded, downloaded or appearing on the
                                                                        appearing on the Services
                                                                                         Services (collectively referred to
                                                                                                  (collectively referred to as
                                                                                                                            as “Content”).
                                                                                                                               "Cont ent"). By
                                                                                                                                            By using
                                                                                                                                               using the
                                                                                                                                                     the Services
                                                                                                                                                         Services you
                                                                                                                                                                  you agree
                                                                                                                                                                      agree to
                                                                                                                                                                            to be
                                                                                                                                                                               be bound by these
                                                                                                                                                                                  bound by these Terms.
                                                                                                                                                                                                 Terms.

                                                These Terms are
                                                These Terms are an
                                                                an agreement
                                                                   agreement between you and
                                                                             between you and XX Corp.,
                                                                                                Corp.. which
                                                                                                       which provides
                                                                                                             provides XX and
                                                                                                                         and the
                                                                                                                             the Services,
                                                                                                                                 Services. 1355
                                                                                                                                           1355 Market
                                                                                                                                                Market St reet. Suite
                                                                                                                                                       Street,  Suite 900.
                                                                                                                                                                      900, San
                                                                                                                                                                           San Francisco.
                                                                                                                                                                               Francisco, CA
                                                                                                                                                                                          CA 94103
                                                                                                                                                                                             94103 U.S.A.
                                                                                                                                                                                                   U.S.A. The
                                                                                                                                                                                                          The
                                                words "we," "“us,”
                                                words “we,”   us." and "ourM mean
                                                                   and “our” mean XX Corp.
                                                                                     Corp.




                                                                                                      Captu red by Fi reSh o t Pro: 09 Febru ary 2 024, 1 5 :5 8 : 1 4
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                                                                                       3 of 8
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P.:Jgc 2
X Terms of ServtCe
https:/ /twitter.com/en/tos



                                1......W.h.2...ay
                                1. Who May Use    Use the
                                                      the Services
                                                          Services

                                2.
                                2. Pri vacy
                                   Privacy                           1.1. Who
                                                                          Who May
                                                                              May Use
                                                                                  Use the
                                                                                      the Services
                                                                                          Services
                                3.
                                3. Content on the
                                   Content on the Servi ces
                                                  Services

                                4.
                                4. U sin g the
                                   Using   the Services
                                               Services              You may
                                                                     You  may use
                                                                              use the
                                                                                   the Services
                                                                                       Services only
                                                                                                 only ifif you agree to
                                                                                                           you agree  to form
                                                                                                                         form aa binding
                                                                                                                                  binding contract
                                                                                                                                          contract with
                                                                                                                                                    with us
                                                                                                                                                         us and   are not
                                                                                                                                                             and are  not a  person barred
                                                                                                                                                                          a person     barred from
                                                                                                                                                                                               from receiving
                                                                                                                                                                                                    receiving
                                                                     services under
                                                                     services under the
                                                                                     the laws
                                                                                         laws of
                                                                                              of the
                                                                                                 the applicable     jurisdiction. In
                                                                                                     applicable jurisdiction.     In any case, you
                                                                                                                                     any case.  you must
                                                                                                                                                     must be  at least
                                                                                                                                                           be at least 13  years ooldld to
                                                                                                                                                                        13 years        to use
                                                                                                                                                                                           use the Services.
                                                                                                                                                                                               the Services.
                                5.
                                5. Disclaimers
                                   Disclaimers and
                                               and Limitations
                                                   Limitations       If you
                                                                     If you are
                                                                            are accepting
                                                                                accepting these
                                                                                          these Terms
                                                                                                Terms and
                                                                                                      and using the Services
                                                                                                          using the Services on
                                                                                                                             on behalf
                                                                                                                                behalf of
                                                                                                                                       of aa company,
                                                                                                                                             company, organization,
                                                                                                                                                      organization, government,
                                                                                                                                                                    government, or
                                                                                                                                                                                or other
                                                                                                                                                                                   other
                                of Liabilit y
                                of Liability
                                                                     legal entity,
                                                                     legal entity. you
                                                                                   you represent
                                                                                       represent and
                                                                                                 and warrant
                                                                                                     warrant that you are
                                                                                                             that you are authorized to do
                                                                                                                          authorized to do so
                                                                                                                                           so and
                                                                                                                                              and have
                                                                                                                                                  have the
                                                                                                                                                       the authority
                                                                                                                                                           authority to
                                                                                                                                                                     to bind
                                                                                                                                                                        bind such
                                                                                                                                                                             such entity
                                                                                                                                                                                  entity to
                                                                                                                                                                                         to
                                e.
                                6. General
                                   General                           these Terms,
                                                                     these        in which
                                                                           Terms, in which case
                                                                                           case the
                                                                                                the words
                                                                                                    WOfds “you” and ~your~
                                                                                                          ~you" and “your” as
                                                                                                                           as used
                                                                                                                              used in these Terms
                                                                                                                                   in these Terms shall
                                                                                                                                                  shall refer
                                                                                                                                                        refer to
                                                                                                                                                              to such
                                                                                                                                                                 such entity.
                                                                                                                                                                      entity.




                                                                     2. Privacy
                                                                     2. Privacy
                                                                     Our Privacy
                                                                     Our         Policy ((https://www.x.com/privacy)
                                                                         Privacy Policy   https://www.x.com/privacy ) describes
                                                                                                                      describes how we handle
                                                                                                                                how we handle the information you
                                                                                                                                              the information you provide to us
                                                                                                                                                                  provide to us when you
                                                                                                                                                                                when you
                                                                     use the
                                                                     use the Services.
                                                                             Services. You
                                                                                       You understand
                                                                                           understand that
                                                                                                      that through your use
                                                                                                           through your use of
                                                                                                                            of the
                                                                                                                               the Services
                                                                                                                                   Services you
                                                                                                                                            you consent
                                                                                                                                                consent toto the
                                                                                                                                                             the collection
                                                                                                                                                                 collection and
                                                                                                                                                                            and use
                                                                                                                                                                                use (as
                                                                                                                                                                                    (as set
                                                                                                                                                                                        set
                                                                     forth inin the
                                                                     forth          Privacy Policy)
                                                                                the Privacy Policy) of
                                                                                                     of this
                                                                                                        this information, including the
                                                                                                             information, including  the transfer
                                                                                                                                         transfer of
                                                                                                                                                  of this
                                                                                                                                                      this information
                                                                                                                                                            information to
                                                                                                                                                                        to the
                                                                                                                                                                           the United States, Ireland.
                                                                                                                                                                               United States. Ireland,
                                                                     and/or other
                                                                     and/or    other countries
                                                                                      countries for
                                                                                                 for storage,
                                                                                                     storage. processing   and use
                                                                                                               processing and   use by
                                                                                                                                    by us
                                                                                                                                        us and
                                                                                                                                           and our
                                                                                                                                                our affiliates.
                                                                                                                                                     affiliates.




                                                                     3. Content
                                                                     3. Content on the Services
                                                                                on the Services
                                                                     You are responsible
                                                                     You are             for your
                                                                             responsible for      use of
                                                                                             your use of the
                                                                                                         the Services
                                                                                                             Services and
                                                                                                                      and fOf
                                                                                                                          for any
                                                                                                                              any Content
                                                                                                                                  Content you provide, including
                                                                                                                                          you provide, including compliance with applicable
                                                                                                                                                                 compliance with applicable
                                                                     laws.
                                                                     laws, rules. and regulations.
                                                                           rules, and regulations. You
                                                                                                   You should
                                                                                                       should only
                                                                                                              only pprovide
                                                                                                                     rovide Content
                                                                                                                            Content tthat
                                                                                                                                      hat you
                                                                                                                                          you are
                                                                                                                                              are comfortable
                                                                                                                                                  comfortable sharing
                                                                                                                                                              sharing with
                                                                                                                                                                      with others.
                                                                                                                                                                           others.

                                                                     Any use or
                                                                     Any use or reliance
                                                                                reliance on any Content
                                                                                         on any Content or
                                                                                                        or materials
                                                                                                           naterials posted
                                                                                                                     posted via
                                                                                                                            via tthe
                                                                                                                                  he Services
                                                                                                                                     Services or
                                                                                                                                              or obtained
                                                                                                                                                 obtained by
                                                                                                                                                          by you
                                                                                                                                                             you through
                                                                                                                                                                 through the
                                                                                                                                                                         the Services
                                                                                                                                                                             Services is at
                                                                                                                                                                                      is at
                                                                     your own
                                                                     your     risk. We
                                                                          own risk. We do
                                                                                       do not
                                                                                          not endorse,
                                                                                              endorse. support, represent or
                                                                                                       support. represent or guarantee
                                                                                                                             guarantee tthe completeness, truthfulness.
                                                                                                                                         he completeness. truthfulness, accuracy.
                                                                                                                                                                        accuracy, or
                                                                                                                                                                                  or
                                                                     reliability ofof any
                                                                     reliability      any Content or communications
                                                                                          Content or communications posted
                                                                                                                    posted via
                                                                                                                           via the
                                                                                                                               the Services or endorse
                                                                                                                                   Services or endorse any
                                                                                                                                                       any opinions
                                                                                                                                                           opinions expressed
                                                                                                                                                                    expressed via
                                                                                                                                                                              via the
                                                                                                                                                                                  the
                                                                     Services. You
                                                                     Services. You understand
                                                                                   underst and that
                                                                                               that by
                                                                                                    by using
                                                                                                       using tthe Services, you
                                                                                                               he Services.     may be
                                                                                                                            you may    exposed to
                                                                                                                                    be exposed to Content
                                                                                                                                                  Content that might be
                                                                                                                                                          that might be offensive.
                                                                                                                                                                        offensive, harmf
                                                                                                                                                                                   harmful,
                                                                                                                                                                                          ul.
                                                                     inaccurate or
                                                                     inaccurate or otherwise
                                                                                   otherwise inappropriate,
                                                                                             inappropriate. or in some
                                                                                                            or in      cases, postings
                                                                                                                  some cases, postings tthat
                                                                                                                                         hat have been mislabeled
                                                                                                                                             have been mislabeled or
                                                                                                                                                                  or are
                                                                                                                                                                     are otherwise
                                                                                                                                                                         otherwise deceptive.
                                                                                                                                                                                   deceptive.
                                                                     All Content
                                                                     All          is the
                                                                         Content is  the sole
                                                                                          sole responsibility
                                                                                                responsibility of
                                                                                                               of the  person who
                                                                                                                   the person  who originated
                                                                                                                                    originated such
                                                                                                                                                such Content. We may
                                                                                                                                                     Content. We   may not
                                                                                                                                                                       not monitor or control
                                                                                                                                                                           monitor or control the
                                                                                                                                                                                              the
                                                                     Content posted
                                                                     Content   posted via
                                                                                        via the
                                                                                            the Services
                                                                                                 Services and,
                                                                                                           and, wewe cannot
                                                                                                                     cannot take
                                                                                                                             take responsibility
                                                                                                                                  responsibility !Of
                                                                                                                                                 for such
                                                                                                                                                     such Content.
                                                                                                                                                          Content.

                                                                     We reserve the
                                                                     We reserve the right
                                                                                    right to
                                                                                          to remove
                                                                                             remove Content
                                                                                                    Content that
                                                                                                            that violates
                                                                                                                 violates the User Agreement.
                                                                                                                          the User Agreement, including
                                                                                                                                              including for
                                                                                                                                                        for example.
                                                                                                                                                            example, copyright
                                                                                                                                                                     copyright or trademark
                                                                                                                                                                               or trademark
                                                                     violations or other
                                                                     violations or other intellectual
                                                                                         intellectual property
                                                                                                      property misappropriation,
                                                                                                               misappropriation. impersonat ion. unlawfu
                                                                                                                                 impersonation,  unlawful l conduct
                                                                                                                                                            conduct, . or
                                                                                                                                                                       or harassment. Information
                                                                                                                                                                          harassment. Information
                                                                     regarding specific policies
                                                                     regarding specific policies and
                                                                                                 and the
                                                                                                     the process
                                                                                                         process for
                                                                                                                 for reporting
                                                                                                                     reporting Of
                                                                                                                               or appealing
                                                                                                                                  appealing violations
                                                                                                                                            violations can
                                                                                                                                                       can be
                                                                                                                                                           be found
                                                                                                                                                              found in
                                                                                                                                                                    in our Help Center
                                                                                                                                                                       our Help Center
                                                                     (https://help.x.com/rules-and   -policies/)(-report-violation#spec1fic-violat ions and https://help .x.com/managing-your-
                                                                     ( https://help.x.com/rules-and-policies/x-report-violation#specific-violations and https://help.x.com/managing-your-

                                                                     account/suspended-x-accounts).
                                                                     account/suspended-x-accounts ).

                                                                     If you believe that your Content has been copied in a way that constitutes copyright infringement. please report this by
                                                                     If you believe that your Content has been copied in a way that constitutes copyright infringement, please report this by

                                                                     visiting
                                                                     visit ing our
                                                                               our Copyright
                                                                                   Copyright reporting form ((hnps://help.x.com/forms/dmca)
                                                                                             reporting form   https://help.x.com/forms/dmca ) or
                                                                                                                                              or contacting our designated
                                                                                                                                                 contacting our designated copyright
                                                                                                                                                                           copyright agent
                                                                                                                                                                                     agent at:
                                                                                                                                                                                           at :


                                                                     X Corp.
                                                                     X Corp.
                                                                     Attn: Copyright Agent
                                                                     Attn: Copyright Agent
                                                                     1355 Market
                                                                     1355 Market Street,
                                                                                 Street, Suite
                                                                                         Suite 900
                                                                                               900
                                                                     San
                                                                     San Francisco. CA 94103
                                                                         Francisco, CA 94103
                                                                     Repor1s:
                                                                     Reports: htlps:/lhelp .)(.COmlfOfms/dmca
                                                                              https://help.x.com/forms/dmca
                                                                     Email: copyright@x.com
                                                                     Email: copyright@x.com



                                                                     Your Rights
                                                                     Your Rights and
                                                                                 and Grant
                                                                                     Grant of
                                                                                           of Rights
                                                                                              Rights in the Content
                                                                                                     in the Content

                                                                     You retain
                                                                     You retain your
                                                                                your rights
                                                                                     rights to
                                                                                            to any
                                                                                               any Content
                                                                                                   Content you submit, post
                                                                                                           you submit. post or
                                                                                                                            or ddisplay  on or
                                                                                                                                  isplay on or through
                                                                                                                                               through the
                                                                                                                                                       the Services.
                                                                                                                                                           Services. What's
                                                                                                                                                                     What’s yours
                                                                                                                                                                            yours is yours —-
                                                                                                                                                                                  is yours
                                                                     you own
                                                                     you     your Content
                                                                         own your Content (and
                                                                                          (and your
                                                                                               your incorporated  audio, photos
                                                                                                    incorp:,rated audio,        and videos
                                                                                                                         photos and videos are
                                                                                                                                           are considered
                                                                                                                                               considered part
                                                                                                                                                          part of
                                                                                                                                                               of the
                                                                                                                                                                  the Content).
                                                                                                                                                                      Content).

                                                                     By submitting,
                                                                     By  submitting. posting
                                                                                      posting or
                                                                                               or displaying
                                                                                                  displaying Content   on or
                                                                                                              Content on  or through
                                                                                                                             through the
                                                                                                                                      the Services,
                                                                                                                                          Services, you
                                                                                                                                                    you grant
                                                                                                                                                        grant us
                                                                                                                                                               us a worldwide, non-exclusive.
                                                                                                                                                                  a WOfldwide.  non-exclusive,
                                                                     royalty-free license
                                                                     royalty-free license (with  the right
                                                                                          (with the  right to
                                                                                                           to sublicense) to use.
                                                                                                              sublicense) to use, copy.
                                                                                                                                  copy, reproduce.
                                                                                                                                         reproduce, process,  adapt, modify.
                                                                                                                                                    process. adapt.   modify, publish.
                                                                                                                                                                              publish, transmit.
                                                                                                                                                                                       transmit,
                                                                      display and
                                                                     display     and distribute
                                                                                      d istribute such Content inin any
                                                                                                  such Content           and all
                                                                                                                    any and       media or
                                                                                                                              all media  or ddistribution
                                                                                                                                               istribution methods
                                                                                                                                                            methods nownow known
                                                                                                                                                                            known oror later
                                                                                                                                                                                       later developed
                                                                                                                                                                                             developed (for
                                                                                                                                                                                                         (for
                                                                     cclarity,
                                                                        larity, these
                                                                                these rights
                                                                                       rights include,
                                                                                               include, for
                                                                                                        for example,   curating, transforming,
                                                                                                            example, curating,    transforming, and and ttranslating). This license
                                                                                                                                                          ranslating). This          authorizes us
                                                                                                                                                                            license authorizes   us to make your
                                                                                                                                                                                                    to make   your
                                                                     Content available
                                                                     Content            to the
                                                                              available to the rest
                                                                                               rest of
                                                                                                     of the
                                                                                                        the world and to
                                                                                                            world and  to let  others do
                                                                                                                          let others  do the
                                                                                                                                          the same.
                                                                                                                                              same. You
                                                                                                                                                    You agree
                                                                                                                                                         agree that
                                                                                                                                                               that this
                                                                                                                                                                      this license
                                                                                                                                                                           license includes
                                                                                                                                                                                   includes the  right for
                                                                                                                                                                                             the right for
                                                                     us to
                                                                     us    provide, promote,
                                                                        to provide, promote, and
                                                                                               and improve
                                                                                                    improve the   Services and
                                                                                                              the Services   and to
                                                                                                                                  to make   Content submitted
                                                                                                                                     make Content   submitted ttoo Of
                                                                                                                                                                   or through
                                                                                                                                                                       through the
                                                                                                                                                                                the Services  available to
                                                                                                                                                                                    Services available   to
                                                                     other companies,
                                                                     other companies. organizations
                                                                                      organizations or
                                                                                                    or individuals  for the
                                                                                                       ind ividuals for the syndication.
                                                                                                                            syndication, broadcast, distribution,
                                                                                                                                         broadcast. d              repost, promotion
                                                                                                                                                      istribution. repost. promotion oror
                                                                     publication of
                                                                     publication of such
                                                                                    such Content
                                                                                         Content on
                                                                                                 on other
                                                                                                    o ther media and services,
                                                                                                           media and services, subject
                                                                                                                               subject to
                                                                                                                                       to our
                                                                                                                                          our terms and conditions
                                                                                                                                              terms and conditions !for such Content
                                                                                                                                                                     Of such Content use.
                                                                                                                                                                                     use.
                                                                     Such additional
                                                                     Such additional uses
                                                                                     uses by us, or
                                                                                          by us. or other
                                                                                                    other companies, organizations or
                                                                                                          companies. organizations or individuals,
                                                                                                                                      individuals. is made with
                                                                                                                                                   is made with no
                                                                                                                                                                no compensat
                                                                                                                                                                   compensation
                                                                                                                                                                             ion paid to you
                                                                                                                                                                                 paid to you
                                                                     with respect
                                                                     with respect to the Content
                                                                                  to the Content that
                                                                                                 that you
                                                                                                      you submit, post, transmit
                                                                                                          submit. post, transmit or
                                                                                                                                 or otherwise
                                                                                                                                    otherwise make
                                                                                                                                              make available
                                                                                                                                                   available through
                                                                                                                                                             through the
                                                                                                                                                                     the Services as the
                                                                                                                                                                         Services as the use
                                                                                                                                                                                         use
                                                                     of the
                                                                     of the Services
                                                                            Services by
                                                                                     by you
                                                                                        you isis hereby
                                                                                                 hereby agreed as being
                                                                                                        agreed as being sufficient compensation
                                                                                                                        sufficient compensat     for tthe
                                                                                                                                             ion for      Content and
                                                                                                                                                       he Content and grant
                                                                                                                                                                      grant of
                                                                                                                                                                            of rights herein.
                                                                                                                                                                               rights herein.


                                                                     We have
                                                                     We have an
                                                                             an evolving
                                                                                evolving set
                                                                                         set of
                                                                                             of rules for how
                                                                                                rules for     ecosystem partners
                                                                                                          how ecosystem          can interact
                                                                                                                        partners can interact with
                                                                                                                                              with your
                                                                                                                                                   your Content
                                                                                                                                                        Content on
                                                                                                                                                                on the
                                                                                                                                                                   the Services.
                                                                                                                                                                       Services. These rules
                                                                                                                                                                                 These rules
                                                                     existt toto enable
                                                                     exis               an open
                                                                                 enable an open ecosystem
                                                                                                ecosystem with your rights
                                                                                                          with your rights in mind. You
                                                                                                                           in mind. You understand
                                                                                                                                        understand that we may
                                                                                                                                                   that we may modify
                                                                                                                                                               modify or
                                                                                                                                                                      or adapt
                                                                                                                                                                         adapt your
                                                                                                                                                                               your Content
                                                                                                                                                                                    Content
                                                                     as itit isis distributed,
                                                                     as           distributed. syndicated,
                                                                                               syndicated, published, or broadcast
                                                                                                           published, or broadcast by
                                                                                                                                   by us
                                                                                                                                      us and
                                                                                                                                         and our
                                                                                                                                             our partners
                                                                                                                                                 partners and/or
                                                                                                                                                          and/or make
                                                                                                                                                                 make changes
                                                                                                                                                                      changes toto your
                                                                                                                                                                                   your Content
                                                                                                                                                                                        Content inin
                                                                     order to
                                                                     order t o adapt
                                                                               adapt the
                                                                                     the Content
                                                                                         Content to
                                                                                                 to different
                                                                                                    different media.
                                                                                                              media.


                                                                     You represent
                                                                     You represent and
                                                                                   and warrant
                                                                                       warrant that
                                                                                               that you
                                                                                                    you have, or have
                                                                                                        have. or have obtained.
                                                                                                                      obtained, all rights, licenses,
                                                                                                                                all rights.           consents, permissions.
                                                                                                                                            licenses. consents, permissions, power
                                                                                                                                                                             power and/or
                                                                                                                                                                                   and/or
                                                                     authority necessary
                                                                     authority necessary to
                                                                                         to grant
                                                                                            grant the
                                                                                                  the rights
                                                                                                      rights granted herein for
                                                                                                             granted herein for any
                                                                                                                                any Content
                                                                                                                                    Content that you submit.
                                                                                                                                            that you submit, post
                                                                                                                                                             post or
                                                                                                                                                                  or display
                                                                                                                                                                     display on
                                                                                                                                                                             on Of
                                                                                                                                                                                or through
                                                                                                                                                                                   through the
                                                                                                                                                                                           the
                                                                     Services. You
                                                                     Services. You agree
                                                                                   agree that
                                                                                         that such Content will
                                                                                              such Content       not contain
                                                                                                           'Nill not contain material
                                                                                                                             material subject
                                                                                                                                      subject to
                                                                                                                                              to copyright or other
                                                                                                                                                 copyright or other proprietary
                                                                                                                                                                    proprietary rights, unless
                                                                                                                                                                                rights. unless
                                                                     you have
                                                                     you have necessary
                                                                              necessary permission
                                                                                        permission or
                                                                                                   or are
                                                                                                      are otherwise  legally entitled
                                                                                                          ot herwise legally entitled to
                                                                                                                                      to post
                                                                                                                                         post the
                                                                                                                                              the material
                                                                                                                                                  material and
                                                                                                                                                           and to
                                                                                                                                                               to grant
                                                                                                                                                                  grant us
                                                                                                                                                                        us the
                                                                                                                                                                           the license
                                                                                                                                                                               license
                                                                     described above.
                                                                     described above.




                                                                     4. Using
                                                                     4. Using the
                                                                              the Services
                                                                                  Services
                                                                     Please
                                                                     Please review our Rules
                                                                            review our       and Policies
                                                                                       Rules and Policies., which
                                                                                                            which are
                                                                                                                  are part
                                                                                                                      part of
                                                                                                                           of the
                                                                                                                              the User
                                                                                                                                  User Agreement
                                                                                                                                       Agreement and
                                                                                                                                                 and outline
                                                                                                                                                     outline cond uct that
                                                                                                                                                             conduct  that is
                                                                                                                                                                           is prohibited
                                                                                                                                                                              prohibited on the
                                                                                                                                                                                         on the
                                                                     Services. You may
                                                                     Services. You may use
                                                                                       use the
                                                                                           the Services
                                                                                               Services only
                                                                                                        only in
                                                                                                             in compliance
                                                                                                                compliance with
                                                                                                                           with these
                                                                                                                                these Terms
                                                                                                                                      Terms and
                                                                                                                                            and all applicable laws,
                                                                                                                                                all applicable laws, rules
                                                                                                                                                                     rules and
                                                                                                                                                                           and regulations.
                                                                                                                                                                               regulations. X
                                                                                                                                                                                            X
                                                                     takes enforcement actions
                                                                     takes enforcement actions when
                                                                                               when Content
                                                                                                    Content or
                                                                                                            or user
                                                                                                               user behavior
                                                                                                                    behavior is
                                                                                                                             is in
                                                                                                                                in violation
                                                                                                                                   violation of
                                                                                                                                             of our Rules and
                                                                                                                                                our Rules and Policies
                                                                                                                                                              Policies or
                                                                                                                                                                       or in
                                                                                                                                                                          in relation to
                                                                                                                                                                             relation to
                                                                     sensitive media. You
                                                                     sensitive media. You can
                                                                                          can review
                                                                                              review X’s
                                                                                                     X's enforcement
                                                                                                         enforcement options
                                                                                                                     options and
                                                                                                                             and how
                                                                                                                                 how you
                                                                                                                                     you can
                                                                                                                                         can appeal
                                                                                                                                             appeal our
                                                                                                                                                    our enfOfcement
                                                                                                                                                        enforcement decision
                                                                                                                                                                    decision here.
                                                                                                                                                                             here .

                                                                     The Services evolve
                                                                     The Services evolve constantly.
                                                                                         constantly. As
                                                                                                     As such,
                                                                                                        such, the
                                                                                                              the Services may change
                                                                                                                  Services may change from
                                                                                                                                      from time
                                                                                                                                           time to
                                                                                                                                                to time.
                                                                                                                                                   time, at
                                                                                                                                                         at our
                                                                                                                                                            our discretion. We may
                                                                                                                                                                discretion. We     stop
                                                                                                                                                                               may stop
                                                                     (permanently or temporarily)
                                                                     (permanently or temporarily) providing
                                                                                                  providing the
                                                                                                            the Services
                                                                                                                Services or
                                                                                                                         or any
                                                                                                                            any features
                                                                                                                                features within the Services
                                                                                                                                         within the Services ttoo you
                                                                                                                                                                  you or
                                                                                                                                                                      or to
                                                                                                                                                                         to users
                                                                                                                                                                            users generally. We
                                                                                                                                                                                  generally. We
                                                                     aalso
                                                                       lso retain
                                                                           retain the
                                                                                  the right
                                                                                      right to
                                                                                            to create
                                                                                               create limits
                                                                                                      limits on
                                                                                                             on use
                                                                                                                ~se and
                                                                                                                    and storage
                                                                                                                        storage at
                                                                                                                                at our sole d
                                                                                                                                   our sole   iscretion at
                                                                                                                                            discretion  at any
                                                                                                                                                           any time.
                                                                                                                                                               time. We may also
                                                                                                                                                                     We may      remove or
                                                                                                                                                                            also remove or refuse
                                                                                                                                                                                           refuse
                                                                     to distribute any
                                                                     to distribute     Content on
                                                                                   any Content on the
                                                                                                  the Services,
                                                                                                      Services. limit
                                                                                                                limit distribution
                                                                                                                      distribution or
                                                                                                                                   or visibility
                                                                                                                                      visibility of any Content
                                                                                                                                                 of any Content on
                                                                                                                                                                on the
                                                                                                                                                                   the service.
                                                                                                                                                                       service, suspend
                                                                                                                                                                                suspend or
                                                                                                                                                                                        or
                                                                     terminate
                                                                     terminate users. and reclaim
                                                                               users, and reclaim usernames
                                                                                                  usemames without  liability to
                                                                                                            without liability to you
                                                                                                                                 you. .

                                                                     In consideration
                                                                     In consideration for
                                                                                      for our
                                                                                          our granting
                                                                                              granting you
                                                                                                       you access to and
                                                                                                           access to and use
                                                                                                                         use ofof the
                                                                                                                                  the Sefvices.
                                                                                                                                      Services, you
                                                                                                                                                you agree
                                                                                                                                                    agree tthat we and
                                                                                                                                                            hat we and our
                                                                                                                                                                       our tthird-party providers
                                                                                                                                                                             hird-party providers
                                                                     and partners
                                                                     and  partners may
                                                                                   may place
                                                                                       place advertising
                                                                                             advertising on
                                                                                                         on the  Services or
                                                                                                             the Services   or inin connection
                                                                                                                                    connection with
                                                                                                                                                 with the
                                                                                                                                                       the display
                                                                                                                                                           display of
                                                                                                                                                                    of Content
                                                                                                                                                                       Content or
                                                                                                                                                                                or information
                                                                                                                                                                                   information from
                                                                                                                                                                                                from the
                                                                                                                                                                                                     the
                                                                     Services whether
                                                                     Services  whether submitted
                                                                                       submitted by
                                                                                                  by you
                                                                                                     you or others. We
                                                                                                         or others.  We also
                                                                                                                         also reserve
                                                                                                                               reserve thethe right
                                                                                                                                              right to
                                                                                                                                                    to access,
                                                                                                                                                        access, read.
                                                                                                                                                                 read, preserve,  and disclose
                                                                                                                                                                        preserve. and  disclose any
                                                                                                                                                                                                 any
                                                                     information as we
                                                                     information as we reasonably
                                                                                       reasonably believe
                                                                                                  believe isis necessary
                                                                                                               necessary to
                                                                                                                         to (i) satisfy any applicable law, regulation, legal process Of
                                                                                                                            (i) satisfy any applicable law, regulation, legal process or

                                                                     governmental request,
                                                                     governmental          (iO enforce
                                                                                  request. (ii) enforce the
                                                                                                        the Terms,
                                                                                                            Terms. including
                                                                                                                   including investigation of potential
                                                                                                                             investigation of potential violations
                                                                                                                                                        violations hereof,
                                                                                                                                                                   hereof, (iiO  detect, prevent.
                                                                                                                                                                           (iii) detect. prevent, or
                                                                                                                                                                                                  or
                                                                     otherwise address fraud,
                                                                     otherwise address fraud, security
                                                                                              security or
                                                                                                       Of technical
                                                                                                          technical issues.
                                                                                                                    issues, (iv)
                                                                                                                            (iv) respond
                                                                                                                                 respond to
                                                                                                                                         to user
                                                                                                                                            user support
                                                                                                                                                 support requests,
                                                                                                                                                         requests, oror (v)
                                                                                                                                                                        (v) protect the rights,
                                                                                                                                                                            protect the rights,
                                                                     property or
                                                                     property or safety
                                                                                 safety of X, its
                                                                                        of X. its users
                                                                                                  users and the public.
                                                                                                        and the public. We
                                                                                                                        We do
                                                                                                                           do not
                                                                                                                              not ddisclose personally-identifying information
                                                                                                                                    isclose personally-identifying              to third
                                                                                                                                                                   informat ion to       parties
                                                                                                                                                                                   third parties
                                                                     except
                                                                     except in accOfdance with
                                                                            in accordance with our
                                                                                               our Privacy
                                                                                                   Privacy Policy
                                                                                                           Policy..




                                                                               Captured by FireShot Pro: 09 February 2024, 15:58:14
                                                                                                   httpsi / /getftreshot.com
                          Case
                           Case1:23-cv-05840-JPB
                                1:23-cv-05840-JPB Document
                                                   Document38-1
                                                            24-3 Filed
                                                                  Filed05/06/24
                                                                        02/20/24 Page
                                                                                  Page42
                                                                                       4 of 8
                                                                                            96
P.:Jgc 3
X Term s of ServtCe
https:/ /twitter.com/en/tos



                                              Certain  seivices or
                                              Certain services   or features
                                                                    features may
                                                                             may be
                                                                                  be offered
                                                                                      offered on
                                                                                               on X
                                                                                                  X for
                                                                                                     for which  additional terms
                                                                                                         which additional   terms and
                                                                                                                                  and conditions
                                                                                                                                       conditions may
                                                                                                                                                   may apply
                                                                                                                                                        apply in
                                                                                                                                                               in connection  with
                                                                                                                                                                  connection with
                                              your  use of
                                              your use  of those
                                                           those services.
                                                                  services. By
                                                                             By using
                                                                                using or
                                                                                       or paying
                                                                                          paying for
                                                                                                  for any
                                                                                                       any of
                                                                                                           of these addit ional seivices,
                                                                                                              these additional  services, you
                                                                                                                                          you agree
                                                                                                                                               agree to
                                                                                                                                                     to any
                                                                                                                                                        any additional  terms
                                                                                                                                                             additional terms
                                              applicable to those
                                              applicable to those services,
                                                                  services. and
                                                                            and those
                                                                                those additional
                                                                                      additional terms
                                                                                                 terms become
                                                                                                       become part
                                                                                                              part of
                                                                                                                   of our
                                                                                                                      our agreement
                                                                                                                          agreement with
                                                                                                                                    with you.
                                                                                                                                         you. If any of the applicable
                                                                                                                                              If any of the applicable
                                              additional terms conflict
                                              additional terms conflict with these Terms,
                                                                        with these Terms, the
                                                                                          the additional
                                                                                              additional terms
                                                                                                         terms wi1l
                                                                                                               will prevail
                                                                                                                    prevail while
                                                                                                                            while you
                                                                                                                                  you are
                                                                                                                                      are using those services
                                                                                                                                          using those services to which
                                                                                                                                                               to which
                                              they apply.
                                              they apply.

                                              If you
                                              If you use paid features
                                                     use paid features ofof the Services, you
                                                                            the Services. you agree
                                                                                              agree to
                                                                                                    to the
                                                                                                       the applicable
                                                                                                           applicable Terms
                                                                                                                      Terms for
                                                                                                                            for Paid Services
                                                                                                                                Paid Services
                                              (https://legal.x.com/purchaser-terrns.html).
                                              ( https://legal.x.com/purchaser-terms.html ).




                                              If you use developer features of the Services. including but not limited to X for Websites
                                              If you use developer features of the Services, including but not limited to X for Websites
                                              (https://developer.x .com/docs/twitter-for-websites), X Cards (https://developer.x .com/docs/twitter-for-
                                              ( https://developer.x.com/docs/twitter-for-websites ), X Cards ( https://developer.x.com/docs/twitter-for-

                                              websites/cards/overview/abouts-cards:.     Public API
                                              websites/cards/overview/abouts-cards ), Public    API {https://developer.x.com/docs),   or Sign in with X
                                                                                                    ( https://developer.x.com/docs ), or Sign in with X

                                              (https://developer.x.com/docs/authentication/guides/log-in-with-twitter),   you agree to our Developer Agreement
                                              ( https://developer.x.com/docs/authentication/guides/log-in-with-twitter ), you agree to our Developer Agreement

                                              (https://developer.x.com/developer-terms/agreement)   and Developer Policy {https://developer.x.com/developer-
                                              ( https://developer.x.com/developer-terms/agreement ) and Developer Policy ( https://developer.x.com/developer-

                                              terms/policy).
                                              terms/policy ). IfIf you
                                                                   you want
                                                                       want to
                                                                            to reproduce,
                                                                               reproduce, modify,
                                                                                          modify, create derivative works,
                                                                                                  create derivative works, distribute,
                                                                                                                           distribute, sell,
                                                                                                                                       sell, transfer,
                                                                                                                                             transfer, publicly
                                                                                                                                                       publicly display,
                                                                                                                                                                display,
                                              publicly
                                              publicly perform. transmit. or
                                                       perform, transmit, or otherwise
                                                                             otherwise use
                                                                                       use the
                                                                                           the Services
                                                                                               Services or
                                                                                                        or Content on tthe
                                                                                                           Content on   he Services.
                                                                                                                           Services, you
                                                                                                                                     you must
                                                                                                                                         must use
                                                                                                                                              use the
                                                                                                                                                  the interfaces
                                                                                                                                                      interfaces and
                                                                                                                                                                 and
                                              instructions we provide,
                                              instructions we provide, except
                                                                       except as
                                                                              as permitted
                                                                                 permitted through the Services,
                                                                                           through the Services, these
                                                                                                                 these Terms.
                                                                                                                       Terms, or
                                                                                                                              or the
                                                                                                                                 the terms
                                                                                                                                     terms provided
                                                                                                                                           provided on
                                                                                                                                                    on
                                              https://developer.x.com/developer-temls.
                                              https://developer.x.com/developer-terms . Otherwise.
                                                                                        Otherwise, all
                                                                                                   all such
                                                                                                       such actions are strictly
                                                                                                            actions are          prohibited. IfIf you
                                                                                                                        strictly prohibited.      you are
                                                                                                                                                      are aa security
                                                                                                                                                             security
                                              researcher. you are
                                              researcher, you are required
                                                                  required to
                                                                           to comply
                                                                              comply with
                                                                                     with the
                                                                                          the rules
                                                                                              rules of
                                                                                                    of our
                                                                                                       our Vulnerability
                                                                                                           Vulnerability Reporting Program (https://hackerone.com/x).
                                                                                                                         Reporting Program ( https://hackerone.com/x ).

                                              The
                                              The requirements set out
                                                  requirements set out in
                                                                       in the
                                                                          the preceding
                                                                              preceding paragraph
                                                                                        paragraph may
                                                                                                  may not
                                                                                                      not apply
                                                                                                          apply to
                                                                                                                to those
                                                                                                                   those participating
                                                                                                                         participating inin our
                                                                                                                                            our Vulnerability
                                                                                                                                                Vulnerability Reporting
                                                                                                                                                              Reporting
                                              Program.
                                              Program.

                                              If you use advertising features of the Seivices, you agree to our Master Services Agreement {https://ads.x.com/terms).
                                              If you use advertising features of the Services, you agree to our Master Services Agreement ( https://ads.x.com/terms ).




                                              Your Account
                                              Your Account

                                               You may
                                              You   may need
                                                        need to
                                                             to create
                                                                create an
                                                                        an account
                                                                            account toto use the Seivices.
                                                                                         use the Services. You
                                                                                                            You are
                                                                                                                are responsible
                                                                                                                    responsible for
                                                                                                                                  for saf
                                                                                                                                      safeguarding  your account.
                                                                                                                                          eguarding your account, so  use aa
                                                                                                                                                                   so use
                                              sstrong password and
                                                trong password  and limit  its use
                                                                     limit its use to
                                                                                   to this account. We
                                                                                      this account. We cannot
                                                                                                         cannot and
                                                                                                                 and will
                                                                                                                     will not be liable
                                                                                                                          not be        for any
                                                                                                                                 liable for any loss
                                                                                                                                                loss or
                                                                                                                                                     or damage
                                                                                                                                                        damage arising
                                                                                                                                                                arising from
                                                                                                                                                                        from
                                              your failure
                                              your failure to
                                                           to comply
                                                              comply with
                                                                     with the
                                                                          the above.
                                                                              above.


                                              You can
                                              You can control
                                                      control most
                                                              most communications from the
                                                                   communications from the Services.
                                                                                           Services. We
                                                                                                     We may
                                                                                                        may need to provid
                                                                                                            need to providee you
                                                                                                                             you with
                                                                                                                                 with certain
                                                                                                                                      certain communications.
                                                                                                                                              communications,
                                              such as
                                              such as service
                                                      service announcements
                                                              announcements and
                                                                            and administrative
                                                                                administrative messages. These communications
                                                                                               messages. These communications are considered part
                                                                                                                              are considered part of
                                                                                                                                                  of the
                                                                                                                                                     the
                                              Services and
                                              Seivices and your
                                                           your account,
                                                                account. and
                                                                         and you
                                                                             you may not be
                                                                                 may not be able
                                                                                            able to opt-out from
                                                                                                 to opt-out from receiving them. IfIf you
                                                                                                                 receiving them.      you added
                                                                                                                                          added your
                                                                                                                                                your phone
                                                                                                                                                     phone number
                                                                                                                                                           number to
                                                                                                                                                                  to
                                              your account
                                              your account and
                                                           and you
                                                               you later
                                                                   later change
                                                                         change or
                                                                                or deactivate that phone
                                                                                   deactivate that phone number.
                                                                                                         number, you
                                                                                                                 you must
                                                                                                                     must update
                                                                                                                          update your
                                                                                                                                 your account
                                                                                                                                      account information
                                                                                                                                              information to
                                                                                                                                                          to help
                                                                                                                                                             help
                                              prevent us
                                              prevent us from
                                                         from communicating
                                                              communicating with
                                                                            w ith anyone who acquires
                                                                                  anyone who acquires your
                                                                                                      your old
                                                                                                           old number.
                                                                                                               number.



                                              Your License
                                              Your         to Use
                                                   License to     the Services
                                                              Use the Services

                                              We give
                                              We        you aa personal,
                                                  g ive you    per6011al. worldwide,
                                                                          worldwide. royalty-free,  non-assignable and
                                                                                      royalty-free. non-assignable and non-exclusive
                                                                                                                        non-exclusive license
                                                                                                                                       license to
                                                                                                                                               to use
                                                                                                                                                  use the
                                                                                                                                                      the software
                                                                                                                                                          software provided
                                                                                                                                                                     provided
                                              to you
                                              to you as
                                                      as part
                                                         part of  the Services.
                                                               of the Services. This
                                                                                This license
                                                                                     license has  the sole
                                                                                             has the  sole purpose
                                                                                                           purpose of
                                                                                                                   of enabling
                                                                                                                      enabling you
                                                                                                                               you to
                                                                                                                                    to use and enjoy
                                                                                                                                       use and  enjoy the
                                                                                                                                                      the benefit
                                                                                                                                                          benefit of
                                                                                                                                                                  of the
                                                                                                                                                                      the
                                              Services as
                                              Services as provided
                                                          provided on
                                                                   on X, in the
                                                                      X. in the manner permitted by
                                                                                mannsr permitted by tthese Terms.
                                                                                                      hese Terms.


                                              The Services
                                              The Services are
                                                           are protected
                                                               protected by
                                                                         by copyright, trademark, and
                                                                            copyright. trademark. and other
                                                                                                      other laws of both
                                                                                                            laws of both tthe United States
                                                                                                                           he United States and
                                                                                                                                            and other
                                                                                                                                                other countries.
                                                                                                                                                      countries.
                                              Nothing in
                                              Nothing   in the
                                                           the Terms
                                                               Terms gives
                                                                      gives you  a right
                                                                             you a right to
                                                                                          t::> use the X
                                                                                               use the  X name
                                                                                                          name or or any
                                                                                                                     any of
                                                                                                                          of the
                                                                                                                              the XX trademarks.
                                                                                                                                     trademarks, logos.
                                                                                                                                                    logos, domain
                                                                                                                                                           domain names,    other
                                                                                                                                                                    names. other
                                              distinctive brand
                                              distinctive  brand features,
                                                                  features. and
                                                                            and other
                                                                                other proprietary      rights. All
                                                                                        proprietary rights.        right, title.
                                                                                                               All right.        and interest
                                                                                                                          title, and  interest in and to
                                                                                                                                               in and  to the
                                                                                                                                                          the Services (excluding
                                                                                                                                                              Services (excluding
                                              Content provided
                                              Content provided by
                                                               by users)
                                                                  users) are and will
                                                                         are and      remain our
                                                                                 will remain our and
                                                                                                 and our
                                                                                                     our licensors'
                                                                                                         licensors' exclusive
                                                                                                                    exclusive property.
                                                                                                                              property. Any
                                                                                                                                        Any ffeedback, comments, or
                                                                                                                                              eedback. comments. or
                                              suggestions you
                                              suggestions you may
                                                              may provide
                                                                  provide regarding  X, or
                                                                          regardinJ; X. or the
                                                                                           the Services
                                                                                               Services is entirely voluntary
                                                                                                        is entirely voluntary and
                                                                                                                              and we
                                                                                                                                  we will be free
                                                                                                                                     will be free to
                                                                                                                                                  to use
                                                                                                                                                     use such
                                                                                                                                                         such feedback,
                                                                                                                                                              feedback.
                                              comments or
                                              comments or suggestions
                                                          suggestions as
                                                                      as we
                                                                         we see
                                                                            see fit and without
                                                                                fit and without any
                                                                                                any obligation
                                                                                                    obligation to
                                                                                                               to you.
                                                                                                                  you.



                                              Misuse of the
                                              Misuse of     Services
                                                        the Services

                                              You  also agree
                                              You also  agree not  to misuse
                                                               not to misuse the
                                                                               the Services,
                                                                                   Services. for
                                                                                              for example.
                                                                                                   example, by
                                                                                                             by interlering
                                                                                                                 interfering with
                                                                                                                             with them
                                                                                                                                   them or
                                                                                                                                         or accessing
                                                                                                                                             accessing them
                                                                                                                                                       them using
                                                                                                                                                             using aa method
                                                                                                                                                                      method
                                              other than the
                                              other than  the interface
                                                              interface and
                                                                        and the
                                                                             the instructions
                                                                                 instructions that
                                                                                                that we
                                                                                                     we provide.
                                                                                                         provide. You
                                                                                                                   You agree
                                                                                                                        agree that
                                                                                                                               that you
                                                                                                                                     you will not work
                                                                                                                                         will not work around  any technical
                                                                                                                                                       around any   technical
                                              limitations
                                              limitations inin the
                                                               the software
                                                                   software provided
                                                                             provided ttoo you
                                                                                           you asas part
                                                                                                    part of
                                                                                                         of the
                                                                                                            the Services.
                                                                                                                 Services, or
                                                                                                                            or reverse
                                                                                                                               reverse engineer.
                                                                                                                                       engineer, decompile
                                                                                                                                                 decompile oorr disassemble
                                                                                                                                                                disassemble thethe
                                              software,
                                              software, except
                                                         except andand only
                                                                        only to
                                                                             to the
                                                                                the extent
                                                                                    extent that
                                                                                             that applicable
                                                                                                   applicable law
                                                                                                               law expressly
                                                                                                                    expressly permits.
                                                                                                                               permits. You
                                                                                                                                        You may
                                                                                                                                             may not
                                                                                                                                                 not do any of
                                                                                                                                                     do any  of the  following while
                                                                                                                                                                 the following  while
                                              accessing or using
                                              accessing or using the Seivices: (i)
                                                                 the Services:     access. tamper
                                                                               (0 access,  tamper with.
                                                                                                  with, or
                                                                                                        or use
                                                                                                           use non-public
                                                                                                               non-public areas
                                                                                                                          areas of
                                                                                                                                of the Services, our
                                                                                                                                   the Services, our computer
                                                                                                                                                     computer systems.
                                                                                                                                                              systems,
                                              or the
                                              or the technical
                                                     technical delivery
                                                               delivery systems of our
                                                                        systems of     providers; M
                                                                                   our providers;      probe, scan,
                                                                                                  (ii) probe,       or test
                                                                                                              scan, or test the
                                                                                                                            the vulnerability
                                                                                                                                vulnerability of
                                                                                                                                              of any
                                                                                                                                                 any system
                                                                                                                                                     system or
                                                                                                                                                            or network or
                                                                                                                                                               network or
                                              breach or
                                              breach or circumvent
                                                        circumvent any
                                                                   any security
                                                                       security or
                                                                                or authentication measures; 0ii)
                                                                                   authentication measures:       access or
                                                                                                            (iii) access or search
                                                                                                                            search or
                                                                                                                                   or attempt
                                                                                                                                      attempt to
                                                                                                                                              to access
                                                                                                                                                 access or
                                                                                                                                                        or search
                                                                                                                                                           search the
                                                                                                                                                                  the
                                              Services by
                                              Services by any
                                                          any means
                                                              means (automated or otherwise)
                                                                    (automated or otherwise) other than through
                                                                                             other than through our
                                                                                                                our currently
                                                                                                                    currently available,
                                                                                                                              available, published interfaces tthat
                                                                                                                                         published interfaces   hat are
                                                                                                                                                                    are
                                              provided by
                                              provided by us
                                                          us (and
                                                             (and only
                                                                  only pursuant
                                                                       pursuant to
                                                                                to the applicable terms
                                                                                   the applicable terms and
                                                                                                        and conditions).
                                                                                                            conditions), unless
                                                                                                                         unless you
                                                                                                                                you have
                                                                                                                                    have been specifically allowed
                                                                                                                                         been specifically allowed to
                                                                                                                                                                   to
                                              do so
                                              do     In aa separate
                                                  so in    separate agreement
                                                                    agreement withwith us
                                                                                       us (NOTE:   crawling or
                                                                                          (NOTE: crawling    or scraping
                                                                                                                scraping the
                                                                                                                          the Services
                                                                                                                              Services inin any
                                                                                                                                             any form.
                                                                                                                                                  form, for
                                                                                                                                                         for any
                                                                                                                                                              any purpose
                                                                                                                                                                  purpose without
                                                                                                                                                                           without our
                                                                                                                                                                                    our
                                              prior written
                                              prior written consent
                                                             consent isis expressly
                                                                          expressly prohibited);
                                                                                    prohibited): (iv) forge any
                                                                                                 (iv) forge any TCP/IP
                                                                                                                 TCP/IP packet   header or
                                                                                                                         packet header     or any
                                                                                                                                               any part
                                                                                                                                                    part of
                                                                                                                                                         of the
                                                                                                                                                             the header
                                                                                                                                                                 header information
                                                                                                                                                                         information
                                              in any
                                              in  any email
                                                      email oror posting,
                                                                 posting. or in any
                                                                          or in any way
                                                                                     way use    the Seivices
                                                                                           use the   Services to
                                                                                                               to send
                                                                                                                  send altered.
                                                                                                                       altered, deceptive
                                                                                                                                deceptive or
                                                                                                                                           or false
                                                                                                                                               false source-identifying
                                                                                                                                                     source-identifying informat
                                                                                                                                                                        information;
                                                                                                                                                                                   ion;
                                              (v) engage in
                                              (v) engage    in any  conduct that
                                                               any conduct   that violates
                                                                                  violates our
                                                                                            ::>ur Platform
                                                                                                  Platform Manipulation
                                                                                                            Manipulation and
                                                                                                                          and Spam    Policy or
                                                                                                                               Spam Policy   or any
                                                                                                                                                 any other
                                                                                                                                                      other Rules
                                                                                                                                                            Rules and  Policies;; or
                                                                                                                                                                  and Policies    or
                                              (vi) interfere with,
                                              (vi) interfere with. or
                                                                   or disrupt,
                                                                      d isrupt. (or
                                                                                (or attempt to do
                                                                                    attempt to do so).
                                                                                                  so), the
                                                                                                       the access
                                                                                                           access of
                                                                                                                  of any user, host
                                                                                                                     any user. host or
                                                                                                                                    or network.
                                                                                                                                       network, including.
                                                                                                                                                including, without limitation,
                                                                                                                                                           without limitation,
                                              sending
                                              sending aa virus,
                                                         virus. overloading,
                                                                overloading, flooding,
                                                                             flooding. spamming,
                                                                                       spamming, mail-bombing
                                                                                                 mail-bombing the
                                                                                                              the Services,
                                                                                                                  Services, or
                                                                                                                            or by
                                                                                                                               by scripting
                                                                                                                                  scripting the
                                                                                                                                            the creat ion of
                                                                                                                                                creation  of Content
                                                                                                                                                             Content inin
                                              such aa manner
                                              such    manner as
                                                             as to
                                                                to interfere
                                                                   interfere with
                                                                             with or
                                                                                  or create an undue
                                                                                     create an undue burden
                                                                                                     burden on
                                                                                                            on the
                                                                                                               the Services.
                                                                                                                   Services. ItIt isis also
                                                                                                                                       also aa violation
                                                                                                                                               violation of
                                                                                                                                                         of these
                                                                                                                                                            these Terms
                                                                                                                                                                  Terms to
                                                                                                                                                                        to
                                              facilitate
                                              facilitate oror assist
                                                              assist others
                                                                     others in
                                                                            in violating
                                                                               violating these
                                                                                         these Terms,
                                                                                               Terms, including
                                                                                                      including by
                                                                                                                by ddistributing
                                                                                                                      istributing products
                                                                                                                                  products or
                                                                                                                                           or services
                                                                                                                                              services that enable or
                                                                                                                                                       that enable or encourage
                                                                                                                                                                      encourage
                                              violation of these
                                              violation of these Terms.
                                                                 Terms.




                                              Ending
                                              Ending These
                                                     These Terms
                                                           Terms

                                              You may
                                              You may end your legal
                                                      end your legal agreement
                                                                     agreement with us at
                                                                               with us at any
                                                                                          any lime
                                                                                              time by deactivating your
                                                                                                   by deactivating your accounts
                                                                                                                        accounts and
                                                                                                                                 and discontinuing
                                                                                                                                     discontinuing your use of
                                                                                                                                                   your use of the
                                                                                                                                                               the
                                              Services. See https://help.x.com/managing-your-account/how-to-deactivate-x-account
                                              Services. See https://help.x.com/managing-your-account/how-to-deactivate-x-account for instructions on
                                                                                                                                 for instructions on how
                                                                                                                                                     how to
                                                                                                                                                         to
                                              deactivate your
                                              deactivate your account
                                                              account and
                                                                      and the
                                                                          the Privacy
                                                                              Privacy Policy for more
                                                                                      Policy for more information
                                                                                                      information on
                                                                                                                  on what
                                                                                                                     what happens
                                                                                                                          happens to
                                                                                                                                  to your
                                                                                                                                     your information.
                                                                                                                                          information.


                                              We may
                                              We may suspend
                                                     suspend or terminate your
                                                             or terminate your account or cease
                                                                               acoount or cease providing
                                                                                                providing you
                                                                                                          you with
                                                                                                              with all or ppart
                                                                                                                   all or        of the
                                                                                                                             art of the Services
                                                                                                                                        Services at
                                                                                                                                                 at any
                                                                                                                                                    any time
                                                                                                                                                        time if
                                                                                                                                                             if we
                                                                                                                                                                we
                                              reasonably believe:
                                              reasonably          (i) you
                                                         believe: (i) you have
                                                                          have violated these Terms
                                                                               violated these Terms or
                                                                                                    or our
                                                                                                       our Rules
                                                                                                           Rules and Policies., 00
                                                                                                                 and Policies        you create
                                                                                                                                (ii) you create risk
                                                                                                                                                risk or
                                                                                                                                                     or possible
                                                                                                                                                        possible legal
                                                                                                                                                                 legal
                                              exposure for
                                              exposure for us; (ii0 your
                                                           us: (iii) your account
                                                                          account should be removed
                                                                                  shoukj be removed due
                                                                                                    due to
                                                                                                        to unlawful
                                                                                                           unlawful conduct;
                                                                                                                    conduct; (iv) your account
                                                                                                                             0v) your          should be
                                                                                                                                       account should be removed
                                                                                                                                                         removed due
                                                                                                                                                                 due
                                              to prolonged
                                              to prolonged inactivity;
                                                           inactivity: or (v) our
                                                                       or (v) our provision  of tthe
                                                                                  prov is on of      Services to
                                                                                                  he Services to you
                                                                                                                 you isis no
                                                                                                                          no longe
                                                                                                                             longer r commercially
                                                                                                                                      commercially viable.
                                                                                                                                                   viable. We
                                                                                                                                                           We will
                                                                                                                                                              will make
                                                                                                                                                                   make
                                              reasonable efforts
                                              reasonable efforts to
                                                                 to notify
                                                                    notify you
                                                                           you by the email
                                                                               by the       address associated
                                                                                      email address associated with
                                                                                                               with your
                                                                                                                    your account
                                                                                                                         account or
                                                                                                                                 or the
                                                                                                                                    the next
                                                                                                                                        next time you attempt
                                                                                                                                             time you attempt to
                                                                                                                                                              to
                                              access your
                                              access your account,
                                                          account. depending
                                                                   d epending on
                                                                              on the circumstances. To
                                                                                 the circumstances. To the
                                                                                                       the extent
                                                                                                           extent permitted by law.
                                                                                                                  permitted by law, we
                                                                                                                                    we may
                                                                                                                                       may aalso  terminate your
                                                                                                                                              lso terminate your
                                              account or
                                              account or cease
                                                         cease providing
                                                               providing you
                                                                         you with
                                                                             with all or part
                                                                                  all or      of the
                                                                                         part of the Services for any
                                                                                                     Services for any ot
                                                                                                                      other  reason or
                                                                                                                         her reason or no reason at
                                                                                                                                       no reason at our
                                                                                                                                                    our convenience.
                                                                                                                                                        convenience. InIn
                                              all such cases,
                                              all such cases. the Terms shall
                                                              the Terms shall terminate, including, without
                                                                              terminate. including. without limitation, your license
                                                                                                            limitation. your         to use
                                                                                                                             license to use the
                                                                                                                                            the Services.
                                                                                                                                                Services, except
                                                                                                                                                          except that the
                                                                                                                                                                 that the
                                              following  sections shall
                                              following sections  shall continue
                                                                        continue to  apply: 2,
                                                                                  to apply:  2, 3,
                                                                                                3, 5,
                                                                                                   5, 6,
                                                                                                      6, and
                                                                                                         and the
                                                                                                             the misuse     provisions of
                                                                                                                    misuse provisions  of Section
                                                                                                                                          Section 44 (uMisuse
                                                                                                                                                     (“Misuse of  the Services").
                                                                                                                                                               of the  Services”). lfIf
                                              you believe
                                              you  believe your
                                                           your account
                                                                 account was
                                                                          was tterminated
                                                                                erminated in   error you
                                                                                            in error  you can
                                                                                                          can ffile  an appeal
                                                                                                                ile an  appeal following
                                                                                                                               following the
                                                                                                                                          the steps
                                                                                                                                              steps found
                                                                                                                                                     found in our Help
                                                                                                                                                           in our  Help Center
                                                                                                                                                                         Center
                                              (https://help.x.com/forms/account- access/appeals). For the avoidance of doubt, t hese Terms survive the deactivation or
                                              ( https://help.x.com/forms/account-access/appeals ). For the avoidance of doubt, these Terms survive the deactivation or

                                              ttermination
                                                erm ination of
                                                            of your
                                                               your account.
                                                                    account.




                                              5. Disclaimers
                                              5. Disclaimers and
                                                             and Limitations
                                                                 Limitations of
                                                                             of
                                              Liability
                                              Liability

                                              The Services
                                              The Services are
                                                           are Available
                                                               Available "AS-IS"
                                                                         "AS-IS"

                                                      Ca pt ured by FireShot Pro: 09 February 2024, 15 :58:14
                                                                           httpsi / /getftreshot.com
                          Case
                           Case1:23-cv-05840-JPB
                                1:23-cv-05840-JPB Document
                                                   Document38-1
                                                            24-3 Filed
                                                                  Filed05/06/24
                                                                        02/20/24 Page
                                                                                  Page43
                                                                                       5 of 8
                                                                                            96
P.:Jgc 4
X Terms of ServtCe
https:/ /twitter.com/en/tos




                                                                    Your access
                                                                    Your access to
                                                                                to and
                                                                                   and use
                                                                                       use of
                                                                                           o f tthe
                                                                                                 he Services or any
                                                                                                    Services or any Content
                                                                                                                    Content are
                                                                                                                            are at
                                                                                                                                at your
                                                                                                                                   your own
                                                                                                                                        own risk. You understand
                                                                                                                                            risk. You understand and
                                                                                                                                                                 and agree
                                                                                                                                                                     agree tthat
                                                                                                                                                                             hat the  Services
                                                                                                                                                                                 t he Services
                                                                    aare
                                                                       re provided
                                                                          provided to
                                                                                   to you
                                                                                      you on
                                                                                          on an
                                                                                             an “AS
                                                                                                MAS IS”
                                                                                                    IS" and
                                                                                                        and “AS   AVAILABLE” basis.
                                                                                                            ';A S AVAILABLE"        The MX
                                                                                                                             basis. The “X Entities"
                                                                                                                                           Entities” refers
                                                                                                                                                     refers to
                                                                                                                                                            to X
                                                                                                                                                               X Corp
                                                                                                                                                                 Corp.,.. its parents,s. affiliates,
                                                                                                                                                                          its parent     affiliates.
                                                                    related companies,
                                                                    related companies. officers,
                                                                                       officers. directors,
                                                                                                 directors. employees, agents, representatives,
                                                                                                            employees. agents. representatives, partners,
                                                                                                                                                partners, and licensors. Without
                                                                                                                                                          and licensors.           limiting
                                                                                                                                                                         W it hout lim it ing the
                                                                                                                                                                                              t he
                                                                    fforegoing,
                                                                      oregoing, to
                                                                                to the
                                                                                   t he maximum
                                                                                        maximum extent
                                                                                                extent permitted under applicable
                                                                                                       permitted undeJ applicable law.
                                                                                                                                  law, THE
                                                                                                                                       THE XX ENTITIES
                                                                                                                                              ENTITIES DISCLAIM
                                                                                                                                                       DISCLAIM AALL WARRANTIES AND
                                                                                                                                                                  LL WARRANTIES AND
                                                                    CONDITIONS, WHETHER
                                                                    CONDITIONS. WHETHER EXPRESS
                                                                                        EXPRESS OR
                                                                                                OR IMPLIED, OF MERCHANTABILITY.
                                                                                                   IMPLIED, OF MERCHANTABILITY, FITNESS
                                                                                                                                FITNESS FOR A PARTICULAR
                                                                                                                                        FOR A            PURPOSE,
                                                                                                                                              PARTICULAR PURPOSE.
                                                                    OR NON-INFRINGEMENT.
                                                                    OR NON-INFRINGEMENT. The
                                                                                         The XX Entities  make
                                                                                                Entit ies m ake no warranty or
                                                                                                                no warranty or representation and ddisclaim
                                                                                                                               representation and   isclaim all responsibility and
                                                                                                                                                            all responsibility and liability
                                                                                                                                                                                   liability
                                                                    ffor: (i) the
                                                                      or: (i) the completeness,
                                                                                  completeness. accuracy, availability, ttimeliness,
                                                                                                accuracy. availability,              security oorr reliability
                                                                                                                          imeliness. security      reliability of
                                                                                                                                                               of the
                                                                                                                                                                  the Services
                                                                                                                                                                      Services or
                                                                                                                                                                               or any Content; (ii)
                                                                                                                                                                                  any Content:      any
                                                                                                                                                                                               (ii) any

                                                                    harm to
                                                                    harm     your computer
                                                                         t o your computer system,
                                                                                           system. loss
                                                                                                   loss of data, or
                                                                                                        of data, or other
                                                                                                                    other harm that results
                                                                                                                          harm that         from your
                                                                                                                                    results from your access
                                                                                                                                                      access to
                                                                                                                                                             to oorr use of the
                                                                                                                                                                     use of the Services
                                                                                                                                                                                Services or
                                                                                                                                                                                         or any
                                                                                                                                                                                            any
                                                                    Content; (iii)
                                                                    Content:       the deletion
                                                                             (iiij the delet ion of,
                                                                                                 of. or
                                                                                                     or the
                                                                                                        the failure
                                                                                                            failure ttoo store
                                                                                                                         store or
                                                                                                                               or to
                                                                                                                                  to transmit, any Content
                                                                                                                                     transmit. any Content and
                                                                                                                                                           and ot
                                                                                                                                                               other  communications
                                                                                                                                                                  her commun           maintained
                                                                                                                                                                              ications m aintained by
                                                                                                                                                                                                   by
                                                                    tthe
                                                                      he Services;
                                                                         Services; and (iv) whether
                                                                                   and (iv) whether tthe
                                                                                                      he Services will m
                                                                                                         Services will meet  your requirements
                                                                                                                         eet your requirements or
                                                                                                                                               or be
                                                                                                                                                  be available
                                                                                                                                                     available on
                                                                                                                                                               on an
                                                                                                                                                                  an uninterrupted, secure, or
                                                                                                                                                                     uninterrupted, secure, or
                                                                    eerror-free  basis. No
                                                                      rror-f ree basis. No advice
                                                                                           advice or
                                                                                                  or information,  whether oral
                                                                                                     inf ormation. whether oral or
                                                                                                                                or w
                                                                                                                                   written,  obtained ffrom
                                                                                                                                     ritten. obtained   rom the X Ent
                                                                                                                                                            the X Entities
                                                                                                                                                                      ities or through the
                                                                                                                                                                            or through     Services,
                                                                                                                                                                                       the Services,
                                                                    will create
                                                                    will create any
                                                                                any warranty
                                                                                    warranty or
                                                                                             or representation not expressly
                                                                                                representation not expressly made
                                                                                                                             made herein
                                                                                                                                  herein. .



                                                                    Limitation
                                                                    Limitation of
                                                                               of Liability
                                                                                  Liability

                                                                    TO THE
                                                                    TO     MAXIMUM EXTENT
                                                                       THE MAXIMUM EXTENT PERMITTED BY APPLICABL
                                                                                          PERMITTED BY APPLICABLEE LAW,
                                                                                                                   LAW, THE
                                                                                                                        THE X
                                                                                                                            X ENTITIES SHALL NOT
                                                                                                                              ENTITIES SHALL     BE LIABLE
                                                                                                                                             NOT BE LIABLE FOR
                                                                                                                                                           FOR ANY
                                                                                                                                                               ANY
                                                                    INDIRECT, INCIDENTAL,
                                                                    INDIRECT. INCIDENTAL. SPECIAL,
                                                                                          SPECIAL. CONSEQUENTIAL  OR PUNITIVE
                                                                                                   CO\ISEOUENTIAL OR          DAMAGES, OR
                                                                                                                     PUNITIVE DAMAGES. OR ANY
                                                                                                                                          ANY LOSS
                                                                                                                                              LOSS OF
                                                                                                                                                   OF PROFITS OR
                                                                                                                                                      PROFITS OR
                                                                    REVENUES, WHETHER
                                                                    REVENUES.         INCURRED DIRECTLY
                                                                              WHETHER INCURRED          OR INDIRECTLY.
                                                                                               DIRECTLY OR INDIRECTLY, OR
                                                                                                                       OR ANY
                                                                                                                          ANY LOSS
                                                                                                                              LOSS OF
                                                                                                                                   OF DATA, USE, GOODWILL.
                                                                                                                                      DATA, USE. GOODWILL, OR
                                                                                                                                                           OR
                                                                    OTHER INTANGIBLE
                                                                    OTHER INTANGIBLE LOSSES,
                                                                                     LOSSES. RESULTING FROM (ij
                                                                                             RESULTING FROM     YOUR ACCESS
                                                                                                            (i) YOUR ACCESS TO
                                                                                                                            TO OR
                                                                                                                               OR USE OF OR
                                                                                                                                  USE OF OR INABILITY TO ACCESS
                                                                                                                                            INABILITY TO ACCESS OR
                                                                                                                                                                OR
                                                                    USE TTHE
                                                                    USE   HE SERVICES;      ANY CONDUCT
                                                                                       (ii) ANY
                                                                             SERVICES; (ii)             OR CONTENT
                                                                                                CONDUCT OR CONTENT OF
                                                                                                                   OF ANY
                                                                                                                      ANY THIRD
                                                                                                                          THIRD PARTY ON THE
                                                                                                                                PARTY ON THE SERVICES.
                                                                                                                                             SERVICES, INCLUDING
                                                                                                                                                       INCLUDING
                                                                    WITHOUT LIMITATION,
                                                                    WITHOUT LIMITATION. ANY
                                                                                        ANY DEFAMATORY, OFFENSIVE OR
                                                                                            DEFAMATORY. OFFENSIVE OR ILLEGAL CONDUCT OF
                                                                                                                     ILLEGAL CONDUCT OF OTHER
                                                                                                                                        OTHER USERS
                                                                                                                                              USERS OR
                                                                                                                                                    OR THIRD
                                                                                                                                                       THIRD
                                                                    PARTIES; (iii)
                                                                    PARTIES: Qii) ANY
                                                                                   ANY CONTENT
                                                                                       CONTENT OBTAINED
                                                                                               OBTAINED FROM THE SERVICES:
                                                                                                        FROM THE SERVICES; OR
                                                                                                                           OR (iv) UNAUTHORIZED ACCESS,
                                                                                                                              (iv) UNAUTHORIZED ACCESS, USE
                                                                                                                                                        USE OR
                                                                                                                                                            OR
                                                                    ALTERATION OF
                                                                    ALTERATION OF YOUR
                                                                                  YOUR TRANSMISSIONS OR CONTENT.
                                                                                       TRANSMISSIONS OR CONTENT. IN
                                                                                                                 IN NO
                                                                                                                    NO EVENT SHALL TTHE
                                                                                                                       EVENT SHALL      AGGREGATE LIABILITY
                                                                                                                                     HE AGGREGATE           OF THE
                                                                                                                                                  LIABILITY OF THE XX
                                                                    ENTITIES
                                                                    ENT ITIES EXCEED
                                                                              EXCEED THE
                                                                                     THE GREATER
                                                                                         GREATER OF
                                                                                                 OF ONE HUNDRED U.S.
                                                                                                    ONE HUNDRED       DOLLARS (U.S
                                                                                                                U.S . DOLLARS (U.S. . $100.00)
                                                                                                                                      $100.00) OR
                                                                                                                                               OR THE
                                                                                                                                                  THE AMOUNT
                                                                                                                                                      AMOUNT YOU PAIDID US,
                                                                                                                                                             YOU PA     US.
                                                                    IF ANY,
                                                                    IF      IN THE
                                                                       ANY. IN THE PAST
                                                                                   PAST SIX
                                                                                        SIX MONTHS
                                                                                            MONTHS FOR THE SERVICES
                                                                                                   FOR THE          GIVING RISE
                                                                                                           SERVICES GIVING RISE TO
                                                                                                                                TO THE
                                                                                                                                   THE CLAIM.
                                                                                                                                       CLAIM. THE
                                                                                                                                              THE LIMITATIONS
                                                                                                                                                  LIMITATIONS OF
                                                                                                                                                              OF THIS
                                                                                                                                                                 THIS
                                                                    SUBSECTION SHALL
                                                                    SUBSECTION SHALL APPLY
                                                                                     APPLY TO
                                                                                           TO ANY THEORY
                                                                                              ANY-H      OF LIABILITY,
                                                                                                    EORY OF            WHETHER BASED
                                                                                                            LIABILITY. WHETHER BASED ON
                                                                                                                                     ON WARRANTY.
                                                                                                                                        WARRANTY, CONTRACT.
                                                                                                                                                  CONTRACT,
                                                                    STATUTE, TORT
                                                                    STATUTE, TORT (INCLUDING
                                                                                  (INCLUDING NEGLIGENCE) OR OTI--lERWISE.
                                                                                             NEGLIGENCE) OR OTHERWISE, ANDAND WHETHER
                                                                                                                              WHETHER OR
                                                                                                                                      OR NOT THE XX ENTITIES
                                                                                                                                         NOT THE    ENTITIES HAVE
                                                                                                                                                             HAVE BEEN
                                                                                                                                                                  BEEN
                                                                    INFORMED OF
                                                                    INFORMED OF THE
                                                                                THE POSSIBILITY OF ANY
                                                                                    POSSIBILITY OF     SUCH DAMAGE,
                                                                                                   ANY SUCH         AND EVEN
                                                                                                            DAMAGE. AND EVEN IFIF A
                                                                                                                                  A REMEDY
                                                                                                                                    REMEDY SET
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                                                                    TO HAVE
                                                                    TO      FAILED OF
                                                                       HAVE FAILED    ITS ESSENTIAL
                                                                                   OF ITS ESSENTIAL PURPOSE.
                                                                                                    PURPOSE.




                                                                    6. General
                                                                    6. General
                                                                    We may revise
                                                                    We may revise these Terms ffrom
                                                                                  these Terms   rom time to ttime.
                                                                                                    time to   im e. The
                                                                                                                    The changes
                                                                                                                        changes will
                                                                                                                                will not
                                                                                                                                     not be
                                                                                                                                         be retroactive.
                                                                                                                                            retroactive, and
                                                                                                                                                         and the
                                                                                                                                                             the most
                                                                                                                                                                 most current
                                                                                                                                                                      current version
                                                                                                                                                                              version of the
                                                                                                                                                                                      of the
                                                                    TeJms. which will
                                                                    Terms, which will always
                                                                                      always be
                                                                                             be at
                                                                                                at x.com/tos
                                                                                                   x.com/tos., w
                                                                                                               willill govern
                                                                                                                       govern our relationship w
                                                                                                                              our relationship   ith you.
                                                                                                                                               with  you. We
                                                                                                                                                          We will
                                                                                                                                                             will try
                                                                                                                                                                  try to
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                                                                                                                                                                         notify you
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                                                                    revisions. for example
                                                                    revisions, for example via
                                                                                            via aa service
                                                                                                   service notification
                                                                                                            notification or
                                                                                                                         or an
                                                                                                                            an email  to the
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                                                                                                                                              email associated
                                                                                                                                                    associated with
                                                                                                                                                                with your
                                                                                                                                                                     your account.
                                                                                                                                                                          account. By
                                                                                                                                                                                    By continuing to
                                                                                                                                                                                       continuing to
                                                                    access
                                                                    access oror use the Services
                                                                                use the Services after
                                                                                                   after those
                                                                                                         those revisions
                                                                                                               revisions become
                                                                                                                           become effective.
                                                                                                                                    effective, you
                                                                                                                                                you agree
                                                                                                                                                    agree to be bound
                                                                                                                                                          to be         by the
                                                                                                                                                                 bound by  the revised
                                                                                                                                                                               revised Terms. To the
                                                                                                                                                                                       Terms. To the
                                                                    extent
                                                                    extent permitted by law,
                                                                           permitted by law, you
                                                                                             you also
                                                                                                 also waive
                                                                                                      waive the right to
                                                                                                            the right    participate as
                                                                                                                      to participate as aa plaintiff
                                                                                                                                           plaint iff or
                                                                                                                                                      or cclass
                                                                                                                                                            lass member
                                                                                                                                                                 member in
                                                                                                                                                                        in any
                                                                                                                                                                           any purported
                                                                                                                                                                               purported class
                                                                                                                                                                                         class
                                                                    action. collective action
                                                                    action, collective action or
                                                                                              or representative
                                                                                                 representative action proceeding.
                                                                                                                action proceeding.

                                                                    The
                                                                    The laws o f the
                                                                        laws of  the State
                                                                                     Stat e of
                                                                                            of California,
                                                                                               California. excluding
                                                                                                           exclJd ing its
                                                                                                                      its cho ice of
                                                                                                                          choice     law provisions.
                                                                                                                                  of law provisions, will
                                                                                                                                                     will govern
                                                                                                                                                          govern these
                                                                                                                                                                 these Terms
                                                                                                                                                                       Terms and
                                                                                                                                                                             and any
                                                                                                                                                                                 any dispute
                                                                                                                                                                                     dispute that
                                                                                                                                                                                             that
                                                                    aarises
                                                                      rises between
                                                                            between you and us.
                                                                                    you and us. All
                                                                                                All disputes
                                                                                                    disputes related
                                                                                                             related to these Terms
                                                                                                                     to these Terms or the Services
                                                                                                                                    or the Services will
                                                                                                                                                    will be brought solely
                                                                                                                                                         be brought solely in the federal
                                                                                                                                                                           in the federal or
                                                                                                                                                                                          or
                                                                    sstate
                                                                      tate courts
                                                                           courts located
                                                                                  located in
                                                                                          in San
                                                                                             San Francisco
                                                                                                 Francisco County,
                                                                                                           County. California.
                                                                                                                   California, United States. and
                                                                                                                               United States, and you
                                                                                                                                                  you consent
                                                                                                                                                      consent to personal jurisdiction
                                                                                                                                                              to personal jurisdiction and
                                                                                                                                                                                       and
                                                                    waive any objection
                                                                    waive any objection as
                                                                                        as to
                                                                                           to inconvenient
                                                                                              inconvenient forum.
                                                                                                           forum. To
                                                                                                                  To the
                                                                                                                     the extent permitted by
                                                                                                                         extent permitted by law.
                                                                                                                                             law, you
                                                                                                                                                  you aalso
                                                                                                                                                         lso waive
                                                                                                                                                             waive the
                                                                                                                                                                   the right
                                                                                                                                                                       right to
                                                                                                                                                                             to participate
                                                                                                                                                                                participate as
                                                                                                                                                                                            as aa
                                                                    plaintiff or class
                                                                    plaintiff or class member
                                                                                       member in
                                                                                              in any
                                                                                                 any purported
                                                                                                     p urported class
                                                                                                                class action.
                                                                                                                      action, collective action or
                                                                                                                              collective action or representative
                                                                                                                                                   represent ative action
                                                                                                                                                                   action proceeding.
                                                                                                                                                                          proceeding.

                                                                    If you are a federal. state. or local government entity in t he United States using the Servic es in your official capacity and
                                                                    If you are a federal, state, or local government entity in the United States using the Services in your official capacity and
                                                                    legally
                                                                    legally unable to accept
                                                                            unable to accept the
                                                                                             the controlling
                                                                                                 controlling law.
                                                                                                             law, jurisdic t io n or
                                                                                                                  jurisdiction    or venue
                                                                                                                                     venue cla uses above.
                                                                                                                                           clauses  above, then
                                                                                                                                                           then those clauses do
                                                                                                                                                                those clauses do not
                                                                                                                                                                                 not apply to you.
                                                                                                                                                                                     apply to you.
                                                                    For such U.S.
                                                                    For such      federal government
                                                                             U.S. federal government entities,
                                                                                                     ent iti:1s. these
                                                                                                                 these Terms
                                                                                                                       Terms and
                                                                                                                             and any
                                                                                                                                 any action related tthereto
                                                                                                                                     action related   hereto will
                                                                                                                                                             will be
                                                                                                                                                                  be governed
                                                                                                                                                                     governed by the laws
                                                                                                                                                                              by the laws ofof
                                                                    the United States
                                                                    the United States of
                                                                                      of America (without reference
                                                                                         America (without reference to conflict of
                                                                                                                    to conflict    laws) and.
                                                                                                                                of laws) and, in
                                                                                                                                              in tthe
                                                                                                                                                   he absence
                                                                                                                                                      absence of
                                                                                                                                                              of federal law and
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                                                                                                                                                                             and to the extent
                                                                                                                                                                                        extent
                                                                    permitted under federal
                                                                    permitted under federal law,
                                                                                            law, the
                                                                                                 the laws
                                                                                                     laws of
                                                                                                          of the
                                                                                                             the State
                                                                                                                 State of
                                                                                                                       of California
                                                                                                                          California (excluding
                                                                                                                                     (excluding choice
                                                                                                                                                choice ofof law).
                                                                                                                                                            law).

                                                                    The
                                                                    The X  User Agreement
                                                                        X User  Agreement isis written
                                                                                                written inin English
                                                                                                             English but
                                                                                                                     but is
                                                                                                                          is made
                                                                                                                             made available
                                                                                                                                    available in
                                                                                                                                               in multiple
                                                                                                                                                  multiple languages
                                                                                                                                                           languages through
                                                                                                                                                                     through translations.
                                                                                                                                                                              translations. XX strives to
                                                                                                                                                                                               strives to
                                                                    make  the translations
                                                                    make the  translat ions as
                                                                                            as accurate
                                                                                               accurate as  as possible
                                                                                                               possib le to
                                                                                                                         to the
                                                                                                                            the original
                                                                                                                                original English
                                                                                                                                          English version.
                                                                                                                                                   version. However.
                                                                                                                                                            However, in
                                                                                                                                                                     in case
                                                                                                                                                                        case of
                                                                                                                                                                             of any
                                                                                                                                                                                any ddiscrepancies
                                                                                                                                                                                       iscrepancies oror
                                                                    inconsistencies. the English
                                                                    inconsistencies, the English language
                                                                                                 language version
                                                                                                          version of
                                                                                                                  of tthe
                                                                                                                       he X User Agreement
                                                                                                                          X User Agreement shall
                                                                                                                                           shall take
                                                                                                                                                 take precedence.
                                                                                                                                                      precedence. You
                                                                                                                                                                  You acknowledge t hat
                                                                                                                                                                      acknowledge that
                                                                    English shall be
                                                                    English shall    the language
                                                                                  be the la nguage of
                                                                                                   of reference
                                                                                                      reference for
                                                                                                                for interpreting
                                                                                                                    interpreting and
                                                                                                                                 and constructing
                                                                                                                                     constructing the
                                                                                                                                                  the terms
                                                                                                                                                      terms of
                                                                                                                                                            of tthe
                                                                                                                                                                 he X
                                                                                                                                                                    X UseJ
                                                                                                                                                                      User Agreement.
                                                                                                                                                                           Agreement.

                                                                    In the
                                                                    In the event
                                                                           event that
                                                                                 that any
                                                                                      any provision
                                                                                          p rovision of
                                                                                                     of tthese Terms is
                                                                                                          hese Terms    held toto be
                                                                                                                     is held         invalid or
                                                                                                                                  be invalid or unenforceable.
                                                                                                                                                unenforceable, then
                                                                                                                                                               then tthat
                                                                                                                                                                      hat provision
                                                                                                                                                                          provision will be limited
                                                                                                                                                                                    will be limited oorr
                                                                    eeliminated
                                                                       liminated to
                                                                                 to the
                                                                                    the minimum
                                                                                         minimum extent
                                                                                                    extent necessary,  and tthe
                                                                                                           necessary. and        remaining pprovisions
                                                                                                                             he remaining    rovisions ofof these
                                                                                                                                                            these Terms
                                                                                                                                                                  Terms will
                                                                                                                                                                         will remain
                                                                                                                                                                              remain in full force
                                                                                                                                                                                     in full       and
                                                                                                                                                                                             force and
                                                                     effect. Our
                                                                    effect.  Our failure
                                                                                 failure to
                                                                                         to enforce
                                                                                            enforce any
                                                                                                     any right
                                                                                                         right or provision of
                                                                                                               or provision  of these
                                                                                                                                these Terms
                                                                                                                                       Terms will  not be
                                                                                                                                              will not be deemed
                                                                                                                                                           deemed a   waiver of
                                                                                                                                                                    a waiver  of such
                                                                                                                                                                                 such right
                                                                                                                                                                                      right or
                                                                                                                                                                                             or provision.
                                                                                                                                                                                                provision.

                                                                    If you have any quest ions about these -erms. please contact us.
                                                                    If you have any questions about these Terms, please contact us .



                                                                    Effective: September
                                                                    Effective:           29, 2023
                                                                               September 29. 2023


                                                                    Archive of
                                                                    Archive of Previous
                                                                               Previous Terms
                                                                                        Terms




                                                                    X Terms
                                                                    X Terms of Service
                                                                            of Service
                                                                    If you
                                                                    If y ou live
                                                                            live in
                                                                                 in the
                                                                                    the European
                                                                                        Euro pean Union    EFTA States,
                                                                                                  Union, , EFTA States , or
                                                                                                                         o r the United Kingdom
                                                                                                                             the United Kingd om

                                                                    These Terms of
                                                                    These Terms of Service
                                                                                   Service (“Terms”)
                                                                                           (gTerms1 govern
                                                                                                     govern your
                                                                                                            your access
                                                                                                                 access to
                                                                                                                        to and
                                                                                                                           and use
                                                                                                                               use of
                                                                                                                                   of the
                                                                                                                                      the services.
                                                                                                                                          services, including
                                                                                                                                                    including our
                                                                                                                                                              our various websites. SMS.
                                                                                                                                                                  various websites, SMS,
                                                                    APls. email notifications,
                                                                    APIs, email notifications. applications,
                                                                                               applications. buttons,
                                                                                                             buttons. widgets,
                                                                                                                      widgets, ads.
                                                                                                                               ads, commerce
                                                                                                                                    commerce services.
                                                                                                                                             services, and
                                                                                                                                                       and our
                                                                                                                                                           our other
                                                                                                                                                               other covered
                                                                                                                                                                     covered services
                                                                                                                                                                             services
                                                                    (https://help.x.com/rules-and-policies/x-services-and-corporate-affiliates)
                                                                    ( https://help.x.com/rules-and-policies/x-services-and-corporate-affiliates)
                                                                                                                                                 that
                                                                                                                                                 that link
                                                                                                                                                      link to
                                                                                                                                                           to these
                                                                                                                                                              these TeJms
                                                                                                                                                                    Terms (collectively. the
                                                                                                                                                                          (collectively, the
                                                                    "Services"). and any
                                                                    “Services”), and any information,
                                                                                         information. text,
                                                                                                      text. links,
                                                                                                            links, graphics,
                                                                                                                   graphics, photos.
                                                                                                                             photos, audio.
                                                                                                                                     audio, videos.
                                                                                                                                            videos, or
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                                                                                                                                                       other materials
                                                                                                                                                             materials or
                                                                                                                                                                       or arrangements
                                                                                                                                                                          arrangements of
                                                                                                                                                                                       of
                                                                    mateJials uploaded. downloaded
                                                                    materials uploaded, downloaded or
                                                                                                   or appearing
                                                                                                      appearing on
                                                                                                                on the
                                                                                                                   the Services
                                                                                                                       Services (collectively
                                                                                                                                (collectively referred
                                                                                                                                              referred to
                                                                                                                                                       to as
                                                                                                                                                          as MContent"). By
                                                                                                                                                             “Content”). By using the
                                                                                                                                                                            using the
                                                                    Services you agree
                                                                    Services you agree to
                                                                                       to be
                                                                                          be bound
                                                                                             bound by
                                                                                                   by tthese
                                                                                                        hese Terms.
                                                                                                             Terms.

                                                                    These Terms are
                                                                    These Terms are an agreement between
                                                                                    an agreement between you
                                                                                                         you and
                                                                                                             and Twitter International Unlimited
                                                                                                                 Twitter International Unlimited Company
                                                                                                                                                 Company (Co.
                                                                                                                                                         (Co. number
                                                                                                                                                              number 503351. VAT
                                                                                                                                                                     503351, VAT
                                                                    number
                                                                    number IE98031750), an Irish
                                                                           IE9803175Q), an Irish company,
                                                                                                 company, which provides X
                                                                                                          which provides   and tthe
                                                                                                                         X and   he Services,
                                                                                                                                    Services, w ith its
                                                                                                                                              with  its registered
                                                                                                                                                        regist ered office
                                                                                                                                                                    office at
                                                                                                                                                                           at One
                                                                                                                                                                              One
                                                                    Cumberland
                                                                    Cumberland Place. Fenian Street
                                                                               Place, Fenian Street Dublin
                                                                                                    Dublin 2,
                                                                                                           2. D02
                                                                                                              002 AX07
                                                                                                                  AX07 Ireland.
                                                                                                                       Ireland. The
                                                                                                                                The words
                                                                                                                                    words "we."
                                                                                                                                          “we,” "us."
                                                                                                                                                “us,” and
                                                                                                                                                      and "our."
                                                                                                                                                          “our,” mean
                                                                                                                                                                 mean Twitter International
                                                                                                                                                                      Twitter International
                                                                    Unlimited Company.
                                                                    Unlimited Company.




                                1....Wh.2..M.i!Y U;s )hg
                                1. Who May Use

                                2. Privacy
                                2. Privacy
                                                     the SNYi9U
                                                         Services
                                                                    1. Who
                                                                    1. Who May
                                                                           May Use the Services
                                                                               Use the Services
                                3.
                                3. Content on !he
                                   Content on the Services
                                                  Services

                                4. Using the
                                4. Using t he Ser vi ces
                                              Services              You may
                                                                    You   may useuse the
                                                                                      the Services
                                                                                           Services only
                                                                                                      only ifif you agree to
                                                                                                                you agree  to form
                                                                                                                                form aa binding
                                                                                                                                           binding contract
                                                                                                                                                       contract with
                                                                                                                                                                 with us
                                                                                                                                                                       us and
                                                                                                                                                                            and are are not
                                                                                                                                                                                        not a  person barred
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                          Case
                           Case1:23-cv-05840-JPB
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                                                                        02/20/24 Page
                                                                                  Page44
                                                                                       6 of 8
                                                                                            96
P.:Jgc 5
X Term s of ServtCe
https:/ /twitter.com/en/tos




                                5. Lim i tatio n s of
                                5. Limitations        Liability
                                                   of Liability                                    and using
                                                                  If you
                                                                  If you are
                                                                         are accepting
                                                                             accepting these
                                                                                       these Terms
                                                                                             Terms and       the Services
                                                                                                       using the Services on
                                                                                                                          on behalf
                                                                                                                             behalf of
                                                                                                                                    of aa company.
                                                                                                                                          company, organization.
                                                                                                                                                   organization, government,
                                                                                                                                                                 government, or
                                                                                                                                                                             or other
                                                                                                                                                                                other
                                6.
                                6. G<!n cr al
                                   General                        legal entity,
                                                                  legal entity, you
                                                                                you represent
                                                                                    represent and warrant that
                                                                                              and warrant      you are
                                                                                                          that you are authorized to do
                                                                                                                       authorized to do so
                                                                                                                                        so and
                                                                                                                                           and have
                                                                                                                                               have the
                                                                                                                                                    the authority
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                                                                  these Terms, in
                                                                  these Terms, in which
                                                                                  which case
                                                                                        case the
                                                                                             the words
                                                                                                 words “you”
                                                                                                       ~youff and
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                                                                                                                  “your” as
                                                                                                                         as used
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                                                                                                                                 in these
                                                                                                                                    these Terms
                                                                                                                                          Terms shall
                                                                                                                                                shall refer
                                                                                                                                                      refer to
                                                                                                                                                            to such
                                                                                                                                                               such entity.
                                                                                                                                                                    entity.




                                                                  2. Privacy
                                                                  2. Privacy
                                                                  Our Privacy
                                                                  Our         Policy ((https://www.x.com/privacy)
                                                                      Privacy Policy   https://www.x.com/privacy ) describes
                                                                                                                   describes how we handle
                                                                                                                             how we handle the information you
                                                                                                                                           the information you provide to us
                                                                                                                                                               provide to us when you
                                                                                                                                                                             when you
                                                                  use the
                                                                  use the Services.
                                                                          Services. You
                                                                                    You understand
                                                                                        understand that
                                                                                                   that through your use
                                                                                                        1hrough your use of
                                                                                                                         of the
                                                                                                                            the Services
                                                                                                                                Services you
                                                                                                                                         you consent
                                                                                                                                             consent to
                                                                                                                                                     to the
                                                                                                                                                        the collection
                                                                                                                                                            collection and
                                                                                                                                                                       and use
                                                                                                                                                                           use (as
                                                                                                                                                                               (as set
                                                                                                                                                                                   set
                                                                  forth inin the
                                                                  forth      the Privacy
                                                                                 Privacy Policy)
                                                                                         Policy) of
                                                                                                 of this
                                                                                                    this information, including the
                                                                                                         information. including  the transfer
                                                                                                                                     transfer of
                                                                                                                                              of tthis  information to
                                                                                                                                                   his information  to the
                                                                                                                                                                       the United States, Ireland.
                                                                                                                                                                           United States, Ireland,
                                                                  and/or other
                                                                  and/or    other countries
                                                                                   countries for
                                                                                             for storage,
                                                                                                 storage. processing   and use
                                                                                                           processing and   use by
                                                                                                                                by us
                                                                                                                                    us and
                                                                                                                                       and our
                                                                                                                                            our affiliates.
                                                                                                                                                 affiliates.




                                                                  3. Content
                                                                  3. Content on the Services
                                                                             on the Services
                                                                  You are responsible
                                                                  You are             for your
                                                                          responsible for      use of
                                                                                          your use of the
                                                                                                      the Services
                                                                                                          Services and
                                                                                                                   and for
                                                                                                                       for any
                                                                                                                           any Content
                                                                                                                               Content you provide, including
                                                                                                                                       you provide, including compliance with applicable
                                                                                                                                                              compliance with applicable
                                                                  laws.
                                                                  laws, rules. and regulations.
                                                                        rules, and regulat ions. You
                                                                                                 You should
                                                                                                     should only
                                                                                                            only provide Content tthat
                                                                                                                 provide Content   hat you
                                                                                                                                       you are
                                                                                                                                           are comfortable
                                                                                                                                               comfortable sharing
                                                                                                                                                           sharing with
                                                                                                                                                                   with others.
                                                                                                                                                                        others.

                                                                  Any use
                                                                  Any use or reliance on
                                                                          or reliarn:e on any
                                                                                          any Content
                                                                                              Content or
                                                                                                      or materials posted via
                                                                                                         naterials posted via tthe
                                                                                                                                he Services or obtained
                                                                                                                                   Services or obtained by
                                                                                                                                                        by you
                                                                                                                                                           you through
                                                                                                                                                               through the
                                                                                                                                                                       the Services
                                                                                                                                                                           Services is
                                                                                                                                                                                    is at
                                                                                                                                                                                       at
                                                                  your own risk.
                                                                  your own       We do
                                                                           risk. We do not
                                                                                       not endorse,
                                                                                           endorse. support,
                                                                                                    support, represent
                                                                                                             represent or
                                                                                                                       or guarantee
                                                                                                                          guarantee tthe
                                                                                                                                      he completeness.
                                                                                                                                         completeness, ttruthfulness,
                                                                                                                                                         ruthfulness. accuracy.
                                                                                                                                                                      accuracy, or
                                                                                                                                                                                or
                                                                  reliability ofof any
                                                                  reliability      any Content or communications
                                                                                       Content or communications posted
                                                                                                                 posted vviaia the
                                                                                                                               the Services or endorse
                                                                                                                                   Services or endorse any
                                                                                                                                                       any opinions
                                                                                                                                                           opinions expressed
                                                                                                                                                                    expressed via
                                                                                                                                                                              via the
                                                                                                                                                                                  the
                                                                  Services. You understand
                                                                  Services. You understand that
                                                                                           that by
                                                                                                by using
                                                                                                   using tthe
                                                                                                           he Services. you may
                                                                                                              Services, you     be exposed
                                                                                                                            may be exposed to
                                                                                                                                           to Content
                                                                                                                                              Content that
                                                                                                                                                      that might
                                                                                                                                                           might be
                                                                                                                                                                 be offensive.
                                                                                                                                                                    offensive, harmful.
                                                                                                                                                                               harmful,
                                                                  inaccurate
                                                                  inaccurate or
                                                                              or otherwise     inappropriate. or
                                                                                  otherwise inappropriate,      or in some cases,
                                                                                                                   in some  cases, post  ings tthat
                                                                                                                                    postings    hat have
                                                                                                                                                     have been
                                                                                                                                                          been mislabeled
                                                                                                                                                                mislabeled or
                                                                                                                                                                            or are
                                                                                                                                                                               are otherwise
                                                                                                                                                                                   otherwise deceptive.
                                                                                                                                                                                               deceptive.
                                                                  All Content is
                                                                  All Content     the sole
                                                                               is the  sole responsibility
                                                                                             responsibility of
                                                                                                            of the
                                                                                                                the person   who originated
                                                                                                                     person who               such Content.
                                                                                                                                  originated such    Content. We
                                                                                                                                                              We may
                                                                                                                                                                   may not  monitor or
                                                                                                                                                                        not monitor  or control
                                                                                                                                                                                        control the
                                                                                                                                                                                                 the
                                                                  Content
                                                                  Content posted     via the
                                                                            posted via   the Services
                                                                                              Services and,
                                                                                                        and, wewe cannot
                                                                                                                   cannot take
                                                                                                                           take responsibility
                                                                                                                                responsibility for
                                                                                                                                                 for such
                                                                                                                                                     such Content.
                                                                                                                                                          Content.

                                                                  We reserve
                                                                  We reserve the
                                                                             the right
                                                                                 right to
                                                                                       to remove
                                                                                          remove Content that violates
                                                                                                 Content that violates the
                                                                                                                       the User Agreement, including
                                                                                                                           User Agreement. including for
                                                                                                                                                     for example.
                                                                                                                                                         example, copyright
                                                                                                                                                                  copyright or
                                                                                                                                                                            or trademark
                                                                                                                                                                               trademark
                                                                  violations or
                                                                  violations or other
                                                                                other intellectual
                                                                                      intellectual property
                                                                                                   property misappropriation, impersonation, unlawful
                                                                                                            misappropriation. impersonation. unlawful conduct.
                                                                                                                                                      conduct, or
                                                                                                                                                               or harassment.
                                                                                                                                                                  harassment. Information
                                                                                                                                                                              Information
                                                                  regarding specific
                                                                  regarding specific policies
                                                                                     policies and
                                                                                              and the
                                                                                                  the process for reporting
                                                                                                      process for reporting or
                                                                                                                            or appealing
                                                                                                                               appealing violations
                                                                                                                                         violations can
                                                                                                                                                    can be
                                                                                                                                                        be found
                                                                                                                                                           found in our Help
                                                                                                                                                                 in our      Center
                                                                                                                                                                        Help Center
                                                                  ( https://help.x.com/rules-and-policies/x-report-violation and https://help.x.com/managing-your-account/suspended-x-
                                                                  (https://help.x.com/rules-and-policies/)(-report-violation and https:/ /help.x.com/managing-your-account/suspended-x -
                                                                  accounts ).
                                                                  accounts).


                                                                  If you believe that your Content has been copied in a way that constitutes copyright infringement. please report this by
                                                                  If you believe that your Content has been copied in a way that constitutes copyright infringement, please report this by
                                                                  visiting our Copyright
                                                                  visiting our Copyright reporting
                                                                                          reporting form
                                                                                                    form ((https://help.x.com/forms/dmca)
                                                                                                           https://help.x.com/forms/dmca ) or contacting our
                                                                                                                                           or contacting our designated
                                                                                                                                                             designated copyright
                                                                                                                                                                        copyright agent at :
                                                                                                                                                                                  agent at:

                                                                  X Corp.
                                                                  X Corp.
                                                                  Attn: Copyright Agent
                                                                  Attn: Copyright Agent
                                                                  1355 Market Street,
                                                                  1355 Market Street. Suite
                                                                                      Suit e 900
                                                                                             900
                                                                  San
                                                                  San Francisco. CA 94103
                                                                      Francisco, CA 94103
                                                                  Reports:
                                                                  Reports: https://help .x.com/forms/dmca
                                                                           https://help.x.com/forms/dmca
                                                                  Email: copyright@x.com
                                                                  Email: copyright@x.com



                                                                  Your Rights
                                                                  Your Rights and
                                                                              and Grant
                                                                                  Grant of
                                                                                        of Rights
                                                                                           Rights in the Content
                                                                                                  in the Content

                                                                  You retain
                                                                  You retain your
                                                                             your rights
                                                                                  rights to
                                                                                         to any
                                                                                            any Content
                                                                                                Content you submit, post
                                                                                                        you submit. post or
                                                                                                                         or ddisplay  on or
                                                                                                                               isplay on or through
                                                                                                                                            through the
                                                                                                                                                    the Services.
                                                                                                                                                        Services. What's
                                                                                                                                                                  What’s yours
                                                                                                                                                                         yours is yours —-
                                                                                                                                                                               is yours
                                                                  you own
                                                                  you     your Content
                                                                      own your Content (and
                                                                                       (and your
                                                                                            your incorporated audio, photos
                                                                                                 incorporated audio.        and videos
                                                                                                                     photos and videos are
                                                                                                                                       are considered
                                                                                                                                           considered part
                                                                                                                                                      part of
                                                                                                                                                           of the
                                                                                                                                                              the Content).
                                                                                                                                                                  Content).

                                                                  By submitting,
                                                                  By  submitting, posting
                                                                                   posting or
                                                                                            or displaying
                                                                                               d isplaying Content   on or
                                                                                                            Content on  or tthrough  the Services,
                                                                                                                             hrough the  Services, you
                                                                                                                                                   you grant
                                                                                                                                                       grant us
                                                                                                                                                              us a worldwide, non-exclusive.
                                                                                                                                                                 a worldwide.  non-exclusive,
                                                                  royalty-free
                                                                  royalty-free license (with the
                                                                               license (with       right to
                                                                                              the right  to sublicense)
                                                                                                            sublicense) to
                                                                                                                        to use,
                                                                                                                           use, copy.
                                                                                                                                 copy, reproduce,  process. adapt,
                                                                                                                                        reproduce, process,  adapt, modify,
                                                                                                                                                                     modify, publish.
                                                                                                                                                                             publish, transmit,
                                                                                                                                                                                      transmit,
                                                                  display and
                                                                  display   and distribute
                                                                                 d istribute such Content inin any
                                                                                             such Content           and all
                                                                                                               any and       media or
                                                                                                                         all media   or distribution
                                                                                                                                        distribution methods
                                                                                                                                                      methods nownow known
                                                                                                                                                                      known oror later
                                                                                                                                                                                 later developed
                                                                                                                                                                                       developed (for
                                                                                                                                                                                                   (for
                                                                  clarity, these
                                                                  clarity, these rights
                                                                                  rights include,
                                                                                          include, for
                                                                                                   for example,   curating, , transforming,
                                                                                                       example, curating      transforming, and
                                                                                                                                              and translating).
                                                                                                                                                   translating). This
                                                                                                                                                                 This license  authorizes us
                                                                                                                                                                      license authorizes   us to make your
                                                                                                                                                                                              to make   your
                                                                  Content available
                                                                  Content           to the
                                                                          available to the rest
                                                                                           rest of
                                                                                                of the
                                                                                                   the world and to
                                                                                                       world and to let others do
                                                                                                                    let others do the
                                                                                                                                  the same.
                                                                                                                                      same. However.
                                                                                                                                            However, if you have
                                                                                                                                                     if you have chosen
                                                                                                                                                                 chosen via
                                                                                                                                                                        via our
                                                                                                                                                                            our features
                                                                                                                                                                                features to
                                                                                                                                                                                         to
                                                                  limit the
                                                                  limit the distribution
                                                                            distribution of
                                                                                         of your
                                                                                            your Content
                                                                                                 Content to
                                                                                                         to aa restricted community, we
                                                                                                               restricted community. we will
                                                                                                                                        will respect
                                                                                                                                             respect that
                                                                                                                                                     that choice.
                                                                                                                                                          choice. You
                                                                                                                                                                  You also
                                                                                                                                                                      also agree
                                                                                                                                                                           agree that this
                                                                                                                                                                                 that this
                                                                  license includes
                                                                  license includes the
                                                                                   the right
                                                                                       right to
                                                                                             to analyze
                                                                                                analyze text and other
                                                                                                        text and other information
                                                                                                                       information you
                                                                                                                                   you provide
                                                                                                                                       provide with
                                                                                                                                               with the
                                                                                                                                                    the view
                                                                                                                                                        view to
                                                                                                                                                             to improve
                                                                                                                                                                improve the
                                                                                                                                                                        the Services.
                                                                                                                                                                            Services. You
                                                                                                                                                                                      You
                                                                  agree that
                                                                  agree that this
                                                                             this license
                                                                                  license includes the right
                                                                                          includes the       for us
                                                                                                       right for    to provide,
                                                                                                                 us to provide. promote, and improve
                                                                                                                                promote, and improve the Services and
                                                                                                                                                     the Services and to
                                                                                                                                                                      to make Content
                                                                                                                                                                         make Content
                                                                  submitted toto or
                                                                  submitted      or through
                                                                                    through the
                                                                                            the Services
                                                                                                Services available to other
                                                                                                         available to other companies.
                                                                                                                            companies, organizations
                                                                                                                                       organizations or
                                                                                                                                                     or individuals
                                                                                                                                                        individuals for
                                                                                                                                                                    for the
                                                                                                                                                                        the syndication.
                                                                                                                                                                            syndication,
                                                                  broadcast, distribution,
                                                                  broadcast. distribution. repost,
                                                                                           repost. promotion
                                                                                                   promotion or
                                                                                                             or publication of such
                                                                                                                publication of such Content
                                                                                                                                    Content on
                                                                                                                                            on oother  media and
                                                                                                                                                  ther media and services.
                                                                                                                                                                 services, subject
                                                                                                                                                                           subject to our
                                                                                                                                                                                   10 our
                                                                  terms and
                                                                  terms and conditions
                                                                            conditions for
                                                                                       for such Content use.
                                                                                           such Content      Such additional
                                                                                                        use. Such additional uses
                                                                                                                             uses by us, or
                                                                                                                                  by us. or other
                                                                                                                                            other companies.
                                                                                                                                                  companies, organizations or
                                                                                                                                                             organizations or
                                                                  individuals, is
                                                                  individuals. is made
                                                                                  made with
                                                                                       with no
                                                                                            no compensation paid to
                                                                                               compensation paid to you
                                                                                                                    you with
                                                                                                                        with respect
                                                                                                                             respect to
                                                                                                                                     to the
                                                                                                                                        the Content
                                                                                                                                            Content that
                                                                                                                                                    that you
                                                                                                                                                         you submit.
                                                                                                                                                             submit, post.
                                                                                                                                                                     post, transmit or
                                                                                                                                                                           transmit or
                                                                  otherwise make
                                                                  otherwise      available through
                                                                            make available through the
                                                                                                   the Services as the
                                                                                                       Services as the use
                                                                                                                       use of
                                                                                                                           of the
                                                                                                                              the Services
                                                                                                                                  Services by
                                                                                                                                           by you
                                                                                                                                              you is hereby agreed
                                                                                                                                                  is hereby agreed as
                                                                                                                                                                   as being
                                                                                                                                                                      being sufficient
                                                                                                                                                                            sufficient
                                                                  compensation for
                                                                  compensation for the
                                                                                   the Content
                                                                                       Content and grant of
                                                                                               and grant of rights
                                                                                                            rights herein.
                                                                                                                   herein.

                                                                  We have
                                                                  We have an
                                                                          an evolving
                                                                             evolving set
                                                                                      set of
                                                                                          of rules for how
                                                                                             rules for     ecosystem partners
                                                                                                       how ecosystem          can interact
                                                                                                                     partners can interact with
                                                                                                                                           with your
                                                                                                                                                your Content
                                                                                                                                                     Content on
                                                                                                                                                             on the
                                                                                                                                                                the Services.
                                                                                                                                                                    Services. These
                                                                                                                                                                              These rules
                                                                                                                                                                                    rules
                                                                  exist to
                                                                  exist      to enable  an open
                                                                                enable an   open ecosystem
                                                                                                 ecosystem with    your rights
                                                                                                              with your rights in mind. You
                                                                                                                               in mind.  You understand
                                                                                                                                              understand that  we may
                                                                                                                                                          that we may modify
                                                                                                                                                                      modify or
                                                                                                                                                                             or adapt
                                                                                                                                                                                adapt your
                                                                                                                                                                                        your Content
                                                                                                                                                                                             Content
                                                                  as itit isis distributed,
                                                                  as           distributed. syndicated,
                                                                                             syndicated. published,  or broadcast
                                                                                                         published. or  broadcast byby us
                                                                                                                                       us and
                                                                                                                                           and our
                                                                                                                                               our partners
                                                                                                                                                   partners and/or
                                                                                                                                                            and/or make
                                                                                                                                                                   make changes
                                                                                                                                                                         changes toto your Content inin
                                                                                                                                                                                      your Content
                                                                  order to
                                                                  order to adapt
                                                                           adapt the
                                                                                 the Content
                                                                                     Content to
                                                                                             to different
                                                                                                different media.
                                                                                                          media.


                                                                  You represent
                                                                  You represent and
                                                                                and warrant
                                                                                    warrant that
                                                                                            that you
                                                                                                 you have, or have
                                                                                                     have. or have obtained.
                                                                                                                   obtained, all rights, licenses,
                                                                                                                             all rights,           consents, permissions.
                                                                                                                                         licenses. consents, permissions, power
                                                                                                                                                                          power and/or
                                                                                                                                                                                and/or
                                                                  authority necessary
                                                                  authority necessary to
                                                                                      to grant
                                                                                         Qrant the
                                                                                               the rights
                                                                                                   riQhts granted herein for
                                                                                                          qranted herein for any
                                                                                                                             any Content
                                                                                                                                 Content that you submit.
                                                                                                                                         that you submit, post
                                                                                                                                                          post or
                                                                                                                                                               or display
                                                                                                                                                                  display on
                                                                                                                                                                          on or
                                                                                                                                                                             or throUQh
                                                                                                                                                                                through the
                                                                                                                                                                                        the
                                                                  Services. You
                                                                  Services. You agree
                                                                                agree that
                                                                                      that such Content will
                                                                                           such Content      not contain
                                                                                                        will not contain material
                                                                                                                         material subject
                                                                                                                                  subject to
                                                                                                                                          to copyright or other
                                                                                                                                             copyright or other proprietary
                                                                                                                                                                proprietary rights, unless
                                                                                                                                                                            rights. unless
                                                                  you have
                                                                  you have necessary
                                                                           necessary permission
                                                                                     permission or
                                                                                                or are
                                                                                                   are otherwise legally entitled
                                                                                                       otherwise legally entitled to
                                                                                                                                  to post
                                                                                                                                     post the
                                                                                                                                          the material
                                                                                                                                              material and
                                                                                                                                                       and to
                                                                                                                                                           to grant
                                                                                                                                                              grant us
                                                                                                                                                                    us the
                                                                                                                                                                       the license
                                                                                                                                                                           license
                                                                  described above.
                                                                  described above.




                                                                  4. Using
                                                                  4. Using the
                                                                           the Services
                                                                               Services
                                                                  Please
                                                                  Please review our Rules
                                                                         review our       and Policies
                                                                                    Rules and Policies., which
                                                                                                         v.hich are
                                                                                                                are part
                                                                                                                    part of
                                                                                                                         of the
                                                                                                                            the User
                                                                                                                                User Agreement
                                                                                                                                     Agreement and
                                                                                                                                               and outline
                                                                                                                                                   outline conduct
                                                                                                                                                           conduct that
                                                                                                                                                                   that is
                                                                                                                                                                        is prohibited
                                                                                                                                                                           prohibited on the
                                                                                                                                                                                      on the
                                                                  Services. You may
                                                                  Services. You may use
                                                                                    use the
                                                                                        the Services
                                                                                            Services only
                                                                                                     only in
                                                                                                          in compliance
                                                                                                             compliance with
                                                                                                                        with these
                                                                                                                             these Terms
                                                                                                                                   Terms and
                                                                                                                                         and all applicable laws,
                                                                                                                                             all applicable laws. rules
                                                                                                                                                                  rules and
                                                                                                                                                                        and regulations.
                                                                                                                                                                            regulations. X
                                                                                                                                                                                         X
                                                                  takes  enforcement actions
                                                                  takes enforcement   actions when
                                                                                              when Content
                                                                                                    Content or
                                                                                                            or user
                                                                                                               user behavior
                                                                                                                    behavior is
                                                                                                                             is in
                                                                                                                                in violation
                                                                                                                                   violation of
                                                                                                                                             of our  Rules and
                                                                                                                                                our Rules  and Policies
                                                                                                                                                                Policies or
                                                                                                                                                                         or in
                                                                                                                                                                             in relation to
                                                                                                                                                                                relation to
                                                                  sensitive media. You
                                                                  sensitive media. You can
                                                                                       can review
                                                                                            review X’s
                                                                                                   X's enforcement
                                                                                                       enforcement options
                                                                                                                    options and
                                                                                                                            and how
                                                                                                                                 how you
                                                                                                                                       you can
                                                                                                                                            can appeal
                                                                                                                                                 appeal our
                                                                                                                                                        our enforcement
                                                                                                                                                             enforcement decision
                                                                                                                                                                            decision here.
                                                                                                                                                                                       here .

                                                                  The Services evolve
                                                                  The Services evolve constantly. As such,
                                                                                      constantly. As such, the
                                                                                                           the Services may change
                                                                                                               Services may change from
                                                                                                                                   from time
                                                                                                                                        time to
                                                                                                                                             to time,
                                                                                                                                                time, at
                                                                                                                                                      at our
                                                                                                                                                         our discretion. We may
                                                                                                                                                             discretion. We     stop
                                                                                                                                                                            may stop
                                                                  (permanently or temporarily)
                                                                  (permanently or temporarily) providing
                                                                                               providing the
                                                                                                         the Services
                                                                                                             Services or
                                                                                                                      or any
                                                                                                                         any features
                                                                                                                             features within the Services
                                                                                                                                      within the Services to
                                                                                                                                                          to you
                                                                                                                                                             you or
                                                                                                                                                                 or to
                                                                                                                                                                    to users
                                                                                                                                                                       users generally. We
                                                                                                                                                                             generally. We
                                                                  aalso
                                                                    lso retain
                                                                        retain the
                                                                               the right
                                                                                   right to
                                                                                         to create
                                                                                            create limits
                                                                                                   limits on
                                                                                                          on use
                                                                                                             t.se and
                                                                                                                  and storage
                                                                                                                      storage at
                                                                                                                              at our sole d
                                                                                                                                 our sole   iscretion at
                                                                                                                                          discretion  at any
                                                                                                                                                         any time.
                                                                                                                                                             time. We may also
                                                                                                                                                                   We may      remove or
                                                                                                                                                                          also remove or refuse
                                                                                                                                                                                         refuse
                                                                  to distribute any
                                                                  to distribute any Content
                                                                                    Content on
                                                                                            on the
                                                                                               the Services,
                                                                                                   Services. limit
                                                                                                             limit distribution
                                                                                                                   distribution or
                                                                                                                                or visibility
                                                                                                                                   visibility of any Content
                                                                                                                                              of any Content on
                                                                                                                                                             on the
                                                                                                                                                                the service.
                                                                                                                                                                    service, suspend
                                                                                                                                                                             suspend or
                                                                                                                                                                                     or
                                                                  terminate users, and
                                                                  terminate users, and reclaim
                                                                                       reclaim usernames
                                                                                               usemames ifif itit is
                                                                                                                  is appropriate,
                                                                                                                     appropriate, including
                                                                                                                                  including for
                                                                                                                                            for the
                                                                                                                                                the following reasons: (i)
                                                                                                                                                    following reasons:     protecting the Services
                                                                                                                                                                       (i) protecting the Services
                                                                  or our users;
                                                                  or our users: (ii)
                                                                                (iij compliance
                                                                                     compliance with
                                                                                                with applicable
                                                                                                     applicable laws
                                                                                                                laws or
                                                                                                                     or orders
                                                                                                                        orders from
                                                                                                                               from competent
                                                                                                                                    competent authorities:
                                                                                                                                              authorities; Oiij  breach of
                                                                                                                                                           (iii) breach of these
                                                                                                                                                                           these Terms
                                                                                                                                                                                 Terms or our
                                                                                                                                                                                       or our
                                                                  Rules and Policies
                                                                  Rules and Policies or
                                                                                     or third
                                                                                        third parties'
                                                                                              parties' intellectual
                                                                                                       intellectual property
                                                                                                                    property or
                                                                                                                             or other
                                                                                                                                other rights:
                                                                                                                                      rights; (iv)
                                                                                                                                              (iv) ifif you
                                                                                                                                                        you or
                                                                                                                                                            or your
                                                                                                                                                               your Content
                                                                                                                                                                    Content exposes
                                                                                                                                                                            exposes us.
                                                                                                                                                                                    us, other
                                                                                                                                                                                        other users
                                                                                                                                                                                              users
                                                                  or any third
                                                                  or any third party
                                                                               party to
                                                                                     to legal
                                                                                        legal or
                                                                                              or regulatory
                                                                                                 regulatory risk;
                                                                                                            risk: and/or
                                                                                                                  and/or (v)
                                                                                                                         (v) your
                                                                                                                             your prolonged
                                                                                                                                  prolonged inactivity.
                                                                                                                                            inactivity.

                                                                  In consideration
                                                                  In               for our
                                                                     consideration for our granting
                                                                                           granting you
                                                                                                    you access to and
                                                                                                        access to and use
                                                                                                                      use ofof the
                                                                                                                               the Sefvices.
                                                                                                                                   Services, you
                                                                                                                                             you agree
                                                                                                                                                 agree that
                                                                                                                                                       that we
                                                                                                                                                            we and
                                                                                                                                                               and our
                                                                                                                                                                   our tthird-party providers
                                                                                                                                                                         hird-party providers
                                                                  and partners
                                                                  and partners may
                                                                               may place
                                                                                   place advertising
                                                                                         advertising on
                                                                                                     on the Services or
                                                                                                        the Services or inin connection
                                                                                                                             connection with
                                                                                                                                        with the
                                                                                                                                             the display
                                                                                                                                                 display of
                                                                                                                                                         of Content
                                                                                                                                                            Content or
                                                                                                                                                                    or information
                                                                                                                                                                       information from
                                                                                                                                                                                   from the
                                                                                                                                                                                        the
                                                                  Services whether submitted
                                                                  Services whether submitted by
                                                                                             by you
                                                                                                you or
                                                                                                    or others.
                                                                                                       others. We
                                                                                                               We also
                                                                                                                  also reserve
                                                                                                                       reserve the
                                                                                                                               the right
                                                                                                                                   right to
                                                                                                                                         to access,
                                                                                                                                            access, read, preserve, and
                                                                                                                                                    read, preserve, and disclose
                                                                                                                                                                        disclose any
                                                                                                                                                                                 any
                                                                  information as
                                                                  information as we
                                                                                 we reasonably
                                                                                    reasonably believe      necessary to
                                                                                               believe isis necessary to 0)  satisfy
                                                                                                                         (i) sat      any applicable
                                                                                                                                 isfy any applicable law.
                                                                                                                                                     law, regulation.
                                                                                                                                                          regulation, legal
                                                                                                                                                                      legal process
                                                                                                                                                                            process or
                                                                                                                                                                                    or
                                                                  governmental request, (ii)
                                                                  governmental request, (iij enforce
                                                                                             enforce the
                                                                                                     the Terms,
                                                                                                         Terms, including
                                                                                                                including investigation
                                                                                                                          investigation of
                                                                                                                                        of potential
                                                                                                                                           potential violations
                                                                                                                                                     violations hereof,
                                                                                                                                                                hereof, (iiij detect, prevent, or
                                                                                                                                                                        (iii) detect, prevent, or

                                                                  otherwise address
                                                                  otherwise address fraud,
                                                                                    fraud. security
                                                                                           security or
                                                                                                    or technical issues, (iv)
                                                                                                       technical issues.      respond to
                                                                                                                         (iv) respond to user
                                                                                                                                         user support
                                                                                                                                              support requests.
                                                                                                                                                      requests, oror (v) protect the
                                                                                                                                                                     (v) protect     rights,
                                                                                                                                                                                 the rights.
                                                                  property or safety
                                                                  property or safety of
                                                                                     of X, its users
                                                                                        X, its users and
                                                                                                     and the
                                                                                                         the public.
                                                                                                             public. We
                                                                                                                     We do
                                                                                                                        do not
                                                                                                                           not disclose
                                                                                                                               disclose personally- identifying informat
                                                                                                                                        personally-identifying           ion to
                                                                                                                                                                information     third parties
                                                                                                                                                                             to third parties
                                                                  except in
                                                                  except in accordance
                                                                            accordance with
                                                                                       with our
                                                                                            our Privacy
                                                                                                Privacy Policy
                                                                                                        Policy..




                                                                            Captured by FireShot Pro: 09 February 2024, 15:58:14
                                                                                               httpsi/ /getftreshot.com
                          Case
                           Case1:23-cv-05840-JPB
                                1:23-cv-05840-JPB Document
                                                   Document38-1
                                                            24-3 Filed
                                                                  Filed05/06/24
                                                                        02/20/24 Page
                                                                                  Page45
                                                                                       7 of 8
                                                                                            96
P.:Jgc 6
X Terms of ServtCe
https:/ /twitter.com/en/tos




                                              Certain services
                                              Certain services or
                                                               or features
                                                                  features may
                                                                           may be
                                                                               be offered on X
                                                                                  offered on X for
                                                                                               for which
                                                                                                   which additional  terms and
                                                                                                         addit ional terms and conditions
                                                                                                                               conditions may
                                                                                                                                          may apply
                                                                                                                                              apply in connection with
                                                                                                                                                    in connection wit h
                                              your use of
                                              your use of those
                                                          those services.
                                                                services. These additional terms
                                                                          These additional terms are accessible from
                                                                                                 are accessible from our
                                                                                                                     our sites
                                                                                                                         sites and
                                                                                                                               and applications
                                                                                                                                   applications dedicated to these
                                                                                                                                                dedicated to these
                                              services or features.
                                              services or features. By
                                                                    By using
                                                                       using or paying for
                                                                             or paying     any of
                                                                                       for any of these
                                                                                                  these addit ional services,
                                                                                                        additional  services, you
                                                                                                                              you will have to
                                                                                                                                  will have to agree
                                                                                                                                               agree to
                                                                                                                                                     to any
                                                                                                                                                        any additional
                                                                                                                                                            additional
                                              terms applicable to
                                              terms applicable to those
                                                                  those services,
                                                                        services, and
                                                                                  and those
                                                                                      those additional
                                                                                            additional terms
                                                                                                       terms will
                                                                                                             will then
                                                                                                                  then also
                                                                                                                       also become
                                                                                                                            become part
                                                                                                                                   part of
                                                                                                                                        of our
                                                                                                                                           our agreement with you.
                                                                                                                                               agreement with you . If
                                                                                                                                                                    If
                                              any of the
                                              any of the applicable
                                                         applicable additional
                                                                    additional terms conflict with
                                                                               terms conflict with these
                                                                                                   these Terms, the additional
                                                                                                         Terms, the additional terms
                                                                                                                               terms will prevail while
                                                                                                                                     will prevail while you
                                                                                                                                                        you are
                                                                                                                                                            are using
                                                                                                                                                                using
                                              those services to
                                              those services    which they
                                                             to which they apply.
                                                                           apply.


                                              If you use paid features of the Services. you agree to the applicable Terms for Paid Services
                                              If you use paid features of the Services, you agree to the applicable Terms for Paid Services
                                              (https://legal.x.com/purchaser-terms.html).
                                              ( https://legal.x.com/purchaser-terms.html ).




                                              If you use d eveloper features of the Services. including but not limited to X for Websites
                                              If you use developer features of the Services, including but not limited to X for Websites
                                              (https://developer.x.com/docs/twitter-for-websites).   X Cards (https://developer.x.com/docs/tw itter-for-
                                              ( https://developer.x.com/docs/twitter-for-websites ), X Cards ( https://developer.x.com/docs/twitter-for-

                                              websites/cards/overview/   abouts-cards:,
                                              websites/cards/overview/abouts-cards        Public API {https://developer.x.com/docs). or Sign in with X
                                                                                       ), Public API ( https://developer.x.com/docs ), or Sign in with X
                                              (https://developer.x.com/docs/authentication/guides/log-in-w      ith-twitter), you agree to our Developer Agreement
                                              ( https://developer.x.com/docs/authentication/guides/log-in-with-twitter ), you agree to our Developer Agreement

                                              (https://developer.x.com/developer-terms/agreement)   and Developer Policy {https://developer.x.com/developer-
                                              ( https://developer.x.com/developer-terms/agreement ) and Developer Policy ( https://developer.x.com/developer-

                                              terms/policy).
                                              terms/policy ). IfH you
                                                                  you want
                                                                      want to
                                                                           to reproduce,
                                                                              reproduce, modify,
                                                                                         modify, create derivative works,
                                                                                                 create derivative works, distribute,
                                                                                                                          distribute, sell,
                                                                                                                                      sell, transfer,
                                                                                                                                            transfer, publicly
                                                                                                                                                      publicly display,
                                                                                                                                                               display,
                                              publicly
                                              publicly pertorm. transmit. or
                                                       perform, transmit, or otherwise
                                                                             otherwise use
                                                                                       use the
                                                                                           the Services
                                                                                               Services or
                                                                                                        or Content on tthe
                                                                                                           Content on   he Services.
                                                                                                                           Services, you
                                                                                                                                     you must
                                                                                                                                         must use
                                                                                                                                              use tthe
                                                                                                                                                    he interfaces
                                                                                                                                                       interfaces and
                                                                                                                                                                  and
                                              instructions we provide,
                                              instructions we provide, except
                                                                       except as
                                                                              as permitted
                                                                                 permitt ed through the Services,
                                                                                            through the Services, these
                                                                                                                  these Terms.
                                                                                                                        Terms, or
                                                                                                                               or the
                                                                                                                                  the terms
                                                                                                                                      terms provided
                                                                                                                                            provided on
                                                                                                                                                     on
                                              https://developer.x.com/developer-terms.
                                              https://developer.x.com/developer-terms . Otherwise.
                                                                                        Otherwise, all
                                                                                                   all such
                                                                                                       such actions are strictly
                                                                                                            actions are          prohibited. IfIf you
                                                                                                                        strictly prohibited.      you are
                                                                                                                                                      are aa security
                                                                                                                                                             security
                                              researcher. you are
                                              researcher, you     required to
                                                              are required to comply
                                                                              comply with
                                                                                     with the
                                                                                          the rules
                                                                                              rules of
                                                                                                    of our
                                                                                                       our Vulnerability
                                                                                                           Vulnerability Reponing  Program (https://hackerone.com/x).
                                                                                                                         Reporting Program ( https://hackerone.com/x ).

                                              The
                                              The requirements set out
                                                  requirements set out in
                                                                       in the
                                                                          t he preceding
                                                                               preceding paragraph
                                                                                         paragraph may
                                                                                                   may not
                                                                                                       not apply
                                                                                                           apply to
                                                                                                                 to those
                                                                                                                    those participating
                                                                                                                          participating inin our
                                                                                                                                             our Vulnerability
                                                                                                                                                 Vulnerability Reporting
                                                                                                                                                               Reporting
                                              Program.
                                              Program.

                                              If you use advertising features of the Services. you agree 10 our Master Services Agreement (https://ads.x .com/terms).
                                              If you use advertising features of the Services, you agree to our Master Services Agreement ( https://ads.x.com/terms ).




                                              Your Account
                                              Your Account

                                               You may
                                              You   may need
                                                        need to
                                                             to create
                                                                create an
                                                                        an account
                                                                            account toto use   the Services.
                                                                                         1.1se the Services. You
                                                                                                              You are
                                                                                                                  are responsible
                                                                                                                      responsible for
                                                                                                                                    for safeguarding
                                                                                                                                        safeguarding your
                                                                                                                                                      your account,
                                                                                                                                                           account, so  use aa
                                                                                                                                                                     so use
                                              sstrong
                                                trong password
                                                      password and
                                                                and limit  its use
                                                                     limit its use to
                                                                                   to this  account. We
                                                                                      this account.   We cannot
                                                                                                           cannot and
                                                                                                                   and will
                                                                                                                       will not be liable
                                                                                                                            not be        for any
                                                                                                                                   liable for any loss
                                                                                                                                                  loss or
                                                                                                                                                       or damage
                                                                                                                                                          damage arising
                                                                                                                                                                  arising from
                                                                                                                                                                          from
                                              your failure
                                              your         to comply
                                                   failure 10 comply with
                                                                     with the
                                                                          the above.
                                                                              above.


                                              You can
                                              You can control
                                                      control most
                                                              most communications from the
                                                                   communications from the Services.
                                                                                           Services. We
                                                                                                     We may
                                                                                                        may need to provide
                                                                                                            need to provide you
                                                                                                                            you with
                                                                                                                                with certain
                                                                                                                                     certain communications.
                                                                                                                                             communications,
                                              such as
                                              such as service
                                                      service announcements
                                                              announcements and
                                                                            and administrative
                                                                                administrative messages. These communications
                                                                                               messages. These communications are
                                                                                                                              are considered
                                                                                                                                  considered part
                                                                                                                                             part of
                                                                                                                                                  of the
                                                                                                                                                     the
                                              Services and
                                              Services and your
                                                           your account,
                                                                account. and
                                                                         and you
                                                                             you may not be
                                                                                 may not be able
                                                                                            able to opt-out from
                                                                                                 to opt-out from receiving them. IfIf you
                                                                                                                 receiving them.      you added
                                                                                                                                          added your
                                                                                                                                                your phone
                                                                                                                                                     phone number
                                                                                                                                                           number to
                                                                                                                                                                  to
                                              your account
                                              your account and
                                                           and you
                                                               you later
                                                                   later change
                                                                         change or
                                                                                or deactivate that phone
                                                                                   deactivate that phone number.
                                                                                                         number, you
                                                                                                                 you must
                                                                                                                     must update
                                                                                                                          update your
                                                                                                                                 your account
                                                                                                                                      account information
                                                                                                                                              information to
                                                                                                                                                          to help
                                                                                                                                                             help
                                              prevent us
                                              prevent us from
                                                         from communicating
                                                              communicating with
                                                                            w ith anyone who acquires
                                                                                  anyone who acquires your
                                                                                                      your old
                                                                                                           old number.
                                                                                                               number.



                                              Your License
                                              Your         to Use
                                                   License to     the Services
                                                              Use the Services

                                              We  give you
                                              We give   you aa personal,
                                                               personal. worldwide,
                                                                          worldwide. royalty-free,
                                                                                      royalty-free. non-assignable
                                                                                                    non-assignable and
                                                                                                                    and non-exclusive
                                                                                                                         non-exclusive license
                                                                                                                                        license to
                                                                                                                                                to use
                                                                                                                                                   use the
                                                                                                                                                       the software
                                                                                                                                                           software provided
                                                                                                                                                                      provided
                                              to you as
                                              to you as part
                                                         part of
                                                               of the Services. This
                                                                  the Services. This license
                                                                                     license has
                                                                                             has the
                                                                                                  the sole
                                                                                                      sole ppurpose
                                                                                                             urpose of
                                                                                                                    of enabling
                                                                                                                       enabling you
                                                                                                                                you to  use and
                                                                                                                                     to use and enjoy
                                                                                                                                                 enjoy the
                                                                                                                                                       the benefit
                                                                                                                                                           benefit of
                                                                                                                                                                   of the
                                                                                                                                                                       the
                                              Services as provided
                                              Services as provided on
                                                                   on X,
                                                                      X. in
                                                                         in the
                                                                            the manner
                                                                                mannsr permitted by tthese
                                                                                       permitted by   hese Terms.
                                                                                                           Terms.

                                              The Services are
                                              The Services are protected
                                                               protected by
                                                                         by copyright,
                                                                            copyright. trademark.
                                                                                       trademark, and
                                                                                                  and other laws of
                                                                                                      other laws    both the
                                                                                                                 of both the United
                                                                                                                             United States
                                                                                                                                    States and
                                                                                                                                           and other
                                                                                                                                               other countries.
                                                                                                                                                     countries.
                                              Nothing
                                              Nothing in   the Terms
                                                        in the Terms gives
                                                                      gives you
                                                                             you a right to
                                                                                 a right  t:::, use
                                                                                                use tthe
                                                                                                      he XX name
                                                                                                            name oorr any
                                                                                                                       any of   the X
                                                                                                                            of the   X trademarks.
                                                                                                                                       trademarks, logos.
                                                                                                                                                      logos, domain    names. other
                                                                                                                                                              domain names,    other
                                              distinctive  brand features,
                                              distinctive brand   features. and
                                                                            and other
                                                                                other proprietary
                                                                                        proprietary rights.
                                                                                                         rights. All
                                                                                                                 All right.
                                                                                                                     right, title.
                                                                                                                            title, and
                                                                                                                                   and interest
                                                                                                                                        interest in
                                                                                                                                                 in and
                                                                                                                                                    and to
                                                                                                                                                         to tthe
                                                                                                                                                              he Services
                                                                                                                                                                 Services (exclud ing
                                                                                                                                                                          (excluding
                                              Content
                                              Content provided by users)
                                                      provided by users) are
                                                                         are and will remain
                                                                             and will remain our
                                                                                             our and
                                                                                                 and our
                                                                                                     our licensors'
                                                                                                         licensors' exclusive
                                                                                                                    exclusive property.
                                                                                                                              property. Any
                                                                                                                                        Any feedback.
                                                                                                                                            feedback, comments. or
                                                                                                                                                      comments, or
                                              suggestions you may
                                              suggestions you may provide
                                                                  provide regarding
                                                                          regardini;; X,
                                                                                      X, or
                                                                                         or the Services is
                                                                                            the Services is entirely
                                                                                                            entirely voluntary
                                                                                                                     voluntary and
                                                                                                                               and we will be
                                                                                                                                   we will be free
                                                                                                                                              free to
                                                                                                                                                   to use
                                                                                                                                                      use such feedback.
                                                                                                                                                          such feedback,
                                              comments or suggestions
                                              comments or suggestions as
                                                                      as we
                                                                         we see
                                                                            see fit
                                                                                lit and
                                                                                    and without
                                                                                        without any
                                                                                                any obligation
                                                                                                    obligation to
                                                                                                               to you.
                                                                                                                  you.



                                              Misuse
                                              Misuse of
                                                     of the Services
                                                        the Services

                                              You    also agree
                                               You also   agree not  to misuse
                                                                 not to misuse the
                                                                                the Services,
                                                                                     Services. for
                                                                                                for example.
                                                                                                     example, by
                                                                                                               by interlering
                                                                                                                   interfering with
                                                                                                                               with them
                                                                                                                                     them or
                                                                                                                                           or accessing
                                                                                                                                               accessing them
                                                                                                                                                         them using
                                                                                                                                                               using aa method
                                                                                                                                                                        method
                                              oother
                                                ther than
                                                      than the
                                                            the interface
                                                                interface and
                                                                          and the
                                                                               the instructions
                                                                                   instructions that
                                                                                                  that we
                                                                                                       we provide.
                                                                                                           provide. You
                                                                                                                     You agree
                                                                                                                          agree that
                                                                                                                                 that you
                                                                                                                                       you will not work
                                                                                                                                           will not work around  any technical
                                                                                                                                                         around any   technical
                                              limitations
                                              limitations inin the
                                                               the software
                                                                   software provided
                                                                             provided ttoo you
                                                                                           you asas part
                                                                                                    part of
                                                                                                         of the
                                                                                                            the Services.
                                                                                                                 Services, or
                                                                                                                            or reverse
                                                                                                                               reverse engineer.
                                                                                                                                       engineer, decompile
                                                                                                                                                 decompile or
                                                                                                                                                            or disassemble
                                                                                                                                                                disassemble thethe
                                              software.
                                              software, except
                                                         except andand only
                                                                        only to
                                                                             to the
                                                                                the extent
                                                                                    extent that
                                                                                             that applicable
                                                                                                   applicable law
                                                                                                               law expressly
                                                                                                                    expressly permits.
                                                                                                                               permits. You
                                                                                                                                        You may
                                                                                                                                             may not
                                                                                                                                                 not do any of
                                                                                                                                                     do any  of the  following while
                                                                                                                                                                 the following  while
                                              accessing or
                                              accessing or using the Services:
                                                           using the           (0 access,
                                                                     Services: (i)         tamper wit
                                                                                   access. tamper with,h. or
                                                                                                          or use
                                                                                                             use non-public
                                                                                                                 non-public areas
                                                                                                                            areas of
                                                                                                                                  of the
                                                                                                                                     the Services, our computer
                                                                                                                                         Services, our computer systems.
                                                                                                                                                                systems,
                                              or the
                                              or the technical
                                                     technical delivery
                                                               delivery systems of our
                                                                        systems of     providers; M
                                                                                   our providers;      probe, scan,
                                                                                                  (ii) probe,       or test
                                                                                                              scan, or test the
                                                                                                                            the vulnerability
                                                                                                                                vulnerability of
                                                                                                                                              of any
                                                                                                                                                 any system
                                                                                                                                                     system or
                                                                                                                                                            or network or
                                                                                                                                                               network or
                                              breach or
                                              breach or circumvent
                                                        circumvent any
                                                                   any security
                                                                       security or
                                                                                or authentication  measures; Oii)
                                                                                   alJlhentication measures:       access or
                                                                                                             (iii) access or search
                                                                                                                             search or
                                                                                                                                    or attempt
                                                                                                                                       attempt to
                                                                                                                                               to access
                                                                                                                                                  access or
                                                                                                                                                         or search
                                                                                                                                                            search the
                                                                                                                                                                   the
                                              Services by
                                              Services by any
                                                          any means
                                                              means (automated or otherwise)
                                                                    (automated or otherwise) other
                                                                                             other tthan through our
                                                                                                     han through our currently
                                                                                                                     currently available,
                                                                                                                               available, published interfaces tthat
                                                                                                                                          published interfaces   hat are
                                                                                                                                                                     are
                                              provided by
                                              provided by us
                                                          us (and
                                                             (and only
                                                                  only pursuant
                                                                       pursuant to
                                                                                to the applicable terms
                                                                                   the applicable terms and
                                                                                                        and conditions).
                                                                                                            conditions), unless
                                                                                                                         unless you
                                                                                                                                you have
                                                                                                                                    have been specifically allowed
                                                                                                                                         been specifically allowed to
                                                                                                                                                                   to
                                              do so
                                              do     in aa separate
                                                  so in    separate agreement
                                                                    agreement withwith us
                                                                                       us (NOTE:   crawling or
                                                                                          (NOTE: crawling    or scraping
                                                                                                                scraping the
                                                                                                                          the Services
                                                                                                                              Services inin any
                                                                                                                                             any form.
                                                                                                                                                  form, for
                                                                                                                                                         for any
                                                                                                                                                              any purpose
                                                                                                                                                                  purpose without
                                                                                                                                                                           without our
                                                                                                                                                                                    our
                                              prior written
                                              prior written consent
                                                             consent isis expressly
                                                                          expressly prohibited);
                                                                                    prohibited): (iv) forge any
                                                                                                 (iv) forge any TCP/IP
                                                                                                                 TCP/IP packet   header or
                                                                                                                         packet header     or any
                                                                                                                                               any part
                                                                                                                                                    part of
                                                                                                                                                         of the
                                                                                                                                                             the header
                                                                                                                                                                 header information
                                                                                                                                                                         information
                                              in any
                                              in any email
                                                     email or
                                                           or posting,
                                                              posting. or in any
                                                                       or in any way
                                                                                 way use the Services
                                                                                     use the Services to
                                                                                                      to send
                                                                                                         send altered.
                                                                                                              altered, deceptive
                                                                                                                       deceptive or
                                                                                                                                 or false
                                                                                                                                    false source-identifying
                                                                                                                                          source-identifying information;
                                                                                                                                                             information;
                                              (v) engage
                                              (v)  engage inin any
                                                               any conduct
                                                                    conduct that
                                                                              that violates
                                                                                     violates our Platform M
                                                                                              our Platform  Manipulation   and Spam
                                                                                                              anipulation and   Spam Policy   or any
                                                                                                                                       Policy or any other
                                                                                                                                                     other Rules
                                                                                                                                                            Rules and
                                                                                                                                                                   and Policies    or
                                                                                                                                                                        Policies:; or
                                              (vi) interfere with,
                                              (vi) interfere  with. or
                                                                    or disrupt,
                                                                       d isrupt, (or
                                                                                 {or attempt   to do
                                                                                      attempt to  do so),
                                                                                                     so), the
                                                                                                          the access
                                                                                                              access of
                                                                                                                      of any  user, host
                                                                                                                         any user.  host or
                                                                                                                                         or network.
                                                                                                                                            network, includ
                                                                                                                                                      including,
                                                                                                                                                             ing. without limitation,
                                                                                                                                                                  without limitation.
                                              sending
                                              sending aa virus,
                                                         virus. overloading,
                                                                overloading, flooding,
                                                                             flooding. spamming,
                                                                                       spamming, mail-bombing
                                                                                                 mail-bombing the
                                                                                                              the Services.
                                                                                                                  Services, or
                                                                                                                            or by
                                                                                                                               by scripting
                                                                                                                                  scripting the
                                                                                                                                            the creat ion of
                                                                                                                                                creation  of Content
                                                                                                                                                             Content inin
                                              such aa manner
                                              such      manner as  as to
                                                                      to interfere
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X Terms of ServtCe
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                                                                  If you have any quest ions about these -erms. please contact us.
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                                                                  Effective:
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                                X platform            X Corp.                                  Help                                  Developer resources                    Business resources

                                X.com                 About the company                        Help Center                           Developer home                         Advertise
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                                Accessibility         Brand toolkit                            X for creators                        Forums                                 Resources and guides
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Help Center                                                                                                   Using X   Managing your account   Safety and security   Rules and policies   Resources          Sign in                 Contact Us




                                                  Help Center   Safety and cybercrime   Hateful Conduct




                                                  Hateful Conduct
                                                                Overview
                                                                April 2023
                                                                You may not directly attack other people on the basis of race, ethnicity, national origin,
                                                                caste, sexual orientation, gender, gender identity, religious affiliation, age, disability, or
                                                                serious disease.
                                                                X's mission is to give everyone the power to create and share ideas and information,
                                                                and to express their opinions and beliefs without barriers. Free expression is a human
                                                                right – we believe that everyone has a voice, and the right to use it. Our role is to serve
                                                                the public conversation, which requires representation of a diverse range of
                                                                perspectives.
Did someone say … cookies?                                                                                                                                                                                  Accept all cookies
                                                               We recognize that if people experience abuse on X, it can jeopardize their ability to
X and its partners use cookies to provide you with a better, safer  and faster
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                                                                underrepresented groups, abuse may be more common, more severe in nature, and
                                                                more harmful.
                                                                We are committed to combating abuse motivated by hatred, prejudice or intolerance,
                                                                particularly abuse that seeks to silence the voices of those who have been historically
                                                                marginalized. For this reason, we prohibit behavior that targets individuals or groups
                                                                with abuse based on their perceived membership in a protected category.
                                                                If   you see something on X that you believe violates this policy, please report it to us .



                                                                What is in violation of this policy?
                                                                We will review and take action against reports of accounts targeting an individual or
                                                                group of people with any of the following behavior, whether within Posts or Direct
                                                                Messages.
                                                                Hateful references

                                                                We prohibit targeting individuals or groups with content that references forms of
                                                                violence or violent events where a protected category was the primary target or victims,
                                                                where the intent is to harass. This includes, but is not limited to media or text that refers
                                                                to or depicts:
                                                                     genocides, (e.g., the Holocaust);
                                                                     lynchings.
                                                                Incitement
                                                                We prohibit inciting behavior that targets individuals or groups of people belonging to
                                                                protected categories. This includes:
                                                                     inciting fear or spreading fearful stereotypes about a protected category, including
                                                                     asserting that members of a protected category are more likely to take part in
                                                                     dangerous or illegal activities, e.g., “all [religious group] are terrorists.”
                                                                     inciting others to harass members of a protected category on or off platform, e.g., “I’m
                                                                     sick of these [religious group] thinking they are better than us, if any of you see
                                                                     someone wearing a [religious symbol of the religious group], grab it off them and post
                                                                     pics!“
                                                                     inciting others to discriminate in the form of denial of support to the economic
                                                                     enterprise of an individual or group because of their perceived membership in a
                                                                     protected category, e.g., “If you go to a [religious group] store, you are supporting
                                                                     those [slur], let’s stop giving our money to these [religious slur].” This may not include
                                                                     content intended as political in nature, such as political commentary or content
                                                                     relating to boycotts or protests.
                                                                Note: content intended to incite violence against a protected category is prohibited
                                                                under Violent Speech .
                                                                Slurs and Tropes

                                                                We prohibit targeting others with repeated slurs, tropes or other content that intends to
                                                                degrade or reinforce negative or harmful stereotypes about a protected category. In
                                                                some cases, such as (but not limited to) severe, repetitive usage of slurs, or racist/sexist
                                                                tropes where the context is to harass or intimidate others, we may require Post removal.
                                                                In other cases, such as (but not limited to) moderate, isolated usage where the context
                                                                is to harass or intimidate others, we may limit Post visibility as further described below.

                                                                Dehumanization
                                                                We prohibit the dehumanization of a group of people based on their religion, caste, age,
                                                                disability, serious disease, national origin, race, ethnicity, gender, gender identity, or
                                                                sexual orientation.
                                                                Hateful Imagery
                                                                We consider hateful imagery to be logos, symbols, or images whose purpose is to
                                                                promote hostility and malice against others based on their race, religion, disability,
                                                                sexual orientation, gender identity or ethnicity/national origin. Some examples of hateful
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                            imagery include, but are not limited to:
                                 symbols historically associated with hate groups, e.g., the Nazi swastika;
                                 images depicting others as less than human, or altered to include hateful symbols,
                                 e.g., altering images of individuals to include animalistic features; or
                                 images altered to include hateful symbols or references to a mass murder that
                                 targeted a protected category, e.g., manipulating images of individuals to include
                                 yellow Star of David badges, in reference to the Holocaust.
                            Media depicting hateful imagery is not permitted within live video, account bio, profile or
                            header images. All other instances must be marked as sensitive media. Additionally,
                            sending an individual unsolicited hateful imagery is a violation of this policy.
                            Hateful Profile
                            You may not use hateful images or symbols in your profile image or profile header. You
                            also may not use your username, display name, or profile bio to engage in abusive
                            behavior, such as targeted harassment or expressing hate towards a person, group, or
                            protected category.

                            Do I need to be the target of this content for it to
                            be a violation of the X Rules?
                            Some Posts may appear to be hateful when viewed in isolation, but may not be when
                            viewed in the context of a larger conversation. For example, members of a protected
                            category may refer to each other using terms that are typically considered as slurs.
                            When used consensually, the context behind these terms is not abusive, but a means to
                            reclaim terms that were historically used to demean individuals.
                            When we review this type of content, it may not be clear whether the context is to abuse
                            an individual on the basis of their protected status, or if it is part of a consensual
                            conversation. To help our teams understand the context, we sometimes need to hear
                            directly from the person being targeted to ensure that we have the information needed
                            prior to taking any enforcement action.
                            Note: individuals do not need to be a member of a specific protected category for us to
                            take action. We will never ask people to prove or disprove membership in any protected
                            category and we will not investigate this information.

                            What happens                  if   you violate this policy?
                            Under this policy, we take action against behavior that targets individuals or an entire
                            protected category with hateful conduct, as described above. Targeting can happen in a
                            number of ways, for example, mentions, including a photo of an individual, referring to
                            someone by their full name, etc.
                            When determining the penalty for violating this policy, we consider a number of factors
                            including, but not limited to the severity of the violation and an individual’s previous
                            record of rule violations. The following is a list of potential enforcement options for
                            content that violates this policy:
                                 Making content less visible on X by:
                                   Removing the Post from search results, in-product recommendations, trends,
                                   notifications, and home timelines
                                  Restricting the Post discoverability to the author’s profile
                                  Downranking the Post in replies
                                  Restricting Likes, replies, Reposts, Quote, bookmarks, share, pin to profile, or
                                  engagement counts
                                  Excluding the Post from having ads adjacent to it
                                 Excluding Posts and/or accounts in email or in-product recommendations.
                                 Requiring Post removal.
                                   For example, we may ask someone to remove the violating content and serve a
                                   period of time in read-only mode before they can Post again.
                                 Suspending accounts that violate our Hateful Profile policy.
                            Learn more about our range of enforcement options .
                            If   someone believes their account was suspended in error, they can submit an appeal .




                            Share this article
                                   Post




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      Status                       Company news                 Using X                         Documentation          X for business
      Accessibility                Brand toolkit                X for creators                  Forums                 Resources and guides
      Embed a post                 Jobs and internships         Ads Help Center                 Communities            X for marketers
      Privacy Center               Investors                    Managing your account           Developer blog         Marketing insights
      Transparency Center                                       Email Preference Center         Engineering blog       Brand inspiration
      Download the X app                                        Rules and policies              Developer terms        X Ads Academy
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

 TAMAH JADA CLARK ex rel.
 ANTI-SEMITISM DEFENSE
 LEAGUE,
                                           Civil Action No. 1:23-cv-05840-JPB
                    Plaintiff,

 v.

 X CORP., WORLD JEWISH
 CONGRESS, AMERICAN ISRAEL
 PUBLIC AFFAIRS COMMITTEE

                    Defendants.



                     DEFENDANT X CORP.’S
            MOTION TO DISMISS PLAINTIFF’S COMPLAINT

      Defendant X Corp. respectfully moves this Court to dismiss with prejudice

the Complaint filed by plaintiff Tamah Jada Clark ex rel. Anti-Semitism Defense

League, pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to state a

claim upon which relief may be granted, and pursuant to Federal Rule of Civil

Procedure 12(b)(5) for insufficient service of process on X Corp.

      This Motion to Dismiss is based on this motion, as well as the concurrently

filed Memorandum of Points and Authorities in support of X Corp.’s Motion to

Dismiss, X Corp.’s Request for Judicial Notice in Support of Its Motion to Dismiss
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(the “RJN”), and the Declaration of Kenneth M. Trujillo-Jamison filed in support of

the RJN.

       Dated: February 20, 2024
                                           Respectfully submitted,

                                           SHOOK HARDY & BACON L.L.P.

                                           /s/ Colin K. Kelly
                                           _______________________________
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                                           Counsel for Defendant X Corp.¸ via
                                           Special Appearance Only
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                   LOCAL RULE 7.1(D) CERTIFICATION

      I certify that this Motion has been prepared with one of the font and point

selections approved by the Court in LR 5.1(B).




                                             /s/ Colin K. Kelly
                                             Colin K. Kelly

                                             Counsel for Defendant X Corp.¸ via
                                             Special Appearance Only
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                        CERTIFICATE OF SERVICE

      I hereby certify that on February 20, 2024, I served a copy of the foregoing

MOTION TO DISMISS PLAINTIFF’S COMPLAINT upon all parties of record

in this matter using the CM/ECF System.



                                            /s/ Colin K. Kelly
                                            Colin K. Kelly

                                            Counsel for Defendant X Corp.¸ via
                                            Special Appearance Only
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               IN THE UNITED STATES DISTRICT COURT
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                         ATLANTA DIVISION

 TAMAH JADA CLARK ex rel.
 ANTI-SEMITISM DEFENSE
 LEAGUE,
                                          Civil Action No. 1:23-cv-05840-JPB
                    Plaintiff,

 v.

 X CORP., WORLD JEWISH
 CONGRESS, AMERICAN ISRAEL
 PUBLIC AFFAIRS COMMITTEE

                    Defendants.



            MEMORANDUM OF POINTS AND AUTHORITIES
              IN SUPPORT OF DEFENDANT X CORP.’S
            MOTION TO DISMISS PLAINTIFF’S COMPLAINT




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                                               INTRODUCTION
                  Federal Rule of Civil Procedure 12(b)(6) compels dismissal of Plaintiff’s

            Complaint. Plaintiff alleges she was defamed because X Corp., purportedly in

            cooperation with defendants World Jewish Congress (“WJC”) and American Israel

            Public Affairs Committee (“AIPAC”), removed or concealed content Plaintiff

            published on X (X Corp.’s social media platform previously branded as Twitter),

            and “falsely charged” it with violating X Corp.’s Hateful Conduct Policy.

                  Plaintiff’s defamation claim fails for four independent reasons:

                  First, section 230 of the Communications Decency Act of 1996, 47 U.S.C.

            section 230 (“Section 230”), bars Plaintiff’s claim. Section 230 immunizes X Corp.

            from claims, such as Plaintiff’s, which seek to hold it liable for its content

            moderation decisions, including decisions to remove content from its platform.

                  Second, Plaintiff’s claim is barred by the First Amendment, which protects X

            Corp.’s editorial decisions about the speech it allows to be disseminated on its

            private social media platform, who may make that speech, and how X Corp. enforces

            its content moderation policies.

                  Third, Plaintiff fails to plausibly allege her claim. Plaintiff’s claim is barred

            by X’s Terms of Service, which provide that X Corp. may “remove or . . . limit

            distribution or visibility” of any content on X at its “sole discretion” and “without

            liability.” Plaintiff also fails to plead facts that, if true, would establish any of the




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            elements of a defamation claim.

                  Federal Rule of Civil Procedure 12(b)(5) also requires dismissal of Plaintiff’s

            Complaint, because Plaintiff’s attempts at serving X Corp.—by mailing the

            Summons and Complaint to X Corp.’s corporate address and making a post on X—

            did not comply with the requirements for serving a corporation under Federal Rule

            of Civil Procedure 4(h).

                  Because Section 230, the First Amendment, and the Terms of Service bar

            Plaintiff’s claim as a matter of law, leave to amend should not be granted.

            Accordingly, X Corp. respectfully requests this Court grant X Corp.’s motion to

            dismiss with prejudice.

                           FACTUAL AND PROCEDURAL BACKGROUND
            I.   The Complaint
                  Plaintiff alleges that, between November 3, 2023 and November 8, 2023, X

            Corp., WJC, and/or AIPAC (“Defendants”) made “twenty malicious public notices

            of ‘Hateful Conduct’” by Plaintiff. ECF No. 1 (“Compl.”) at 5, 9-10. The only

            allegedly defamatory statement pleaded by Plaintiff, however, is a summary of a rule

            in X Corp.’s Hateful Conduct Policy: “You may not promote violence against,

            threaten, or harass other people on the basis of race, ethnicity, national origin, sexual

            orientation, gender, gender identity, religious affiliation, age, disability, or serious

            disease.” Id. at 5-6. Plaintiff also alleges Defendants “concealed or removed” content

            she “published to [the] ‘X’ social media platform.” Id. at 5-7.


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                  Plaintiff alleges that because “all 20 charges of ‘Hateful Conduct’ involved

            Jewish organizations . . . the world can only perceive this to mean PLAINTIFF is

            anti-Jewish” Id. at 8. She alleges Defendants “branded” her with “The Mark” of anti-

            Semitism, which affects her “character generally in trade and profession as a Hebrew

            advocate of Semitic persons.” Id. at 9. Plaintiff also alleges that the “false charges

            of ‘Hateful Conduct’ imply that [her] Textbook, Notice, Second Notice, and

            Website,” which she alleges she posted on X (id. at 7), “are slanderous, false, and

            ill-intended to incite violate and promote ‘hate crime.’” Id. at 9. Plaintiff further

            alleges the removal or concealment of her content demonstrates Defendants’

            “aggravated, calculated intent to defame and injure PLAINTIFF with evil motive,

            actual malice, and deliberate oppression.” Id. at 7.

                  Plaintiff asserts a defamation claim against Defendants, purportedly on behalf

            of “Anti-Semitism Defense LeagueTM,” which she alleges is “an unincorporated

            common-law ‘entity’ used to facilitate the trade of PLAINTIFF.” Id. at 4. Plaintiff

            seeks no actual damages, but seeks $12 billion in exemplary damages. Id. at 16-17.

            II.   X’s Terms of Service, Rules, and Hateful Conduct Policy
                  Plaintiff alleges she is a user of X, the social media platform provided by X

            Corp., using the handle “@TheADL_dot_org.” Compl. at 7 (“published to ‘X’ social

            media platform”); see id. at 18 (signature block). Plaintiff created her X account in

            August 2023. See Request for Judicial Notice (“RJN”), Ex. 4 (“Joined August




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            2023”).1

                  In creating her account, Plaintiff necessarily agreed to X’s Terms of Service

            (“Terms”). Id., Ex. 5 (“By signing up, you agree to the Terms of Service and Privacy

            Policy”), Ex. 1 at 1 (“By using the Services, you agree to be bound by these Terms.”).

            By continuing to use X, Plaintiff agreed to be bound by the Terms. Id., Ex. 1 at 3

            (“We may revise these Terms . . . By continuing to access or use the Services after

            those revisions become effective, you agree to be bound by the revised Terms.”),

            Ex. 2 at 4 (same).

                  The version of the Terms in place in November 2023 when Plaintiff was

            allegedly defamed gives X Corp. the right to “remove or . . . limit distribution or

            visibility” of content on Twitter “without liability to [the user]” and to create “limits

            on use” at its “sole discretion.” Id., Ex. 2 at 2. Those Terms also include X Corp.’s

            disclaimer of liability for the “deletion” of content, and a limitation of liability clause

            which (a) expressly applies to any theory of liability, including tort; and (b) prohibits



            1
              X Corp.’s RJN, filed concurrently, seeks judicial notice of the version of the Terms
            to which Plaintiff agreed when she created her X account in August 2023 (Ex. 1),
            and the version of the Terms in effect in November 2023 when she alleged
            defamation occurred (Ex. 2). X Corp. also seeks judicial notice of its Hateful
            Conduct Policy that was in place when Plaintiff was allegedly defamed (Ex. 3), and
            which is referenced and quoted in the Complaint (Compl. at 8). Finally, X Corp.
            seeks judicial notice of a true and correct copy of the sign-up page for new X account
            holders as it existed in August 2023, when Plaintiff created her X account (Ex. 4),
            and of Plaintiff’s X account webpage referenced in the Complaint, which shows she
            created her X account in August 2023 (Ex. 5).


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            liability for indirect, incidental, special, consequential, or punitive damages related

            to a user’s “access to or use of or inability to access or use the services.” Id., Ex. 2

            at 4; see also id., Ex. 1 at 3. The Terms also state that the “laws of the State of

            California, excluding its choice of law provisions, will govern these Terms and any

            dispute that arises between you [i.e., Plaintiff] and us [i.e., X Corp.].” Id., Ex. 2 at

            4; id., Ex. 1 at 3.

                   X’s Rules (the “Rules,” which, with the Terms and the Privacy Policy

            comprise the User Agreement) “outline conduct that is prohibited” by users on X.

            Id., Ex. 1 at 2; Ex. 2 at 2. X’s Hateful Conduct Policy was part of the Rules in effect

            in November 2023, when Plaintiff alleges she was defamed. Id., Ex. 3. That policy

            provides that users “may not directly attack other people on the basis of race,

            ethnicity, national origin, caste, sexual orientation, gender, gender identity, religious

            affiliation, age, disability, or serious disease.” Id. at 1. It also provides, “[u]nder this

            policy, we take action against behavior that targets individuals or an entire protected

            category with hateful conduct, as described above.” Id. at 2. The policy includes a

            “list of potential enforcement options for content that violates this policy,” including

            “[m]aking content less visible on X,” “[r]equiring Post removal,” and “[s]uspending

            accounts that violate our Hateful Profile policy.” Id.

            III.   Relevant Procedural History
                   Plaintiff filed the Complaint on December 19, 2023. On January 21, 2024,




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            Plaintiff filed an “Affirmation of Service and Notice of Default” (ECF No. 18),

            stating Plaintiff attempted to serve X Corp. the summons and Complaint by mailing

            a copy via Certified Mail to X Corp.’s corporate address in San Francisco, California

            and by making a post on X which included the X handle “@X” and included an

            image of the Summons. Id. at 5, 25-26.2

                                           LEGAL STANDARD
                  “To survive a motion to dismiss, a complaint must contain sufficient factual

            matter, accepted as true, to state a claim to relief that is plausible on its face.”

            Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotations and citation omitted) (Iqbal).

            “[P]lausibility” requires the plaintiff to plead “factual content that allows the court

            to draw the reasonable inference that the defendant is liable.” Id. at 678; Bell Atl.

            Corp. v. Twombly, 550 U.S. 544, 556 (2007). “Threadbare recitals of the elements

            of a cause of action, supported by mere conclusory statements, do not suffice.” Iqbal,

            556 U.S. at 678.

                  “[A]lthough we are to give liberal construction to the pleadings of pro se

            litigants, we nevertheless have required them to conform to procedural rules.”

            Pouyeh v. Bascom Palmer Eye Inst., 613 F. App’x 802, 806 (11th Cir. 2015) (quoting




            2
             On February 8, 2024, Plaintiff filed a “Motion for Default Judgement [sic]” (ECF
            No. 20), to which X Corp. is responding in a concurrently filed response in
            opposition.


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            Albra v. Advan, Inc., 490 F.3d 826, 829 (11th Cir. 2007)).

                           ARGUMENT AND CITATION OF AUTHORITY
            I.    Plaintiff’s Complaint Should Be Dismissed for Failure to State a Claim
                  A.     Section 230 Bars Plaintiff’s Claim

                  As a threshold legal matter, Section 230 bars Plaintiff’s defamation claim

            because it seeks to hold X Corp. liable for its “traditional editorial functions,”

            including its decisions about what content users may post on X, its social media

            platform. 47 U.S.C. §§ 230(c)(1), 230(e)(3); see Illoominate Media, Inc. v. CAIR

            Found., No. 19-CIV-81179-RAR, 2019 WL 13168767, at *3 (S.D. Fla. Nov. 19,

            2019), aff’d on other grounds sub nom. Illoominate Media v. CAIR Florida, Inc.,

            841 F. App’x 132 (11th Cir. 2020) (“Under [Section 230], Twitter cannot be held

            liable for its decision to exercise traditional editorial functions, such as moderating

            content on its platform.”) (dismissing claims alleging defendant conspired with

            Twitter where defendant allegedly “reported [plaintiff’s] account and convinced

            Twitter to ban [plaintiff]”); McCall v. Zotos, No. 22-11725, 2023 WL 3946827, at

            *3 (11th Cir. June 12, 2023) (“Lawsuits seeking to hold a service provider . . . liable

            for its exercise of a publisher’s traditional editorial functions—such as deciding

            whether to publish, withdraw, postpone, or alter content—are barred.”).

                  Under Section 230(c)(1), “[n]o provider or user of an interactive computer

            service shall be treated as the publisher or speaker of any information provided by

            another information content provider.” Section 230(e)(3) provides, aside from


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            exceptions not relevant here, “[n]o cause of action may be brought and no liability

            may be imposed under any State or local law that is inconsistent with this section.”

                  The Eleventh Circuit has construed Section 230 immunity “broad[ly].”

            Dowbenko v. Google Inc., 582 F. App’x 801, 804 (11th Cir. 2014) (citing Almeida

            v. Amazon.com, Inc., 456 F.3d 1316, 1321 (11th Cir. 2006)). Accordingly, courts

            apply Section 230 to “protect websites not merely from ultimate liability, but [also]

            from having to fight costly and protracted legal battles.” Fair Hous. Council of San

            Fernando Valley v. Roommates.com, LLC, 521 F.3d 1157, 1175 (9th Cir. 2008)

            (“Roommates”); Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250,

            254-255 (4th Cir. 2009) (Section 230 provides “immunity from suit rather than a

            mere defense to liability”) (citation omitted). Further, given its “capacious

            language,” “attempted end-run[s] around section 230” should be rejected. See

            Hassell v. Bird, 5 Cal. 5th 522, 545 (2018); Illoominate Media, 2019 WL 13168767,

            at *3 (rejecting attempted “end-run around [Section 230’s] explicit prohibition that

            Twitter cannot be held liable for its decision to moderate content on its platform”).

                  Here, all three prongs of the Section 230 analysis are met: (1) X Corp. is an

            “interactive computer service” provider; (2) Plaintiff’s content is “information

            provided by another information provider”; and (3) Plaintiff’s allegations treat X

            Corp. as a “publisher” of that content. See 47 U.S.C. § 230 (c)(1); Dowbenko, 582

            F. App’x at 804-05. Section 230 therefore provides X Corp. immunity from this suit.



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                         1.     X Corp. is an “interactive computer service” provider.
                  Section 230 broadly defines “interactive computer service” as “any

            information service, system, or access software provider that provides or enables

            computer access by multiple users to a computer . . . service.” 47 U.S.C. § 230(f)(2).

            As courts unanimously have held, social media platforms, including Twitter, are

            “interactive computer service providers.” NetChoice, LLC v. Att’y Gen., Fla., 34

            F.4th 1196, 1220 (11th Cir. 2022), cert. denied in part, 144 S. Ct. 69 (2023), granted

            in part sub nom. Moody v. NetChoice, 144 S. Ct. 478 (2023) (“‘interactive computer

            services’—like social-media platforms”); Mezey v. Twitter, Inc., No. 1:18-cv-21069-

            KMM, 2018 WL 5306769, at *1 (S.D. Fla. July 19, 2018) (“Twitter . . . is an

            interactive computer service.”); Morton v. Twitter, Inc., No. CV 20-10434-GW-

            JEMX, 2021 WL 1181753, at *3 (C.D. Cal. Feb. 19, 2021) (“Twitter provides the

            prototypical service entitling it to protections of [Section 230]” and “[e]very decision

            the Court has seen to consider the issue has treated Twitter as an interactive computer

            service provider, even at the motion to dismiss stage.”) (citation omitted). Plaintiff’s

            allegations require the same conclusion. Compl. at 7 (referring to “‘X’ social media

            platform”). Thus, X Corp. is an “interactive computer service” provider within the

            meaning of the first prong of the Section 230 analysis. 47 U.S.C. § 230(c)(1).

                         2.     Plaintiff’s content posted on X is information provided by
                                another “information content provider.”

                   Section 230 defines an “information content provider” as “any person or



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            entity that is responsible, in whole or in part, for the creation or development of

            information provided through the Internet or any other interactive computer

            service.” 47 U.S.C. § 230(f)(3). Content posted by third-party users of the X social

            media platform is “information provided by another information content provider”

            within in the meaning of the second prong of the Section 230 analysis. See 47 U.S.C.

            § 230(c)(1); Mezey, 2018 WL 5306769, at *1 (“Plaintiff is the information content

            provider as he created the relevant content associated with his Twitter account.”);

            Dowbenko, 582 F. App’x at 804 (Section 230 has been applied to provide immunity

            from “any cause of action that would make service providers liable for information

            originating with a third-party user of the service.”) (citing Almeida, 456 F.3d at

            1321).

                  Plaintiff’s defamation claim against X Corp. is premised on X Corp.’s alleged

            moderation of content “PLAINTIFF furnished . . . and subsequently published to

            ‘X’ social media platform,” which it alleges X Corp. “concealed or removed” and

            “falsely charged” as violating its Hateful Conduct Policy. Compl. at 5, 7, 9. In other

            words, Plaintiff seeks to hold X Corp. liable for its decisions regarding “information

            provided by another information content provider”—i.e., Plaintiff. See Dowbenko,

            582 F. App’x. 801 (content “authored and posted” by platform users is “information

            provided by another content provider,” regardless of the fact that Google

            manipulated its visibility); Yuksel v. Twitter, Inc., 2022 WL 16748612, at *3 (N.D.



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            Cal. Nov. 7, 2022) (Plaintiff “seeks to hold Twitter liable for decisions regarding

            ‘information provided by another information content provider’—that is,

            information that he, rather than Twitter, provided.”).3 Thus, the second prong of the

            Section 230 analysis is satisfied. 47 U.S.C. § 230(c)(1).

                         3.    Plaintiff’s claim seeks to treat X Corp. as a “publisher.”
                  Section 230’s third prong is satisfied because Plaintiff seeks to impose

            liability on X Corp. for its moderation of Plaintiff’s content posted on its social

            media platform—i.e., protected “publishing” activity. 47 U.S.C. § 230(c)(1); see

            Mezey, 2018 WL 5306769, at *1 (Section 230’s third prong satisfied where “Plaintiff

            seeks to hold Twitter ‘liable for its exercise of a publisher’s traditional editorial

            functions—such as deciding whether to publish, withdraw, postpone or alter

            content.’”) (quoting Roommates, 521 F.3d at 1170-71 (“[A]ny activity that can be

            boiled down to deciding whether to exclude material that third parties seek to post



            3
              To the extent Plaintiff seeks to hold X Corp. liable for certain statements by WJC
            and AIPAC on X, (see Compl. at 10 (“done and directed to be done . . . in the name
            of [WJC] and [AIPAC”)), such claims also are barred by Section 230. Swain v.
            Weinstein, No. CV620 082, 2020 WL 8575175, at * 2 (S.D. Ga. Oct. 23, 2020),
            report and recommendation adopted, No. CV620 082, 2021 WL 620963 (S.D. Ga
            Feb. 17, 2021) (holding immunity applied because the defendant was not responsible
            for the relevant third-party posts); Davis v. Raycom Media, Inc., No. 1:12-CV-106
            (TQL), 2013 WL 12320413, at *3 (M.D. Ga. Aug. 7, 2013) (“any claims against the
            Defendant for reader-posted comments to news stories are barred”); Hopkins v. Doe,
            No. 11-cv-100, 2011 WL 5921446, at *2 (N.D. Ga., Nov. 28, 2011) (claims based
            on defendant’s failure to police thirty-party conduct on its website were barred by
            Section 230).


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            online is perforce immune under Section 230.”)).

                   On its face, Plaintiff’s defamation claim is premised on X Corp.’s alleged

            “conceal[ment] or remov[al]” of Plaintiff’s content and “charging” that it violates X

            Corp.’s Hateful Conduct Policy. See Compl. at 5, 7. X Corp.’s decisions about

            whether to limit visibility or remove content posted by third-party users on X, and

            whether third-party content violates its policies, are publishing conduct protected by

            Section 230. See, e.g., Mezey, 2018 WL 5306769, at *1; Jones v. Twitter, Inc., No.

            CV RDB-20-1963, 2020 WL 6263412, at *2 (D. Md. Oct. 23, 2020) (Section 230

            barred defamation claim, among others, premised on plaintiff’s account suspension

            for “violating Twitter’s Terms of Service, specifically the Twitter Rules against

            hateful conduct” because such claims “clearly seek to hold Twitter liable as a

            publisher of third-party content, as [it] relates to Twitter’s decision not to publish

            Plaintiff’s content”); Murphy v. Twitter, Inc., 60 Cal. App. 5th at 29-30 (2021)

            (Section 230’s third prong satisfied because “allegations that Twitter ‘enforced its

            Hateful Conduct Policy in a discriminatory and targeted manner’ against [plaintiff]

            . . . by removing her tweets and suspending her account amount to attacks on

            Twitter’s interpretation and enforcement of its own general policies,” which are

            protected publishing activities). The third prong of the Section 230 analysis is

            satisfied.

                   Because all three prongs of the Section 230 analysis are met, Section 230



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            immunizes X Corp. from Plaintiff’s defamation claim, which seeks to hold X Corp.

            liable for its “traditional editorial functions,” including its decisions about what

            content Plaintiff may post on its platform. See Illoominate Media, 2019 WL

            13168767, at *3. Accordingly, the Complaint should be dismissed with prejudice.

                  B.     The First Amendment Bars Plaintiff’s Claim
                  Plaintiff’s claim also is barred by the First Amendment, which protects X

            Corp.’s editorial decisions about what content is disseminated on its platform, who

            may disseminate that content, and how X Corp. enforces its content-moderation

            policies. “Social-media platforms exercise editorial judgment that is inherently

            expressive. When platforms choose to remove users or posts, deprioritize content in

            viewers’ feeds or search results, or sanction breaches of their community standards,

            they engage in First-Amendment-protected activity.” NetChoice, LLC, 34 F.4th

            1196 at 1213. As the Eleventh Circuit reasoned:

                  More particularly, when a platform removes or deprioritizes a user or
                  post, it makes a judgment about whether and to what extent it will
                  publish information to its users—a judgment rooted in the platform’s
                  own views about the sorts of content and viewpoints that are valuable
                  and appropriate for dissemination in its site.

            Id. at 1210. Other courts similarly have recognized that “[l]ike a newspaper or a

            news network, [X Corp.] makes decisions about what content to include, exclude,

            moderate, filter, label, restrict or promote, and those decisions are protected by the

            First Amendment.” O’Handley v. Padilla, 579 F. Supp. 3d 1163, 1186-88 (N.D. Cal.

            2022), aff’d on other grounds sub nom. O’Handley v. Weber, 62 F.4th 1145 (9th Cir.


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            2023) (dismissing on First Amendment grounds claims based in part on Twitter

            account suspension); Mac Isaac v. Twitter, Inc. 557 F. Supp. 3d 1251, 1261 (S.D.

            Fla. 2021) (finding that X Corp. “has a First Amendment right to decide what to

            publish and what not to publish” (internal quotation marks omitted); see also e-

            ventures Worldwide, LLC v. Google, Inc., No. 214CV646FTMPAMCM, 2017 WL

            2210029, at *4 (M.D. Fla. Feb. 8, 2017) (holding Google’s decisions to remove

            content is protected because the “First Amendment protects these decisions, whether

            they are fair or unfair, or motivated by profit or altruism.”).

                  Because Plaintiff seeks to hold X Corp. liable for its editorial decisions about

            what content is disseminated on its private social media platform and for its

            enforcement of its content moderation policies (Compl. at 5, 7), the First

            Amendment therefore bars Plaintiff’s claim. See, e.g., NetChoice, 34 F.4th at 1210.

                  C.     Plaintiff Fails to State a Plausible Claim for Defamation
                         1.     California law applies to Plaintiff’s claim against X Corp.
                  “A federal court sitting in diversity applies the conflict-of-law rules of the

            forum state.” Ins. House, Inc. v. Ins. Data Processing, Inc., No. 1:07-CV-0286-

            BBM, 2008 WL 11333547, at *6 (N.D. Ga. Nov. 19, 2008) (citation omitted). Under

            Georgia choice-of-law rules, “in the absence of contrary public policy, [Georgia]

            courts normally will enforce a contractual choice of law provision.” Nationwide

            Logistics, Inc. v. Condor Transp., Inc., 270 Ga. App. 277, 280 (2004). Further,

            Georgia courts enforce broad choice-of-law provisions that encompass tort claims.


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            Cooper v. Meridian Yachts, Ltd., 575 F.3d 1151, 1162 (11th Cir. 2009) (affirming

            district court’s application of contractual choice of law provision to tort claims).

                  In agreeing to X’s Terms, Plaintiff agreed that California law “will govern . .

            . any dispute that arises between” Plaintiff and X Corp. RJN, Ex. 2 at 4; id., Ex. 1 at

            3. This language “is clearly meant to be read broadly” to encompass tort claims like

            Plaintiff alleges here. Cooper, 575 F.3d at 1162; see Illoominate Media, 841 F.

            App’x at 137 (where tort was alleged, noting that “California law . . . governs

            Twitter’s Terms of Service”). Accordingly, California law governs Plaintiff’s claim.

                         2.     Plaintiff’s claim is barred by X’s Terms.
                  Plaintiff’s claim is barred because it arises from X Corp.’s alleged

            determination that Plaintiff’s content violated X Corp.’s Hateful Conduct Policy and

            its concealment or removal of that content—all which X Corp. is expressly permitted

            to do by the Terms to which Plaintiff agreed when creating its X account and by

            using X.

                  The Terms give X Corp. the right to “create limits on use . . . at [its] sole

            discretion at any time.” RJN Ex. 2 at 2 (§ 4 “Using the Services”); Ex. 1 at 2 (same).

            The Terms also give X Corp. the right to “remove or refuse to distribute any

            Content,” and “limit distribution or visibility of any Content . . . without liability . .




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            . .”4 Id. The Terms therefore expressly authorized X Corp. to take the alleged content

            moderation decisions Plaintiff challenges.

                  Likewise, in the Terms X Corp. disclaimed “all responsibility and liability for

            . . . the deletion of . . . any Content.” Id., Ex. 1 at 2; id., Ex. 2 at 4. The Terms also

            provide:

                  TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE
                  LAW, [X CORP.] SHALL NOT BE LIABLE FOR ANY INDIRECT,
                  INCIDENTAL, SPECIAL, CONSEQUENTLY OR PUNITIVE
                  DAMAGES . . . , RESULTING FROM . . . YOUR . . . USE OF OR
                  INABILITY TO ACCESS OR USE THE SERVICES.

            Id., Ex. 2 at 4; Ex. 1 at 3 (same). These provisions prevent Plaintiff from holding X

            Corp. liable for the moderation decisions Plaintiff challenges.

                  “Limitation of liability clauses ‘have long been recognized as valid in

            California’” and may be used at the pleading stage to reject a party’s claims. Lewis

            v. YouTube, LLC, 244 Cal. App. 4th 118, 125 (2015) (enforcing limitation of liability

            clause and affirming sustaining of demurrer). These clauses are particularly

            “appropriate when one party is offering a service for free to the public.” Id.; see also

            Murphy, 60 Cal. App. 5th at 36 (X Corp., like other “service providers that offer free

            services to Internet users may have a legitimate commercial need to limit their


            4
              Consistent with this provision, the Hateful Conduct Policy sets forth certain of X
            Corp.’s “enforcement options for content that violates this policy,” including
            “[m]aking content less visible on X,” “[r]equiring Post removal,” and “[s]uspending
            accounts that violate our Hateful Profile policy.” RJN, Ex. 3 at 2.


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            liability”). Furthermore, courts routinely enforce online platforms’ limitation of

            liability clauses in suits arising out of conduct protected by the terms of service. See,

            e.g., Darnaa, LLC v. Google Inc., 236 F. Supp. 3d 1116, 1123 & n.3 (N.D. Cal.

            2017) (enforcing YouTube’s limitation of liability clause and dismissing complaint),

            aff’d sub nom. 756 F. App’x 674 (9th Cir. 2018); Bass v. Facebook, Inc. 394

            F.Supp.3d 1024, 1037 (N.D. Cal. 2019) (enforcing Facebook’s limitation-of-liability

            clause).

                  In short, the Terms’ disclaimers and limitations on liability are enforceable on

            Plaintiff, and protect X Corp. from precisely this type of lawsuit, which challenges

            X Corp’s content moderation decisions on X. See Illoominate Media, 841 F. App’x

            at 137 (noting, “[i]n fact, Twitter’s Terms of Service . . . allow Twitter to ban

            [plaintiff] from its platform for any reason at all”); Trump v. Twitter Inc., 602 F.

            Supp. 3d 1213, 1227 (N.D. Cal. 2022) (X Corp.’s User Agreement “gave Twitter

            contractual permission to act as it saw fit with respect to any account or content for

            any or no reason”); Cox v. Twitter, Inc., No. CV 2:18-2573-DCN-BM, 2019 WL

            2513963, at *4 (D.S.C. Feb. 8, 2019), report and recommendation approved, No.

            2:18-CV-2573 DCN, 2019 WL 2514732 (D.S.C. Mar. 8, 2019) (Plaintiff “failed to

            state a claim, as [the Terms] clearly provide[] that the Defendant reserves the right

            to remove content that it deems to have violated the User Agreement,” including

            “[t]he Twitter Rules, which . . . prohibit postings . . . expressing hate . . . based on



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            religious affiliation”).

                   Because Plaintiff’s claim is barred by the Terms, the Complaint should be

            dismissed with prejudice.

                          3.     Plaintiff fails to plausibly allege a defamation claim.
                   The elements of a defamation claim are: “(a) a publication that is (b) false, (c)

            defamatory, and (d) unprivileged, and that (e) has a natural tendency to injure or that

            causes special damage.”5 Taus v. Loftus, 40 Cal. 4th 683, 720 (2007) (citation

            omitted). Plaintiff fails to plausibly allege any of these elements.

                   Plaintiff alleges it was defamed by “libels”—twenty purported “public

            notices” “published” on Twitter, which “falsely charged” that Plaintiff’s content

            violated X Corp.’s Hateful Conduct Policy.6 Compl. at 5-6. Plaintiff further alleges

            that because “all 20 charges of ‘Hateful Conduct’ involved Jewish organizations and

            persons, the world can only perceive this to mean PLAINTIFF is anti-Jewish, and



            5
              Similarly, under Georgia law the elements of a defamation claim are: “(1) a false
            and defamatory statement concerning the plaintiff; (2) an unprivileged
            communication to a third party; (3) fault by the defendant amounting at least to
            negligence; and (4) special harm or the actionability of the statement irrespective of
            special harm.” StopLoss Specialists, LLC v. VeriClaim, Inc., 340 F. Supp. 3d 1334,
            1346 (N.D. Ga. 2018) (citing Smith v. DiFrancesco, 341 Ga. App. 786, 787–88
            (2017), cert. denied (Dec. 11, 2017)).
            6
              Plaintiff also alleges in conclusory fashion that X Corp. “slander[ed]” her “orally”
            (Compl. at 1-2), but she does not identify any alleged oral statement by X Corp. To
            the extent Plaintiff purports to premise her defamation claim on any slander, she fails
            to state a claim where the only alleged defamatory statement was alleged to be
            “published” on X. Compl. at 5-6.


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            well as anti-Semitic.” Id. at 8 (§ IV). However, the only allegedly defamatory

            statements Plaintiff can muster is a summary of a rule in X Corp.’s Hateful Conduct

            Policy: “You may not promote violence against, threaten, or harass other people on

            the basis of race, ethnicity, national origin, sexual orientation, gender, gender

            identity, religious affiliation, age, disability, or serious disease.”7 Id. at 2, 5-6.

                   These allegations fall well short of plausibly alleging X Corp. publicized any

            false or defamatory statement, let alone did so with the requisite intent for a

            defamation claim. The only allegedly defamatory statement identified by Plaintiff is

            a truthful summary of a X Rule—that neither Plaintiff nor any other user is permitted

            to “promote violence against, threaten, or harass other people on the” listed bases.8

                   Moreover, although Plaintiff repeatedly pleads in conclusory fashion that, for

            example, “DEFENDANTS implied PLAINTIFF is guilty of anti-Semitism” Compl.

            6, she does not plead X Corp. made any such statement. Under California law,


            7
              The statement seems to summarize X Corp.’s Hateful Conduct Policy, which
            provides: “You may not directly attack other people on the basis of race, ethnicity,
            national origin, caste, sexual orientation, gender, gender identity, religious
            affiliation, age, disability, or serious disease.” RJN, Ex. 3 at 1 (Overview).
            8
               Additionally, “[i]n a defamation action the threshold question is whether the
            statement on which a plaintiff's claim is based, specifically refers to, or is ‘of and
            concerning’” the plaintiff. Yow v. Nat’l Enquirer, Inc., 550 F. Supp. 2d 1179, 1184
            (E.D. Cal. 2008). Plaintiff fails to allege how a general statement of X’s Rules
            specifically refers to or is “of and concerning” Plaintiff. Georgia law applies the
            same standard. See Fiske v. Stockton, 320 S.E.2d 590, 592–93 (Ga. Ct. App. 1984)
            (“If the words used really contain no reflection on any particular individual, no
            averment or innuendo can make them defamatory.”).


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            “words constituting an alleged libel must be specifically identified, if not pleaded

            verbatim, in the complaint.”9 Kahn v. Bower, 232 Cal. App. 3d 1599, 1612 n.5

            (1991) (emphasis added). Plaintiff’s allegations of an unidentified, implied

            statement not specifically attributed to anyone are insufficient to allege a libel,

            particularly as she contends the purported statements are publicly available.10

            Compl. at 9 (“Twenty malicious public notices”); Med. Marijuana, Inc. v.

            ProjectCBD.com, 46 Cal. App. 5th 869, 894 (2020) (“plaintiffs have a written copy

            of the article published by the defendants; there is simply no justification for them

            to set forth in their complaint only the ‘substance’ of the statements that they claim

            are defamatory, instead of the actual statements”) (emphasis added).

                  Plaintiff’s attempt at alleging defamation per se based on the statements

            described above (Compl. at 8-9 (alleging claims “are actionable per se”) fares no

            better. A statement can be defamatory per se only if a listener can “recognize the

            defamatory meaning without knowledge of specific facts and circumstances,

            extrinsic to the publication, which are not matters of common knowledge rationally



            9
             Georgia law applies the same pleading standard. See Sarver v. Jackson, No. CIV.A.
            2:08-CV-0077, 2008 WL 4911836, at *4 (N.D. Ga. Nov. 13, 2008), aff'd, 344 F.
            App’x 526 (11th Cir. 2009) (“general allegations, without identifying specific
            statements, are insufficient to state a claim for slander, libel or defamation”).
            10
              Likewise, while Plaintiff alleges X Corp. “concealed or removed” her content
            (Compl. at 7), these allegations of content moderation by X Corp. do not and cannot
            constitute allegations of a publicized defamatory statement.


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            attributable to all reasonable persons.” McGarry v. Univ. of San Diego, 154 Cal.

            App. 4th 97, 112 (2007) (cleaned up). Not only would a listener not “recognize the

            defamatory meaning” of the only allegedly defamatory statement—a summary of a

            Twitter Rule—the statement also “would be protected because the statement is true.”

            See e-ventures Worldwide, 2017 WL 2210029, at *4 (“But even if Google had

            published a press release that e-venutures’ websites were violating Google's

            guidelines, that publication would be protected because the statement is true.”).

                  In sum, Plaintiff fails to plausibly allege the elements of a defamation claim.

            Plaintiff’s Complaint against X Corp. therefore should be dismissed.11

            II.   Federal Rule of Civil Procedure 12(b)(5) Requires Dismissal of
                  Plaintiff’s Complaint Because Plaintiff Failed to Properly Serve X Corp.
                  Plaintiff’s Complaint should be dismissed pursuant to Federal Rule of Civil

            Procedure 12(b)(5) for insufficient service of process. Plaintiff failed to properly




            11
               Finally, to the extent Tamah Jada Clark purports to assert her claim on behalf of
            the Anti-Semitism Defense League, her claim is procedurally improper because that
            allegedly “unincorporated common-law ‘entity’” cannot appear pro se, and must be
            represented by an attorney. See Local Rule 83.1(E)(2)(H) (“if the client is a
            corporation or organization, it may only be represented by an attorney, who must
            sign all pleadings and papers submitted to the Court”); McDermott v. Stacks Publ’g
            Grp., No. 1:18-cv-05767-ELR, 2019 WL 13244544, at *1 (N.D. Ga. Apr. 12, 2019)
            (striking answer filed by the “owner” of “an artificial, unincorporated entity” on the
            grounds that the entity could appear only through an attorney); see also Palazzo v.
            Gulf Oil Corp., 764 F.2d 1381, 1385 (11th Cir. 1985) (artificial entities, such as
            corporations and limited partnerships, must be represented by counsel).




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            serve X Corp. via any of the authorized methods for serving a corporation under

            Federal Rule of Civil Procedure 4(h).

                  Plaintiff attempted to serve X Corp. by sending a copy of the Summons and

            Complaint via Certified Mail, addressed to X Corp.’s corporate headquarters in San

            Francisco, and by making a post on X including the handle “@X” that included an

            image of the Summons. ECF No. 18 at 5, 25, and 31. These attempts at service do

            not and cannot demonstrate Plaintiff “deliver[ed] a copy of the summons and of the

            complaint to an officer, a managing or general agent, or any other agent authorized

            by appointment or by law to receive service of process,” as required by Fed. R. Civ.

            P. 4(h)(1)(B). Escudero v. Fed. Nat’l Mortg. Ass’n, No. 2:14-CV-20-WCO, 2014

            WL 12544771, at *2 (N.D. Ga. Apr. 3, 2014) (“service by mail is insufficient under

            4(h)(1)(B)”).

                  Plaintiff also did not effectuate service under Georgia law or California law

            under Federal Rule of Civil Procedure 4(e)(1). See Fed. R. Civ. P. 4(h)(1)(A)

            (permitting service of a corporation “in the manner prescribed by Rule 4(e)(1)); Fed.

            R. Civ. P. 4(e)(1) (permitting service by “following state law for serving a summons

            in an action brought in courts of general jurisdiction in the state where the district

            court is located or where service is made”).

                  Under Georgia law, Plaintiff was required to personally serve the summons

            and Complaint on certain authorized representatives of X Corp. O.C.G.A. § 9-11-



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            4(e); see, e.g., Mallory v. DHI Mortg. Co., No. 1:18-CV-4579-WMR, 2018 WL

            9917672, at *6 (N.D. Ga. Nov. 29, 2018) (“requires personal service upon the

            appropriate corporate official or authorized agent”). Although a corporation foreign

            to Georgia like X Corp. may be served by mail if it fails to maintain a registered

            agent in Georgia, O.C.G.A. § 14-2-504(b), X Corp. maintains one. See

            https://ecorp.sos.ga.gov/BusinessSearch/BusinessInformation?businessId=3930274

            &businessType=Foreign%20Profit%20Corporation&fromSearch=True

            (designating as X Corp.’s registered agent CT Corporation System, at a physical

            address in Lawrenceville, Georgia). Thus, Plaintiff’s mailing of the Summons and

            Complaint to X Corp.’s corporate address did not comply with the requirements to

            serve X Corp. under Georgia law.

                  Plaintiff’s attempt at service also failed to comply with California law,

            because Plaintiff did not “deliver[] a copy of the summons and complaint” to either

            X Corp.’s registered “agent for service of process” or X Corp.’s “president, chief

            executive officer, or other head of the corporation, a vice president, a secretary or

            assistant secretary, a treasurer or assistant treasurer, a controller or chief financial

            officer, a general manager, or a person authorized by the corporation to receive

            service of process,” Cal. Code of Civ. P. § 416.10; nor did she file a notice and

            acknowledgement signed by X Corp. that mail service was effectuated, Doc. 18 at

            4-5, 25; Cal. Civ. P. § 415.30; see Austin v. Lyft, Inc., 21-CV-09345-JCS, 2021 WL



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            6617452, at *1 (N.D. Cal. Dec. 13, 2021) (service by certified mail is improper under

            Rule 4(h)(1)(A), and service by mail under California law “is valid only if the

            complaint and summons are served with the required notice of acknowledgement

            and an envelope addressed to the sender with prepaid postage and the recipient has

            signed and returned the acknowledgement of receipt.”).12

                   Because Plaintiff failed to properly serve X Corp., this Complaint should be

            dismissed pursuant to Federal Rule of Civil Procedure 12(b)(5).

            III.   The Court Should Not Grant Leave to Amend
                   Although Federal Rule of Civil Procedure 15(a) states that courts “should

            freely give leave [to amend] when justice so requires,” dismissal without leave to

            amend is appropriate where “amendment is futile”—even for pro se plaintiffs. See

            Hopkins, 2011 WL 5921446, at *1 (amendment would be futile because action

            barred by Section 230); Burger King Corp. v. Weaver, 169 F.3d 1310, 1320 (11th

            Cir. 1999) (“denial of leave to amend is justified by futility when the complaint as

            amended is still subject to dismissal”) (cleaned up). That is the case here. As

            explained above, Plaintiff’s claim is barred by Section 230, the First Amendment,

            and the Terms governing Plaintiff’s use of X. See Argument, § I.A.-C.2, supra. No



            12
              Nor did Plaintiff serve X Corp. by publication, which can be made only “if upon
            affidavit it appears to the satisfaction of the court in which the action is pending that
            the party to be served cannot with reasonable diligence be served in another manner
            specified.” Cal. Code of Civ. P. § 415.50.


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            amendment to the Complaint can cure these fatal defects. Accordingly, leave to

            amend should not be granted.

                                             CONCLUSION
                  For all these reasons, Plaintiff’s Complaint be dismissed with prejudice.


                  Dated: February 20, 2024
                                                    Respectfully submitted,

                                                    SHOOK HARDY & BACON L.L.P.

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                                                    Special Appearance Only




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                               LOCAL RULE 7.1(D) CERTIFICATION


                  I certify that this Memorandum has been prepared with one of the font and

            point selections approved by the Court in LR 5.1(B).


                                                           /s/ Colin K. Kelly
                                                           Colin K. Kelly

                                                           Counsel for Defendant X Corp.¸ via
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                                   CERTIFICATE OF SERVICE


                 I hereby certify that on February 20, 2024, I served a copy of the foregoing

            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF

            DEFENDANT       X    CORP.’S     MOTION          TO     DISMISS    PLAINTIFF’S

            COMPLAINT upon all parties of record in this matter using the CM/ECF System.



                                                          /s/ Colin K. Kelly
                                                          Colin K. Kelly

                                                          Counsel for Defendant X Corp.¸ via
                                                          Special Appearance Only




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 TAMAH JADA CLARK ex rel.
 ANTI-SEMITISM DEFENSE
 LEAGUE,
                                             Civil Action No. 1:23-cv-05840-JPB
                    Plaintiff,

 v.

 X CORP., WORLD JEWISH
 CONGRESS, AMERICAN ISRAEL
 PUBLIC AFFAIRS COMMITTEE

                    Defendants.



  DEFENDANT X CORP.’S CERTIFICATE OF INTERESTED PERSONS
         AND CORPORATE DISCLOSURE STATEMENT

      Defendant X Corp., by and through its undersigned attorneys and pursuant to

Federal Rule of Civil Procedure 7.1 and Local Rule 3.3, respectfully submits this

Certificate of Interested Persons and Corporate Disclosure Statement.

      X Corp. states that X Corp. is a privately held corporation. Its parent

corporation is X Holdings Corp. No publicly traded corporation owns 10% or more

of the stock of X Corp. or X Holdings Corp.

      The undersigned counsel of record for X Corp. certifies that the following is

a full and complete list of all parent corporations that owns 10% or more of the stock

of X Corp.: X Holdings Corp.
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      The undersigned further certifies that the following is a full and complete list

of all other persons, associations, firms, partnerships, or corporations having either

a financial interest in or other interest which could be substantially affected by the

outcome of this case: None.

      The undersigned further certifies that the following is a full and complete list

of all persons serving as attorneys for X Corp.: Kenneth M. Trujillo-Jamison,

Willenken LLP; and Colin Kelly and Nia Wilson, Shook, Hardy & Bacon.

      The undersigned further certifies that the following is a full and complete list

of the citizenship of X Corp.: Nevada and California.

       Dated: February 21, 2024                  Respectfully submitted,

                                                 SHOOK HARDY & BACON L.L.P.

                                                 /s/ Colin K. Kelly
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                   LOCAL RULE 7.1(D) CERTIFICATION

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point selections approved by the Court in LR 5.1(B).



                                      /s/ Colin K. Kelly
                                      Colin K. Kelly

                                      Counsel for Defendant X Corp.¸ via
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                       CERTIFICATE OF SERVICE

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DEFENDANT X CORP.’S CERTIFICATE OF INTERESTED PERSONS

AND CORPORATE DISCLOSURE STATEMENT upon all parties of record in

this matter using the CM/ECF System.



                                       s/ Colin K. Kelly
                                       Colin K. Kelly

                                       Counsel for Defendant X Corp.¸ via
                                       Special Appearance Only
